  Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 1 of 101
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                  UNITED STATES DISTRICT COURT

                  WESTERN DISTRICT OF NEW YORK


IN RE: ROCK ‘N PLAY SLEEPER
MARKETING, SALES PRACTICES, AND
PRODUCTS LIABILITY LITIGATION                 Case No.: 1:19-md-02903-GWC




         EXPERT REBUTTAL REPORT OF OLIVIER TOUBIA, PH.D.

                              June 16, 2021
       Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 2 of 101
                                                                                                                                                 Confidential


                                                     TABLE OF CONTENTS


I.      Qualifications ..........................................................................................................................1
II.     Assignment and Background ..................................................................................................3
       A.       Scope of Assignment .....................................................................................................3
       B.       Plaintiffs’ Allegations ....................................................................................................4
       C.       Parties .............................................................................................................................7
       D.       Putative Classes .............................................................................................................8
III.    Summary of Opinions .............................................................................................................9
IV. Overview of Conjoint Surveys and Overview of Mr. Weir’s Proposed
    Conjoint Survey ....................................................................................................................12
       A.       Overview of Conjoint Surveys.....................................................................................12
       B.       Overview of Mr. Weir’s Proposed Survey ..................................................................16
V.      Mr. Weir’s Proposed Conjoint Survey Does Not Match Plaintiffs’
        Allegations, and Is Therefore Unreliable As Evidence of Class-Wide
        Damages................................................................................................................................18
VI. Mr. Weir’s Proposed Conjoint Survey Also Does Not Follow Accepted
    Practices for Conjoint Surveys, and Is Likely to Provide Unreliable and
    Overstated Damages Estimates .............................................................................................22
       A.       Mr. Weir’s Proposed Survey Is Not an Accepted Use of Conjoint
                Survey Methodology, It Would Lead to Unrealistic Scenarios, and His
                Estimates Would Be Unreliable for Damages .............................................................22
       B.       Mr. Weir Incorrectly Proposes to Compare Products With His Chosen
                Safety Warning and Ones With No Safety Disclosure at All ......................................24
       C.       Mr. Weir’s Proposed Survey Focuses Respondents’ Attention on
                Negative Features, Which Is Likely to Lead to Overstated Valuations
                for These Features and Unreliable Results ..................................................................25
VII. Putting Those Critical Flaws Aside, Which Themselves Make Mr. Weir’s
     Proposed Survey Unreliable, Mr. Weir’s Generalized Description of His
     Proposed Survey Is Incomplete and Insufficient to Determine Whether His
     Method Is Additionally Unreliable .......................................................................................27
       A.       Mr. Weir Has Not Provided Evidence That the Attributes in His
                Proposed Survey Will Include Key Purchase Drivers, the Lack of
                Which Is Likely to Lead to Overstated Valuations ......................................................28
       B.       Conjoint Analysis Requires That the Levels of Attributes Be Clearly
                Defined, but Mr. Weir Has Not Provided Details on the Levels of the
                Attributes in His Proposed Survey, or How He Would Determine
                Those Levels ................................................................................................................34


                                                                         i
Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 3 of 101
                                                                                                                             Confidential


C.   Mr. Weir Does Not Provide Specifics About How He Will Pretest His
     Proposed Survey ..........................................................................................................37
D.   Mr. Weir Does Not Sufficiently Explain the Population That He Is
     Trying to Target, or Why His Target Population Is Reasonable .................................39
E.   Mr. Weir Does Not Adequately Address the Sample Size of His
     Proposed Survey ..........................................................................................................42




                                                          ii
     Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 4 of 101
                                                                                               Confidential




I.     QUALIFICATIONS

1.     My name is Olivier Toubia. I am the Glaubinger Professor of Business at Columbia

Business School. The principal focus of my research has been in the areas of marketing research

and various aspects of innovation, including idea generation and preference measurement. I teach

core marketing courses and electives on innovation in the MBA and Executive MBA programs at

Columbia Business School.


2.     I currently serve as the chair of Columbia Business School Marketing Division. I am a

member of Columbia University’s Tenure Review Advisory Committee, which advises the

Provost on tenure cases from the entire university.


3.     I am the author or co-author of more than two dozen book chapters, articles, and papers.

Approximately half of my publications have focused on preference measurement. The other half

have focused on various topics including idea generation, social networks, and behavioral

economics. I have developed market research techniques that enable marketing researchers,

experts, and managers to measure consumers’ preferences for attributes of both existing and

hypothetical products. These methods have been employed numerous times by academic

researchers, as well as practitioners from major international corporations.


4.     I am the recipient of four John Little awards for best marketing paper published in

Marketing Science or Management Science, the Paul Green award for best paper published in the

Journal of Marketing Research, the ISMS (INFORMS Society for Marketing Science) Long

Term Impact Award, the Don Lehmann award for best dissertation-based paper published in the

Journal of Marketing Research, the John A. Howard best dissertation award, and the Frank M.




                                                 1
      Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 5 of 101
                                                                                                              Confidential


Bass outstanding dissertation award. I serve as Senior Editor for Marketing Science, one of the

premier marketing academic journals. I authored the chapter on conjoint analysis in the 2018

Handbook of Marketing Analytics. In 2014, I co-authored a variety of teaching materials on

conjoint analysis for Harvard Business School, including an online tutorial on conjoint analysis

as well as guidelines for designing, conducting and analyzing a conjoint analysis survey. 1


5.      I frequently review academic research that involves surveys and preference measurement.

Most of my work outside of Columbia University has involved surveys and other market

research to measure consumers’ attitudes and beliefs. My professional qualifications are

described further in my curriculum vita, which is attached as Appendix A.


6.      I have previously served as an expert witness in consumer class actions and patent

infringement matters. I have evaluated issues relating to consumers’ perceptions of, or

preferences for, specific product attributes or features and opined on methods of calculating

damages on a class-wide basis. I testified as an expert witness on these and other issues. A list of

my testimony in the past four years is attached as Appendix B.


7.      I am being compensated at my regular hourly rate of $750. I am being assisted in this

matter by staff from Analysis Group, who are working at my direction. I receive compensation

based on Analysis Group’s staff billings in this matter. No compensation is contingent upon the

content of my opinion or the outcome of this or any other matter.




1
 See Elie Ofek and Olivier Toubia, “Conjoint Analysis: Online Tutorial,” Harvard Business School Tutorial, April
2014 and Elie Ofek and Olivier Toubia, “Conjoint Analysis: A Do it Yourself Guide,” Harvard Business School,
August 4, 2014.



                                                        2
         Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 6 of 101
                                                                                                                    Confidential


II.        ASSIGNMENT AND BACKGROUND

           A.       Scope of Assignment

8.         I have been asked by Manatt, Phelps & Phillips, counsel for Defendants, to provide

expert analysis and testimony in this matter. Plaintiffs’ proposed damages expert, Colin B. Weir,

submitted a declaration in this matter dated February 8, 2021 (the “Weir Declaration”). I was

asked to review, evaluate, and, where appropriate, respond to the portion of Mr. Weir’s

declaration and opinions that relate to his discussion regarding a proposed conjoint survey, as

contained in Exhibit 3 to his declaration, which he calls “Conjoint Analysis.” 2 In Exhibit 3,

Mr. Weir purports to offer an opinion of how he might attempt to prepare a “conjoint survey” at

some later point in this litigation.3


9.         Mr. Weir’s declaration states that he was “asked by Counsel to ascertain whether it is

possible to determine damages on a class-wide basis using common evidence, and if so, to

provide a framework for the calculation of the damages attributable to Plaintiffs’ theory of

liability in this case.”4 Mr. Weir does not opine on the merits of the case and appears to assume


2
    Declaration of Colin B. Weir, February 8, 2021 (“Weir Declaration”), Exhibit 3.
3
  Mr. Weir’s declaration describes how he would go about preparing a conjoint survey (“proposed survey”) in a
cursory fashion. An expert can provide the exact details of their proposed conjoint survey even if it has not been run
yet. For example, in McMorrow v. Mondelez, a case in which Mr. Weir was an expert for plaintiffs, a different
expert for plaintiffs, Dr. Michael Dennis, submitted: the cognitive interview questionnaire he used to conduct his
background research; the full script for his screening and conjoint survey, including the exact attributes and levels he
would use; and screenshots of online searches used to support his selection of attributes and levels. See Declaration
of J. Michael Dennis, McMorrow, et al. v. Mondelez International, Inc., 3:17-cv-02327-BAS-JLB, U.S. District
Court for the Southern District of California, May 4, 2020, Attachments B-E. See also, Deposition of Colin B. Weir,
March 11, 2021 (“Weir Deposition”), 298:25-299:14. However, as I explain below in Section VII, Mr. Weir’s
declaration and testimony do not provide crucial information about his proposed survey, including the selection of
attributes and levels, sample selection, and planned pretest. As a result, it is not possible to determine whether these
aspects of Mr. Weir’s proposed survey would be reliable. Despite these omissions, I refer to Mr. Weir’s “proposed
survey,” even though what Mr. Weir has provided is not close to being a survey that could be fielded without
significant additional research and development.
4
    Weir Declaration, ¶ 5.




                                                           3
         Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 7 of 101
                                                                                                                  Confidential


liability when outlining his theories of damages. Mr. Weir sets forth two theories of economic

damages in his declaration: (1) full refund damages, and (2) diminution in value damages based

on the “price difference due to the alleged safety risks.”5 Mr. Weir states that to “calculate such

diminished value,” he proposes “the use of conjoint analysis” through a survey. 6


10.        I have not been asked to evaluate and have no opinion about whether the safety issues

that Plaintiffs allege in fact exist, or what they consist of, if they do exist. I have no opinion

regarding Defendants’ potential liability in this matter. However, for the purposes of my

assignment, I assume liability on the part of the Defendants for the alleged false advertising in

this matter. In addition, I have not been asked to directly respond to the damages opinions and

proposed damages calculations offered in the Weir Declaration. My opinions relate to

Mr. Weir’s damages opinions to the extent that Mr. Weir opines on the basis of his proposed

survey that diminution in value damages can be measured on a class-wide basis.


11.        In formulating my opinions, I have relied upon the materials cited in this report and

accompanying exhibits or appendices, or listed in Appendix C.7


           B.       Plaintiffs’ Allegations

12.        Plaintiffs allege that the Fisher-Price Rock ‘n Play Sleeper (“Rock ‘n Play Sleeper”), a

rocking infant product, was falsely marketed as being safe for infant sleep, including for




5
 Weir Declaration, ¶¶ 14-17, 25-29. I address only the second of these two theories of economic damages set forth
by Mr. Weir.
6
    Weir Declaration, Exhibit 3, ¶ 1.
7
 Unless materials have been inadvertently omitted, all materials that are cited in this report and accompanying
exhibits or appendices are included in Appendix C.




                                                         4
         Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 8 of 101
                                                                                                            Confidential


overnight and prolonged sleep. Specifically, in their Consolidated Amended Complaint

(“Complaint”), Plaintiffs allege that:

                       As set forth below, inclined sleepers, including the Rock ’n Play
                       Sleeper, are unsuitable for infant sleep and, in fact, are dangerous. 8

                       Defendants’ marketing of this product as safe for infant sleep,
                       including prolonged and overnight sleep, was intentional and overt.
                       … This marketing was dangerously false and misleading, as the
                       product is not safe for sleep, including prolonged or overnight
                       sleep.9

                       The Rock ’n Play Sleeper is inherently unsafe as a sleeper and
                       unfit for its intended use. It poses a number of serious safety risks
                       that led to many documented infant deaths and injuries. 10

                       Defendants’ false and misleading marketing of this dangerous
                       product, and knowing failure to disclose the grave risks of its use
                       as a sleeper, including for overnight or prolonged sleep, allowed
                       Defendants to reap vast profits at the expense of consumers who
                       erroneously believed they were giving their babies a safe place to
                       sleep.11

                       Defendants’ deceptive marketing of the product as a “Sleeper” that
                       is safe for infant sleep, including overnight or prolonged sleep, is
                       material to consumers’ decision to purchase and/or own the
                       product, because it causes consumers to reasonably believe the
                       product is safe. Defendants should not have marketed the product
                       as a “Sleeper” suitable for infant sleep, including prolonged or
                       overnight sleep. Alternatively, Defendants should have disclosed
                       in their marketing statements that using the product for sleep,
                       including prolonged or overnight sleep, is dangerous and contrary
                       to medical guidelines and recommendations because this
                       information would be material to a consumer’s decision as to
                       whether to purchase and/or own the product. 12



8
 Consolidated Amended Complaint, In Re: Rock 'n Play Sleeper Marketing, Sales Practices, and Products Liability
Litigation, 1:19-md-2903, October 28, 2019 (“Complaint”), ¶ 1.
9
    Complaint, ¶ 2.
10
     Complaint, ¶ 3.
11
     Complaint, ¶ 22.
12
     Complaint, ¶ 190.




                                                          5
         Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 9 of 101
                                                                                                              Confidential


13.        Plaintiffs’ Motion for Class Certification in this matter contains similar allegations:

                     Between October 1, 2009, when the Fisher-Price Rock ‘n Play
                     Sleeper … was introduced to the market, and April 12, 2019, when
                     … Defendants were forced to recall it … Defendants consistently
                     marketed their Sleeper across all media using a single, overarching
                     marketing message – that the Sleeper was fit for infant sleep,
                     including overnight and prolonged sleep.13

                     …this persistent and uniform marketing message portraying the
                     Fisher-Price Rock ‘n Play Sleeper as safe for infant sleep … was
                     dangerously false, misleading, deceptive and unfair. 14

                     Defendants’ marketing statements … were all designed to convey one
                     consistent message to consumers – that the RNPS was a safe product,
                     and that it was safe for infant sleep, including overnight sleep. Every
                     RNPS marketed and sold by Defendants in the United States
                     contained language that communicated safe, prolonged infant sleep as
                     the intended use of the product directly on the package.15

                     Defendants knew that parents to newborns were desperate for their
                     children to sleep longer stretches, and they capitalized on this
                     knowledge by emphasizing in their marketing that the RNPS was
                     designed, and ideal, for infant sleep, including overnight sleep and
                     naps.16

                     While touting itself as a brand for safe sleep solutions, Fisher-Price
                     never informed consumers, including Plaintiffs, that the RNPS was
                     unsafe for overnight sleep. … Thus, consumers reasonably believed
                     the Sleeper was safe for overnight sleep as advertised and that their
                     infant could sleep safely in the product.17

                     Defendants knowingly concealed and misrepresented safety
                     concerns and dangers of the RNPS from consumers. 18


13
  Memorandum of Law in Support of Plaintiffs' Motion for Class Certification, In Re: Fisher-Price Rock 'n Play
Sleeper Marketing, Sales Practices, and Products Liability Litigation, 1:19-md-2903, February 8, 2021 (“Motion for
Class Certification”), p. 1.
Plaintiffs use the terms “Sleeper” and “RNPS” to mean the Rock ‘n Play Sleeper.
14
     Motion for Class Certification, p. 2.
15
     Motion for Class Certification, p. 7.
16
     Motion for Class Certification, p. 9.
17
     Motion for Class Certification, p. 12.
18
     Motion for Class Certification, p. 13.




                                                        6
        Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 10 of 101
                                                                                                                    Confidential


                     … Defendants continued to utilize their Marketing Statements to
                     convey the false message that the RNPS was safe for infant sleep. 19

14.        My understanding of Plaintiffs’ allegations is also consistent with Mr. Weir’s discussion

of Plaintiffs’ allegations in his declaration:

                     I have been advised by Counsel for Plaintiffs that individuals
                     purchased certain Fisher-Price Rock ‘n Play Sleepers (the
                     “Products”) that were marketed as safe for infant sleep, including
                     prolonged and overnight sleep. I have been further advised that
                     Plaintiffs allege inclined sleepers, including the Rock ‘n Play
                     Sleeper, are unsuitable for infant sleep and, in fact, are unsafe for
                     infant sleep. 20

                     Plaintiffs allege that the “Rock ‘n Play Sleeper is inherently unsafe
                     as a sleeper and unfit for its intended use. It poses a number of
                     serious safety risks that led to many documented infant deaths and
                     injuries.”21

           C.        Parties

15.        According to the Complaint, the named plaintiffs in this case (“Plaintiffs”) include

Elizabeth Alfaro, Emily Barton, Linda Black, Luke Cuddy, Rebecca Drover, Megan Fieker,

Karen Flores, Nancy Hanson, Jena Huey, Samantha Jacoby, Megan Kaden, Kerry Mandley,

Cassandra Mulvey, Joshua Nadel, Melanie Nilius Nowlin, Daniel Pasternacki, Jessie Poppe,

Katharine Shaffer, Emily Simmonds, Josie Willis, and Renee Wray. 22




19
     Motion for Class Certification, p. 13.
20
     Weir Declaration, ¶ 5 (internal citations omitted).
21
     Weir Declaration, ¶ 9.
See also remarks by Plaintiffs’ counsel: Transcript of Status Conference, In re: Rock 'n Play Sleeper Marketing,
Sales Practices, and Products Liability Litigation, Case No. 1:19-md-2903, 16:23–17:2 (“the whole underlying
theory of our case is that this product is unsafe for infant sleep”) and 21:18–21 (“This about a product that is unsafe
for infant sleep… when used as instructed with the restraints.”).
22
     Complaint, ¶¶ 24-46.




                                                           7
        Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 11 of 101
                                                                                                        Confidential


16.        The defendants in this matter (“Defendants”) are Fisher-Price, Inc., a Delaware

corporation with its principal place of business in East Aurora, Erie County, New York, and its

corporate parent Mattel, Inc.23 Fisher-Price, Inc. designs, manufactures, distributes, markets,

advertises, labels, and sells products for the care of infants and preschool children. 24 The product

at issue in this case is the Rock ‘n Play Sleeper. 25


           D.        Putative Classes

17.        Plaintiffs define multiple putative classes in this matter. Plaintiffs seek damages for 12

proposed statewide classes, which consist of purchasers of the products in each of those 12

states:

                     All persons, other than Mattel, Inc. and Fisher-Price, Inc., and their
                     employees, who purchased any model of Fisher-Price Rock ‘n Play
                     Sleeper in [each state set forth herein] from October 1, 2009 until
                     the date of notice. These states are as follows: the “New York
                     Class,” the “Arizona Class,” the “Arkansas Class,” the “California
                     Class,” the “Colorado Class,” the “Florida Class,” the “Iowa
                     Class,” the “New Jersey Class,” the “Pennsylvania Class,” the
                     “Tennessee Class,” the “Texas Class,” and the “Washington
                     Class”26

18.        Plaintiffs also seek injunctive relief for the putative “Nationwide Class,” which they

define as “[a]ll persons, other than Mattel, Inc. and Fisher-Price, Inc., and their employees, who

purchased or owned any model of Fisher-Price Rock ‘n Play Sleeper in the United States from




23
     Complaint, ¶¶ 47-50.
24
     Complaint, ¶ 47.
25
     Complaint, ¶¶ 1, 69.
26
     Motion for Class Certification, p. 19.




                                                       8
        Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 12 of 101
                                                                                                                   Confidential


October 1, 2009 until the date of notice.” 27 Plaintiffs also seek to certify a nationwide class that

includes only purchasers, which they call the “Nationwide Purchaser Class.” 28


III.       SUMMARY OF OPINIONS29

19.        Based upon my expertise and my review and analysis of the Weir Declaration and

evidence available in this matter, in my opinion, Mr. Weir’s proposed survey is unreliable as

evidence of class-wide damages. Based on his description of his proposed conjoint survey, his

proposed survey does not match Plaintiffs’ allegations, and does not follow accepted practices

for conjoint surveys. These critical flaws render Mr. Weir’s proposed survey unreliable for his

assignment. Additionally, Mr. Weir’s generalized description of his proposed survey is

incomplete in numerous ways and fails to demonstrate that his method would provide reliable

estimates of willingness to pay.


20.        Mr. Weir’s proposed survey does not match Plaintiffs’ allegations: A conjoint survey

used in a false advertising matter should isolate the effect of the alleged false advertising.

However, Mr. Weir’s proposed survey does not match Plaintiffs’ allegations. In documents

including the Complaint and Motion for Class Certification, Plaintiffs allege that the Rock ‘n

Play Sleeper is unsafe for infant sleep, and that Defendants knew this but misrepresented it. On

the other hand, Mr. Weir’s proposed Safety Warning is “This inclined infant sleeper carries the

risk of infant fatality or other serious health problems,” which fails to describe what Plaintiffs




27
     Motion for Class Certification, p. 19.
28
     Motion for Class Certification, p. 19.
29
  This section provides a high-level overview of my opinions for the convenience of the reader. My full opinions
are provided in this report and associated exhibits.




                                                         9
        Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 13 of 101
                                                                                                         Confidential


allege is unsafe about the Rock ‘n Play Sleeper. 30 Mr. Weir’s proposed Safety Warning therefore

does not accurately capture the alleged false advertising related to sleep, and it would lead to

unreliable and overstated estimates of diminution in value.


21.        Mr. Weir’s proposed survey does not follow accepted practices for conjoint surveys:

Even if Mr. Weir’s proposed survey isolated the effect of Plaintiffs’ allegations, it does not

follow accepted practices for conjoint surveys, and is likely to provide unreliable and overstated

willingness to pay (and damages) estimates. Mr. Weir’s proposed survey will lead to unrealistic

scenarios where respondents must choose between products that are similar in many respects

other than the presence or absence of a safety disclosure, a decision they would not make in the

actual market. In addition, Mr. Weir incorrectly proposes to compare products with his chosen

Safety Warning against products with no safety disclosure at all. As a result, respondents’

valuations for products with no disclosure might be overstated relative to their valuation for

actual products if they assume that the products without the disclosure carry zero risks. Finally,

Mr. Weir’s proposed survey artificially focuses respondents’ attention on negative features that

are not commonly emphasized, including his proposed “Safety Warning,” “Risk of Mold,” and

“Risk of Rocking Mechanism Failure.” 31


22.        Additionally, Mr. Weir’s generalized description of his proposed survey is

incomplete and insufficient to determine whether his method is additionally unreliable:


                a. Mr. Weir has provided a list of attributes that he testified he plans to use in his

                    proposed survey. However, he has not provided evidence that these attributes


30
     Weir Declaration, Exhibit 3, ¶ 28.
31
     Weir Declaration, Exhibit 3, ¶ 24.



                                                      10
Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 14 of 101
                                                                                            Confidential


       include key purchase drivers. If a conjoint survey does not include key purchase

       drivers, it is likely to overstate the value of product features.


    b. Conjoint analysis also requires clearly defined levels for each attribute, but

       Mr. Weir has not provided details on the levels of most of the attributes in his

       proposed survey, or how he would determine those levels. Because Mr. Weir has

       provided so few details, I generally cannot evaluate either the reliability of the

       levels of attributes included in Mr. Weir’s proposed survey (or his basis thereof),

       or the method that he would use to determine those levels.


    c. Mr. Weir states that he will “pretest” his proposed survey prior to administering

       it, but does not provide sufficient information about how he would conduct this

       pretest or use it to alter the final survey.


    d. Mr. Weir also does not sufficiently explain the sample population that he is trying

       to target, or why his target population is reasonable. Mr. Weir is not clear whether

       he will survey only purchasers of the Rock ‘n Play Sleeper, or owners as well.

       Furthermore, Mr. Weir’s proposed survey is not informative about the purchase of

       used (as opposed to new) products. Mr. Weir also does not appear to limit his

       proposed survey to respondents who obtained new (as opposed to used) products,

       despite instructing respondents to imagine that they are purchasing a new product.

       Finally, Mr. Weir does not plan to evaluate respondent awareness of the recall or

       this litigation, which could make their responses unreliable.




                                           11
      Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 15 of 101
                                                                                                                     Confidential


              e. Mr. Weir also improperly attempts to justify his chosen sample size based on a

                  “rule of thumb” that has been criticized by the very sources he cites in support of

                  it.


23.      I reserve the right to modify my opinions and analyses if additional materials or

information become available, or if Plaintiffs’ experts provide additional opinions or testimony. I

further reserve the right to prepare demonstrative exhibits as part of providing testimony.


IV.      OVERVIEW OF CONJOINT SURVEYS AND OVERVIEW OF MR. WEIR’S
         PROPOSED CONJOINT SURVEY

24.      In this section, I provide a brief overview of conjoint surveys, which is largely drawn

from my published teaching materials from Harvard Business School, and my

“Conjoint Analysis” chapter in the Handbook of Marketing Analytics.32 I then provide an

overview of Mr. Weir’s proposed survey. In Sections V through VII, I summarize and provide

the bases for my opinion that Mr. Weir’s proposed survey is unreliable for this matter.


         A.       Overview of Conjoint Surveys

25.      Most purchasing decisions in the real world involve trade-offs. For instance, would a

consumer buy a premium car with all-wheel drive, or an economy car with better gas mileage?

Would a consumer buy a more expensive phone plan with unlimited calls, or a cheaper plan that

only includes 500 minutes? Companies must consider these consumer trade-offs when


32
   Copies of my Harvard Business School online tutorial (Elie Ofek and Olivier Toubia, “Conjoint Analysis: Online
Tutorial,” Harvard Business School Tutorial, April 2014) and handbook chapter on “Conjoint Analysis” (Olivier
Toubia, “Conjoint Analysis,” Handbook of Marketing Analytics, Edward Elgar Publishing, 2018) are attached in
Appendix D. I do not include my Harvard Business School guide on conjoint analysis (Elie Ofek and Olivier
Toubia, “Conjoint Analysis: A Do it Yourself Guide,” Harvard Business School, August 4, 2014) because it is not
authorized for copying or posting; it is available for purchase at https://store.hbr.org/product/conjoint-analysis-a-do-
it-yourself-guide/515024.



                                                          12
        Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 16 of 101
                                                                                                                   Confidential


developing new products and services. To help businesses understand how customers make

trade-offs among various features, researchers have developed a method of market research

called “conjoint analysis.” Conjoint analysis is a survey research method for assessing consumer

preferences for various attributes of products (or services) in certain circumstances. As described

in my chapter on conjoint analysis in the 2018 Handbook of Marketing Analytics,

                    [t]he premise of Conjoint Analysis is to decompose a product or
                    service into attributes (e.g., “number of minutes included,”
                    “number of GB of data,” “charge for additional minutes,” “base
                    price,” etc.) that each has different levels (e.g., “500 minutes,”
                    “1,000 minutes,” “unlimited”). The output of a Conjoint Analysis
                    study is an estimation of how much each consumer in a sample
                    values each level of each attribute.33

26.        One format of conjoint analysis is “choice-based” conjoint, in which consumers are asked

to choose one among a small number of profiles. 34 Profiles are hypothetical products that are

described as a bundle of attributes, where each attribute is set at a particular level. 35 For example,

in a conjoint survey on cell phone plans, a profile might be a “$100 plan with unlimited calls and

10GB of data per month.”36 Or if the survey dealt with cars, the profiles might be as pictured in

Figure 1: the attributes would be “Brand Origin,” “Body Type,” “Engine Type,” and “Price.”

The levels for “Brand Origin” would be “Japanese,” European,” or “American”; the levels for

“Body Type” would be “Sedan,” “SUV,” or “Sports Car”; and so on.



33
  Olivier Toubia, “Conjoint Analysis,” Handbook of Marketing Analytics, Edward Elgar Publishing, 2018, pp. 52-
53 (emphasis in original).
34
     Olivier Toubia, “Conjoint Analysis,” Handbook of Marketing Analytics, Edward Elgar Publishing, 2018, p. 57.
The main benefit of running a choice-based conjoint survey is that it is “closer to the type of decisions that
consumers make in real life” in which they are “choosing one alternative over others.” This is as opposed to
“ratings-based” conjoint surveys in which respondents rate profiles on some response scale. Olivier Toubia,
“Conjoint Analysis,” Handbook of Marketing Analytics, Edward Elgar Publishing, 2018, pp. 56-57.
35
  Elie Ofek and Olivier Toubia, “Conjoint Analysis: Online Tutorial,” Harvard Business School Tutorial, April
2014, p. 3.
36
     Olivier Toubia, “Conjoint Analysis,” Handbook of Marketing Analytics, Edward Elgar Publishing, 2018, p. 53.



                                                          13
        Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 17 of 101
                                                                                                                   Confidential


                                        Figure 1: Examples of Product Profiles37

            Profi le Ii          Brand Origin             Body Type               Engine Type           Price

            1             Japanese                Sedan               GasoUne                   s   0,000

            2             Eur pean                SUV                 G11rol ine                $40,000

            3             Arnerlcan               SUV                 Electr ic                 $30,000

            4             Eur pea n               Sports Car           ybrid                    $30,000

            5,            Japanese                Sports car          Electric                  $40,000




27.        Conjoint analysis surveys can vary in many ways, but they all involve three steps:


           Step 1. Selecting the attributes and levels for the product profiles to use in the survey. 38

           In this step, researchers must consider: A) How many attributes to include. The more

attributes that are included, the more complex the profile descriptions become and the more

difficult it is for respondents to provide meaningful responses. B) Which attributes to include.

Generally, the most important and informative attributes will be the ones that “have the potential

to sway consumers’ choices and can actually be changed or controlled by the firm.” 39 C) How to

define the levels of the attributes. Attributes should be realistic, and should not be subjective or




37
  Elie Ofek and Olivier Toubia, “Conjoint Analysis: Online Tutorial,” Harvard Business School Tutorial, April
2014, p. 7.
38
     Olivier Toubia, “Conjoint Analysis,” Handbook of Marketing Analytics, Edward Elgar Publishing, 2018, p. 55.
39
  Elie Ofek and Olivier Toubia, “Conjoint Analysis: A Do it Yourself Guide,” Harvard Business School, August 4,
2014, p. 2.




                                                                14
        Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 18 of 101
                                                                                                                   Confidential


ambiguous.40 D) How many levels to assign to each attribute. Attributes should have a similar

number of levels (e.g., between two to four levels).41 E) Not to draw artificial focus to certain

features, known as a “focusing illusion” or “focalism.”42


           Step 2. Survey implementation and collecting data from a sample of respondents. 43

           Conjoint analysis studies are typically performed online, with a variety of options

available for hosting online conjoint analysis surveys. 44 There are also a variety of sources of

respondents for online conjoint analysis studies. To ensure the survey results are representative

of the target market, the sample of respondents must be “representative of the target market you

are addressing,” and the products in the study must be “representative of the products potentially

available or that would be in the consideration set of the target market.” 45 It is generally

recommended that researchers conduct a pretest prior to administering their survey, “to increase

the likelihood that their questions are clear and unambiguous.” 46




40
  Elie Ofek and Olivier Toubia, “Conjoint Analysis: A Do it Yourself Guide,” Harvard Business School, August 4,
2014, p. 2.
41
  Elie Ofek and Olivier Toubia, “Conjoint Analysis: A Do it Yourself Guide,” Harvard Business School, August 4,
2014, p. 3.
42
   See, e.g., David A. Schkade and Daniel Kahneman, “Does Living in California Make People Happy? A Focusing
Illusion in Judgments of Life Satisfaction,” Psychological Science, Vol. 9, No. 5, 1998, pp. 340-346.
43
     Olivier Toubia, “Conjoint Analysis,” Handbook of Marketing Analytics, Edward Elgar Publishing, 2018, p. 55.
44
     Olivier Toubia, “Conjoint Analysis,” Handbook of Marketing Analytics, Edward Elgar Publishing, 2018, p. 59.
45
  Elie Ofek and Olivier Toubia, “Conjoint Analysis: Online Tutorial,” Harvard Business School Tutorial, April
2014, p. 22. Mr. Weir does not clearly define his target population. See Section VII.D for further discussion.
46
  Shari Seidman Diamond, “Reference Guide on Survey Research,” Reference Manual on Scientific Evidence,
2011, pp. 359-423 at 388.




                                                         15
        Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 19 of 101
                                                                                                                   Confidential


           Step 3. Using the survey results to estimate the impact of the attribute levels on
           respondents’ preferences (which is called their “partworths”) 47 and to make inferences
           about the target market’s preferences. 48

           In a choice-based conjoint analysis, typical methods used to derive partworths include

logistic regression (which is used to evaluate probabilities among discrete choices), or

hierarchical Bayes estimation if a researcher is interested in “providing individual-level estimates

of partworths.”49 There are several types of inferences a researcher might make from a conjoint

analysis, including “to infer willingness to pay for features of a product or service. This is

feasible as long as price is one of the attributes in the survey.” 50


28.        If a researcher does not follow accepted practices for each of the steps I outline above

and/or fails to avoid certain pitfalls that some researchers fall prey to, the conclusions of a

conjoint analysis can be unreliable.


           B.       Overview of Mr. Weir’s Proposed Survey

29.        Exhibit 3 of Mr. Weir’s declaration vaguely outlines how Mr. Weir might design a

proposed survey at some point in the future. Mr. Weir’s declaration claims that the attributes in

his proposed survey “might include Brand, Padding, Frame, Sounds/Vibrations, Risk of Mold,

Risk of Rocking Mechanism Failure, Safety Warnings, and Price.” 51 Mr. Weir’s discussion of his



47
  “Partworths are the utility of each attribute level. They are called partworths because they capture how much each
PART of the product is WORTH to the consumer.” Elie Ofek and Olivier Toubia, “Conjoint Analysis: Online
Tutorial,” Harvard Business School Tutorial, April 2014, p. 4.
48
     Olivier Toubia, “Conjoint Analysis,” Handbook of Marketing Analytics, Edward Elgar Publishing, 2018, p. 55.
49
     Olivier Toubia, “Conjoint Analysis,” Handbook of Marketing Analytics, Edward Elgar Publishing, 2018, p. 61.
50
     Olivier Toubia, “Conjoint Analysis,” Handbook of Marketing Analytics, Edward Elgar Publishing, 2018, p. 63.
51
  Weir Declaration, Exhibit 3, ¶ 24 (emphasis added). Mr. Weir testified that “[b]arring further evidence, these are
the attributes that will be used.” Weir Deposition, 275:2-14. This suggests that Mr. Weir intends for his proposed
survey to include all of the potential attributes in the Weir Declaration. See Section VII.A for further discussion.




                                                         16
        Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 20 of 101
                                                                                                                   Confidential


proposed sample size suggests that each attribute would have at most six levels, although it is not

clear if the largest number of levels would in fact be six or which attribute(s) this would be. 52

The Safety Warning is what Mr. Weir calls his “attribute of interest.” 53 It appears it would have

two levels: one level with the disclosure, “This inclined infant sleeper carries the risk of infant

fatality or other serious health problems,” and another level with no disclosure at all. 54


30.        Mr. Weir proposes to use an online survey with a sample of 300 respondents, drawn from

an ambiguously-defined population in the U.S. 55 After an initial screening and a series of

instructions, respondents would be presented with 13 choice tasks. 56 For each choice task,

respondents would choose among three products. 57 For his proposed survey, it appears that

Mr. Weir would use a sample vendor such as Dynata and would use the Sawtooth Software

survey system to administer and collect data. 58 Mr. Weir provides a vague outline of a pretest he

would conduct on approximately 50 respondents prior to fielding his proposed survey. 59 Mr.

Weir would obtain partworth estimates using “Hierarchical Bayes regression analysis.” 60


52
  Weir Declaration, Exhibit 3, ¶ 33 (performing a calculation intended to determine the required sample size
assuming that the largest number of levels for any attribute will be six). Mr. Weir has provided no further
information on the number of levels he will use for most of his attributes. See Section VII.B for further discussion.
53
     Weir Declaration, Exhibit 3, ¶ 25.
54
  Weir Declaration, Exhibit 3, ¶ 28; Weir Deposition, 287:4-13, 287:19-288:10. As I discuss below in Section V,
Mr. Weir’s proposed Safety Warning does not match Plaintiffs’ allegations, which renders his proposed survey
unreliable as evidence of damages.
55
  Weir Declaration, Exhibit 3, ¶¶ 21-22, 33-34. As I discuss below in Section VII.D, it is unclear whether Mr. Weir
intends to target purchasers or both purchasers and users of the Rock ‘n Play Sleeper.
56
     Weir Declaration, Exhibit 3, ¶¶ 21, 23-29.
57
     Weir Declaration, Exhibit 3, ¶ 29.
58
     Weir Declaration, Exhibit 3, ¶¶ 35-36.
59
  Weir Declaration, Exhibit 3, ¶¶ 31-32. As I discuss in Section VII.C, Mr. Weir does not provide any specifics
about how he would conduct this pretest and therefore has not provided sufficient information for me to evaluate
how his “pretest” would impact the reliability of his final survey.
60
     Weir Declaration, Exhibit 3, ¶ 37.




                                                          17
        Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 21 of 101
                                                                                                                   Confidential


V.         MR. WEIR’S PROPOSED CONJOINT SURVEY DOES NOT MATCH
           PLAINTIFFS’ ALLEGATIONS, AND IS THEREFORE UNRELIABLE AS
           EVIDENCE OF CLASS-WIDE DAMAGES

31.        A damages expert in litigation should calculate only damages attributable to Plaintiffs’

allegations, assuming that defendants are found liable.61 Similarly, a conjoint survey used as an

input to damages in a false advertising matter should isolate the effect of the alleged

misrepresentations and/or omissions. Mr. Weir’s proposed survey does not match Plaintiffs’

allegations. As a result, Mr. Weir’s proposed survey is unreliable as evidence of damages.


32.        To determine the diminution in value of the Rock ‘n Play Sleeper, Mr. Weir proposes to

use the results of his conjoint survey to compare consumer preferences for a product with his

chosen Safety Warning to a product with no safety disclosure at all. In particular, Mr. Weir

describes his diminution in value measure as follows:

                    I will have the market simulator compare two Rock ‘n Play
                    Products that are identical in all respects except that one does not
                    disclose the safety risk of the Rock ‘n Play while the other makes
                    plain the alleged truth about such risks. I would then use the
                    market simulator to simulate a condition where the price of the
                    second product is reduced to the level where both products obtain
                    equal market share. … The diminution in value equals the
                    difference between the two prices that compensates for the
                    understanding of the true risks of the Rock ‘n Play.62

33.        As Mr. Weir’s declaration sets out, his proposed survey will present each respondent with

13 choice tasks. Each choice task will include “three sleepers with the attributes as presented to



61
   See, e.g., Mark A. Allen, Robert E. Hall, and Victoria A. Lazear, “Reference Guide on Estimation of Economic
Damages,” Reference Manual on Scientific Evidence, 2011, pp. 425-502 at 432 (emphasis in original): “The first
step in a damages study is the translation of the legal theory of the harmful event into an analysis of the economic
impact of that event… a proper construction of the but-for scenario and measurement of the hypothetical but-for
plaintiff’s value by definition includes in damages only the loss caused by the harmful act.”
62
     Weir Declaration, Exhibit 3, ¶ 49.




                                                          18
        Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 22 of 101
                                                                                                                     Confidential


respondents, and varying levels.”63 According to Mr. Weir, his “Safety Warning” is the attribute

of interest.64


34.        In addition, in Mr. Weir’s proposed market simulation, only the “Safety Warning”

attribute and price differ between the two products. In particular, the product with no safety

disclosure at all corresponds to Mr. Weir’s portrayal of the actual Rock ‘n Play Sleeper, while

the product with his chosen Safety Warning corresponds to his portrayal of the but-for world

Rock ‘n Play Sleeper.65 As a result, the Safety Warning attribute is the key measure that forms

the basis of Mr. Weir’s subsequent “% Diminution in Value Factor” damages. 66 Thus, to

measure damages attributable to the allegations in this matter, Mr. Weir’s Safety Warning

attribute must properly reflect Plaintiffs’ allegations.


35.        In particular, I understand that Plaintiffs allege that the Rock ‘n Play Sleeper is

“unsuitable for infant sleep,” including overnight and prolonged sleep, and that Defendants knew

this but misrepresented it.67 I summarize Plaintiffs’ allegations, as reflected in documents such as

the Complaint and Motion for Class Certification, above in Section II.B.


36.        The Weir Declaration, on the other hand, sets out Mr. Weir’s proposed Safety Warning as

“This inclined infant sleeper carries the risk of infant fatality or other serious health problems.” 68



63
     Weir Declaration, Exhibit 3, ¶ 29.
64
     Weir Declaration, Exhibit 3, ¶ 25.
65
  Weir Declaration, Exhibit 3, ¶ 49: “For the market simulation, I will have the market simulator compare two Rock
‘n Play Products that are identical in all respects except that one does not disclose the safety risk of the Rock ‘n Play
while the other makes plain the alleged truth about such risks.”
66
     Weir Declaration, Exhibit 3, ¶ 59.
67
     Complaint, ¶¶ 1, 2.
68
     Weir Declaration, Exhibit 3, ¶ 28.




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        Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 23 of 101
                                                                                                                  Confidential


Mr. Weir’s Safety Warning does not describe what Plaintiffs allege is unsafe about the Rock ‘n

Play Sleeper that Defendants allegedly did not disclose. Mr. Weir provides no basis in his

declaration for his chosen Safety Warning. In fact, Mr. Weir’s chosen Safety Warning conflicts

his declaration’s summary of Plaintiffs’ allegations.69


37.        When asked in his deposition, Mr. Weir testified that he based his Safety Warning

language on “…plaintiffs’ theory of liability and a review of the recall disclaimer language that

accompanied the recall of this product.” 70 However, Mr. Weir’s declaration and testimony

neither cite any specific document(s) or language on which he based his Safety Warning nor

explain why his Safety Warning is appropriate in light of these unspecified documents. For these

reasons, there is no support for the purported basis for Mr. Weir’s Safety Warning. 71


38.        Mr. Weir’s explanation in deposition, wherein he stated that he believes Plaintiffs’ theory

of liability is that the Rock ‘n Play Sleeper is unsafe for all purposes, not just sleep, 72 suggests

that he believes a broadly defined key survey attribute is appropriate. Mr. Weir’s presumed

beliefs and his proposed Safety Warning, however, are not linked to Plaintiffs’ allegations as

reflected in the Complaint, Motion for Class Certification, and Plaintiffs’ counsel’s statements at

a hearing (or even to the Weir Declaration’s summary of those allegations); therefore they do not

accurately capture the alleged false advertising related to sleep. 73



69
     Weir Declaration, ¶¶ 5, 9 (which I excerpt above in Section II.B).
70
     Weir Deposition, 269:8-22.
71
  To the extent that Mr. Weir’s Safety Warning is based on language from the recall, Mr. Weir also has not
explained why, as a general matter, using the language from a recall would be a reasonable method in evaluating
consumers’ preferences for alleged false advertising related to any issues that led to that recall.
72
  Weir Deposition, 141:12-15; see also 147:20-25 (“I would defer to plaintiffs’ papers, but it’s my understanding
that they [Plaintiffs] do not believe the product is safe for any use.”).
73
     I summarize Plaintiffs’ allegations as reflected in these documents in Section II.B.



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        Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 24 of 101
                                                                                                               Confidential


39.        When confronted with choice tasks that include product profiles with Mr. Weir’s Safety

Warning, respondents would reasonably assume that Mr. Weir’s Safety Warning describes a

product that has safety risks for any use. Respondents to Mr. Weir’s proposed survey would have

no basis to ascribe the risks Mr. Weir suggests are present in the product to the at-issue feature of

sleep. If survey respondents assume that Mr. Weir’s Safety Warning describes a product that has

safety risks for any use, but in fact the safety risks are only for use in sleep, this would lead to

unreliable and overstated estimates of diminution in value associated with the Safety Warning.

The diminution in value would be overstated because the Rock ‘n Play Sleeper has non-sleep

uses for which Mr. Weir’s Safety Warning would not apply.


40.        Indeed, the testimony of the named Plaintiffs indicates that the Rock ‘n Play Sleeper had

non-sleep uses. I received and reviewed the deposition transcripts of 21 named Plaintiffs, 19 of

whom used the Rock ‘n Play Sleeper themselves. 74 Of these 19 named Plaintiffs who used the

Rock ‘n Play Sleeper, 17 used it for non-sleep uses. For example, Megan Kaden testified that

“[i]f I had something that I had to do and needed a safe place for her, I may put her [in the Rock

‘n Play Sleeper] for a few minutes,” and Joshua Nadel testified “[m]aybe I was watching TV and

the baby would be next to me in the Rock ‘n Play just hanging out.” 75 See Exhibit 1.




74
  Two named Plaintiffs, Karen Flores and Rebecca Drover, purchased the product for someone else as a gift, but did
not use the product themselves. See Exhibit 1.
75
     Deposition of Megan Kaden, April 15, 2021, 155:1–6; Deposition of Joshua Nadel, April 13, 2021, 84:20–85:2.




                                                         21
      Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 25 of 101
                                                                                                                   Confidential


VI.      MR. WEIR’S PROPOSED CONJOINT SURVEY ALSO DOES NOT FOLLOW
         ACCEPTED PRACTICES FOR CONJOINT SURVEYS, AND IS LIKELY TO
         PROVIDE UNRELIABLE AND OVERSTATED DAMAGES ESTIMATES

41.      As discussed above, the conjoint survey methodology is a market research tool that was

developed to measure the value consumers place on product features within a realistic purchase

environment.76 Mr. Weir’s proposed survey would pose hypotheticals that would never be

present in the marketplace. In particular, his proposed survey could ask respondents to imagine

products that vary on whether they carry a disclosure of a risk of infant fatality or other serious

problem, holding almost everything else constant.77 As I discuss below, Mr. Weir’s proposed

survey does not follow accepted practices for conjoint surveys, and thus would provide

unreliable and overstated estimates.


         A.       Mr. Weir’s Proposed Survey Is Not an Accepted Use of Conjoint Survey
                  Methodology, It Would Lead to Unrealistic Scenarios, and His Estimates
                  Would Be Unreliable for Damages

42.      As a general matter, the more a conjoint survey differs from actual purchase decisions,

the less reliable it is.78 Mr. Weir’s proposed survey will require giving respondents unrealistic

choices. In particular, consumers do not regularly choose between products that are similar in

many respects other than the presence or absence of a safety disclosure. Yet Mr. Weir’s proposed


76
  As I state in my Online Tutorial, “It is important that these product profiles represent offerings that may be
available on the market or that don’t seem infeasible or unrealistic to offer.” Elie Ofek and Olivier Toubia,
“Conjoint Analysis: Online Tutorial,” Harvard Business School Tutorial, April 2014, p. 7. See also, e.g., the
Sawtooth Software website, which states, “It mimics the tradeoffs people make in the real world when making
choices.” “What is Conjoint Analysis?,” Sawtooth Software, https://sawtoothsoftware.com/conjoint-analysis.
77
   Mr. Weir contends that the Safety Warning that he would include in his proposed survey is “This inclined infant
sleeper carries the risk of infant fatality or other serious health problems.” Weir Declaration, Exhibit 3, ¶ 28.
78
  See, e.g., Moshe Ben-Akiva, Daniel McFadden, and Kenneth Train, “Foundations of Stated Preference Elicitation:
Consumer Behavior and Choice-based Conjoint Analysis,” Foundations and Trends in Econometrics, Vol. 10, No.
1-2, 2019, pp. 1-144 at 26: “The goal of a conjoint study designed for prediction should be to anticipate and mimic
the training that real markets provide.”




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        Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 26 of 101
                                                                                                                    Confidential


survey asks respondents to choose between such products. 79 In particular, his “Safety Warning”

attribute will ask respondents to imagine that products may vary only on the presence or absence

of a safety disclosure, while holding all other attributes constant (e.g., brand and functionalities).

Given this stark choice, respondents are unlikely to accurately trade off the presence of a

disclosure about a risk of infant fatality against other attributes. Mr. Weir’s proposed survey is

not consistent with standard practices and will likely create overstated willingness to pay for

Mr. Weir’s proposed Safety Warning among many respondents, which will result in overstated

damages estimates.80


43.        Further, in his declaration, Mr. Weir states that conjoint analysis has been used in a

litigation setting to estimate values for features of products. Mr. Weir’s declaration, however,

does not address use of conjoint survey methods for matters related to his proposed survey in this

case. In particular, Mr. Weir describes applications of conjoint analysis to “determine ‘whether

health claims (claims of health-promoting effects) of food products positively influence product

price and consumer choices,’” “to estimate the relative contribution of declared amounts of

different nutrients to the perception of the overall ‘healthfulness’ of foods by the consumer,” and

“to evaluate which attributes of orange juice consumers value most.” 81 But Mr. Weir has not



79
     Weir Declaration, Exhibit 3, ¶ 28.
80
  By “overstated willingness to pay for Mr. Weir’s proposed Safety Warning,” I mean that a respondent’s
valuations for a product with no safety disclosure are overstated relative to their valuations for a product with Mr.
Weir’s proposed Safety Warning.
81
   Weir Declaration, Exhibit 3, ¶¶ 8-10. See Mitsunori Hirogaki, “Estimating Consumers‘ Willingness to Pay for
Health Food Claims: A Conjoint Analysis,” International Journal of Innovation, Management and Technology, Vol.
4, No. 6, 2013, pp. 541-546; Adam Drewnowski, Howard Moskowitz, Michele Reisner, and Bert Krieger, “Testing
consumer perception of nutrient content claims using conjoint analysis,” Public Health Nutrition, Vol. 13(5), 2010,
pp. 688-694; and Izabel Gadioli et al., “Evaluation of Packing Attributes of Orange Juice on Consumers' Intention to
Purchase by Conjoint Analysis and Consumer Attitudes Expectation,” Journal of Sensory Studies, Vol. 28, pp. 57-
65.




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        Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 27 of 101
                                                                                                                 Confidential


provided examples of conjoint analysis involving the presence or absence of safety disclosures,

as is the case in his proposed survey, and his proposed survey is not appropriate in this context in

my view.82


           B.       Mr. Weir Incorrectly Proposes to Compare Products With His Chosen
                    Safety Warning and Ones With No Safety Disclosure at All

44.        A further error with Mr. Weir’s proposed survey is that each product without his chosen

Safety Warning would have no safety disclosure at all. 83 This would create a false dichotomy for

respondents, who will contrast the products in the survey that do and do not include Mr. Weir’s

Safety Warning (which is, “This inclined infant sleeper carries the risk of infant fatality or other

serious health problems”84). Respondents might infer that the products with no safety disclosure

carry no risk of infant fatality or serious health problems. However, Mr. Weir does not provide

any evidence that it would be realistic for respondents to infer that the products with no safety

disclosure carry no such risk.


45.        If respondents to Mr. Weir’s proposed survey believe that products with no safety

disclosure carry no risk of infant fatality or serious health problems, but actual products in fact

carry such risks, then respondents’ valuations for products with no safety disclosure would be

overstated relative to their valuation for actual products. In turn, Mr. Weir’s willingness to pay


82
  Mr. Weir cited three conjoint analyses which involve the presence or absence of health claims, not safety
disclosures. Weir Declaration, Exhibit 3, ¶¶ 8-10. For example, Hirogaki (2013) conducted a conjoint analysis on
green tea and found that health claims had a significant effect on price. Mitsunori Hirogaki, “Estimating Consumers‘
Willingness to Pay for Health Food Claims: A Conjoint Analysis,” International Journal of Innovation,
Management and Technology, Vol. 4, No. 6, 2013, pp. 541-546.
While these studies demonstrate that it may be reasonable to compare similar products with or without health
claims, they have no relation to Mr. Weir’s proposal to compare similar products with or without safety disclosures.
83
     Weir Deposition, 287:4-13, 287:19-288:10. See also Weir Declaration, Exhibit 3, ¶ 28.
84
     Weir Declaration, Exhibit 3, ¶ 28.




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        Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 28 of 101
                                                                                                                    Confidential


estimates related to the safety disclosure would also be overstated and unreliable. 85 Mr. Weir

does not explain how he intends to ensure that respondents correctly interpret his “Safety

Warning” attribute and make appropriate comparisons between products with and without his

Safety Warning.


           C.       Mr. Weir’s Proposed Survey Focuses Respondents’ Attention on Negative
                    Features, Which Is Likely to Lead to Overstated Valuations for These
                    Features and Unreliable Results

46.        Academic marketing literature finds that exposing respondents to features that they do

not consider in the actual purchase environment can lead to overstated WTP valuations. 86

Mr. Weir provides no evidence that consumers deciding which baby products to purchase

consider safety disclosures and differentiate between products based on safety disclosures. By

forcing the respondents in his proposed survey to focus on negative features related to safety

disclosures and safety risks in their hypothetical purchase decisions, Mr. Weir primes them to

think about safety disclosures and risks more than they would under normal purchasing

conditions.87 This priming is likely to cause respondents to make choices that would not reflect




85
  Mr. Weir’s estimate of willingness to pay is based on how respondents to his proposed survey value a product
with his Safety Warning, compared to a product with no safety disclosure at all. Weir Declaration, Exhibit 3, ¶ 49. If
respondents overvalue the product with no safety disclosure at all, this will cause Mr. Weir to overestimate any
reduction in value due to his Safety Warning.
86
  In general, respondents who focus too much on certain features can overestimate the impact of those features. See,
e.g., David A. Schkade and Daniel Kahneman, “Does Living in California Make People Happy? A Focusing Illusion
in Judgments of Life Satisfaction,” Psychological Science, Vol. 9, No. 5, 1998, pp. 340-346. This study found that
when asked to compare life in California to life in the Midwest, Californians and Midwesterners placed their focus
on climate differences. As a result, the participants incorrectly predicted that life would be better in California than
in the Midwest. In fact, other features like job prospects or social life were more important determinants of life
satisfaction.
87
     As I describe below, three of Mr. Weir’s proposed eight features are negative ones.




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      Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 29 of 101
                                                                                                                    Confidential


their real-world behavior, which in turn will cause Mr. Weir’s estimates of valuations related to

the alleged false advertising to be overstated.


47.      Mr. Weir does not discuss this important survey design challenge or how he might

mitigate it. As a result, it is unlikely that his proposed survey can overcome this artificial focus

on a feature of interest (“focusing illusion” or “focalism”) that is likely to cause respondents’

valuation of the feature at issue to be overstated. 88


48.      Academic research has also demonstrated that WTP valuations are highly dependent on

the way that information is framed in a survey. 89 When including a negative feature that is not

commonly emphasized, such as a safety disclosure, it will be difficult to avoid having

respondents place an artificially large focus on that feature. The Weir Declaration’s list of

potential features includes two additional negative features besides the Safety Warning condition

at issue: “Risk of Mold” and “Risk of Rocking Mechanism Failure.” 90 This priming to consider


88
  For example, one academic article summarizes focalism as follows: “Research in psychology has shown that
people tend to overweight whatever information is most salient or most accessible at a particular moment and
neglect other relevant considerations.” Gerald Haubl, Benedict Dellaert, and Bas Donkers, “Tunnel Vision: Local
Behavioral Influences on Consumer Decisions in Product Search,” Marketing Science, Vol. 29, No. 3, September
22, 2009, pp. 438-455 at 441.
This flaw in Mr. Weir’s proposed survey is likely to be exacerbated because Mr. Weir does not provide any
evidence that the attributes included in his survey are key purchase drivers for the Rock ‘n Play Sleeper or
competitive products. I discuss this issue further in Section VII.A.
89
  See, e.g., Amos Tversky and Daniel Kahneman, “The Framing of Decisions and the Psychology of Choice,”
Science, Vol. 211, No. 4481, 1981, pp. 453-458 at 453; Amos Tversky and Daniel Kahneman, “Choices, Values,
and Frames,” American Psychologist, Vol. 39, No. 4, 1984, pp. 341-350; Kenneth Arrow et al., “Report of the
NOAA Panel on Contingent Valuation,” January 11, 1993, pp. 19-20.
The importance of clear and neutral framing is consistent with the general principles of survey research. For
instance, the Reference Guide on Survey Research explains that “When unclear questions are included in a survey,
they may threaten the validity of the survey by systematically distorting responses if the respondents are misled in a
particular direction…” Shari Seidman Diamond, “Reference Guide on Survey Research,” Reference Manual on
Scientific Evidence, 2011, pp. 359-423 at 388. See also Jon A. Krosnick and Stanley Presser, “Question and
Questionnaire Design,” Bingley, UK, Emerald Group Publishing Limited, 2010” in Handbook of Survey Research,
edited by Wright, James D., and Peter V. Marsden. (2010): 263-313 at 264.
90
  Weir Declaration, Exhibit 3, ¶ 24. In his deposition, Mr. Weir testified that “[b]arring further evidence, these are
the attributes that will be used.” Weir Deposition, 275:2-14.



                                                          26
       Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 30 of 101
                                                                                                                   Confidential


negative features of the product is likely to impact his estimates of the alleged false advertising.

By including three negative features (risk of mold, risk of rocking mechanism failure, and

Safety Warning) in his proposed survey, Mr. Weir’s design focuses respondents on features they

might not usually pay attention to prior to the survey, introducing focalism bias. Of Mr. Weir’s

seven potential non-price features, three of them relate to things that could go wrong with the

product, all of which will presumably be presented as potential health hazards. Asking

respondents to think about several hazards is likely to make their choices more risk averse. In

addition, having so many negative features increases the differences between this choice exercise

and respondents’ real-world purchase decisions.


VII.     PUTTING THOSE CRITICAL FLAWS ASIDE, WHICH THEMSELVES MAKE
         MR. WEIR’S PROPOSED SURVEY UNRELIABLE, MR. WEIR’S
         GENERALIZED DESCRIPTION OF HIS PROPOSED SURVEY IS
         INCOMPLETE AND INSUFFICIENT TO DETERMINE WHETHER HIS
         METHOD IS ADDITIONALLY UNRELIABLE

49.      Mr. Weir has not provided critical information about his proposed survey, including,

among others, the selection of attributes and levels, sample selection, and planned pretest.

Mr. Weir’s description of his proposed survey in his declaration and testimony is insufficient to

determine if his methodology would provide reliable estimates of willingness to pay. 91



91
  In addition, Mr. Weir’s list of documents that he reviewed is insufficient to determine if his opinions have any
basis in these documents. The Weir Declaration states that “[t]he documents, data and other materials that I relied
upon in forming my opinions are identified throughout my report and in Exhibit 2, attached hereto.” Weir
Declaration, ¶ 7.
Exhibit 2 in the Weir Declaration (“Documents Reviewed”) lists 80 unique Bates-stamped documents as well as
website domain names that include: fisher-price.com, mattel.com, archive.org, buybuybaby.com, target.com,
walmart.com, and amazon.com. The 80 Bates-stamped documents include 17 PDFs, which comprise 681 pages in
total, 58 Excel files, 2 CSV files, and 3 PowerPoint files. However, the Weir Declaration does not specifically cite to
either 1) any of these 80 Bates-stamped documents or 2) any specific web pages from the domain names that I list
above. As a result, Mr. Weir’s Exhibit 2 is insufficient to allow evaluation of whether his opinions have any basis in
these documents, and hence whether his opinions are reliable.




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        Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 31 of 101
                                                                                                                  Confidential


           A.        Mr. Weir Has Not Provided Evidence That the Attributes in His Proposed
                     Survey Will Include Key Purchase Drivers, the Lack of Which Is Likely to
                     Lead to Overstated Valuations

50.        Mr. Weir has not provided any basis to evaluate his selection of features for his proposed

survey.92 Mr. Weir also has not provided any evidence that these features are the key purchase

drivers for the Rock ‘n Play Sleeper or competitive products. In discussing Mr. Weir’s feature

selection, the Weir Declaration states that “[t]he attribute of interest is the Safety Warning. The

other attributes are distractor attributes, and will be selected to be believable and

understandable.”93 Contrary to the Weir Declaration, conjoint survey attributes besides price and

the attribute of interest are not just “distractors” that need only to be “believable and

understandable.” The other survey attributes also need to include the key purchase drivers. If

Mr. Weir’s proposed attributes do not include the key purchase drivers, this would likely cause

his willingness to pay calculations to be overstated.


51.        A key principle of conjoint analysis is that respondents should “hold constant” all

features besides the ones included in the choice task. Consistent with this, Mr. Weir states that

his proposed survey will instruct respondents to assume that “[a]ny features not shown in the

exercise” are “the same across the possible choices presented.” 94 However, if a conjoint survey


Mr. Weir testified that he “looked at each” Fisher-Price Bates-stamped document listed in Weir Declaration
Exhibit 2. Weir Deposition, 157:22-158:2. There are 24 such documents (as indicated by the Bates prefixes of the
files). Mr. Weir’s testimony did not indicate which of these documents or portions thereof he believes support which
of his opinions. Therefore, this testimony is insufficient to allow evaluation of whether Mr. Weir’s opinions have
any basis in these 24 documents.
92
     I use the terms “attribute” and “feature” interchangeably.
93
  Weir Declaration, Exhibit 3, ¶ 25. In Mr. Weir’s proposed survey, the inclusion of Mr. Weir’s Safety Warning is
the only difference between a product that Mr. Weir claims corrects the alleged false advertising in this matter and
an otherwise identical product that Mr. Weir claims does not correct the alleged false advertising. See Weir
Declaration, Exhibit 3, ¶ 49.
94
  Weir Declaration, Exhibit 3, ¶ 23. Mr. Weir also plans to instruct respondents to assume that “all of the sleepers
are of the same durability, and have the same warranty.” Weir Declaration, Exhibit 3, ¶ 23. While Mr. Weir plans to



                                                            28
        Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 32 of 101
                                                                                                                      Confidential


does not include important features of the products studied, then it is harder for respondents to

follow instructions to “hold constant” all other features. As Allenby et al. (2014) state:

                    [I]f one of the hypothetical products in the choice task has a very
                    high price, it is unlikely that the respondents will hold constant
                    other features. Their natural inclination is to assume that, perhaps,
                    the high price indicates that this hypothetical product has very
                    important features that are missing from the alternatives. This
                    violation of the hold-constant instruction is much less likely if
                    other important features are included in the conjoint survey
                    design.95

52.        This advice to include the important features in the choice task is consistent with other

academic resources on conjoint analysis. For example, prominent conjoint researcher Vithala R.

Rao explains that a conjoint study requires an understanding of “salient attributes involved in the

choice of an alternative by a majority of target consumers.” 96 Similarly, an academic article

providing an overview of conjoint research states that “at the end of the day a large fraction of

the success of conjoint rests on the researcher’s ability to identify the salient attributes and




provide these direct instructions about durability and warranty, he does not plan to instruct respondents about
whether they should assume that the safety risks of the products in his proposed survey differ.
95
  Greg M. Allenby, Jeff Brazell, John R. Howell, and Peter E. Rossi, “Valuation of Patented Product Features,” The
Journal of Law & Economics, Vol. 57, No. 3, August 2014, pp. 629-663 at 642. See also Vithala R. Rao and Henrik
Sattler, “Measurement of Price Effects with Conjoint Analysis: Separating Informational and Allocative Effects of
Price,” Conjoint Measurement: Methods and Applications, Berlin, Springer, 2007, pp. 31-46 at 42-43, which
describes this issue, and states that “[o]ne way to overcome this confounding problem at least partly is to include
most of the salient product attributes in the conjoint study.”
If respondents assume that higher-priced products have important positive features that are missing from lower-
priced alternatives, this will incorrectly reduce their price sensitivity. This occurs because respondents would
implicitly offset a higher price by positive attributes not included in the choice task. If price sensitivity is
understated, this will cause Mr. Weir’s willingness to pay calculations (which inherently are in dollars) to be
overstated, which would also cause his damages calculations to be overstated. See, e.g., a Sawtooth Software
technical paper, which states: “if respondents spend survey dollars too liberally, this will make their utility for price
too small and it will exaggerate their apparent willingness to pay for product features.” Bryan K. Orme and Keith
Chrzan, “Becoming an Expert in Conjoint Analysis: Choice Modeling for Pros,” 2017, p. 195.
96
     Vithala R. Rao, Applied Conjoint Analysis, Springer, 2014, p. 43.




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        Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 33 of 101
                                                                                                                    Confidential


levels.”97 My own published teaching materials for Harvard Business School explain that the

researcher should either include the most important attributes as part of the choice set or specify

the level of those attributes.98


53.        The Weir Declaration identifies attributes that might be included in Mr. Weir’s proposed

survey. In particular, the Weir Declaration states:

                    [R]espondents will be introduced to the attributes that will be
                    included in the choice exercises. These attributes might include
                    Brand, Padding, Frame, Sounds/Vibrations, Risk of Mold, Risk of
                    Rocking Mechanism Failure, Safety Warnings, and Price.99

54.        In his deposition, however, Mr. Weir testified that “[b]arring further evidence, these are

the attributes that will be used.”100 This suggests that Mr. Weir intends to include all of his

potential attributes in his proposed survey. However, Mr. Weir provides no explanation why it is

reasonable to use eight attributes. In fact, using too many attributes can cause the results of a

conjoint survey to be unreliable. The more attributes that are included, the more complex the

profile descriptions become and the more difficult it is for respondents to provide meaningful

responses, which is why experts recommend selecting no more than six attributes:




97
  Eric T. Bradlow, “Current Issues and a ‘Wish List’ for Conjoint Analysis,” Applied Stochastic Models in Business
and Industry, Vol. 21, No. 4-5, 2005, pp. 319-323 at 322.
98
  If there is a must-have feature that consumers absolutely need and expect (e.g., blue tooth for a mobile phone),
collecting additional data on that feature may not necessarily be informative, so there is no need to include the
feature as an attribute. In these instances, the researcher should still tell respondents what value they should assume
these must-have features will take. Otherwise, consumers will make assumptions on these features, which can affect
their responses. Elie Ofek and Olivier Toubia, “Conjoint Analysis: A Do it Yourself Guide,” Harvard Business
School, August 4, 2014, p. 2.
In contrast, Mr. Weir’s proposed survey will ask respondents to “Assume that all of the sleepers are of the same
durability, and have the same warranty” without explaining the level of durability or warranty that respondents
should assume. Weir Declaration, Exhibit 3, ¶ 23.
99
     Weir Declaration, Exhibit 3, ¶ 24.
100
      Weir Deposition, 275:2-14.




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        Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 34 of 101
                                                                                                                 Confidential


                     Experts usually recommend keeping the number of attributes at or
                     below 6. Keep in mind that conjoint analysis is a demanding task
                     for consumers. Increasing the number of attributes increases the
                     burden on consumers in at least two ways: (i) it creates a need for
                     longer questionnaires (i.e., more data are required to estimate
                     preferences for a longer list of attributes because more parameters
                     need to be estimated), (ii) it makes each question harder to answer,
                     because products become more difficult to evaluate. Unfortunately,
                     when tired or bored, respondents are likely to answer questions
                     randomly or by using simplifying heuristics that do not reflect how
                     they would make real-life decisions, thereby biasing the output and
                     rendering any conclusions based on the study potentially
                     misleading.101

55.         More importantly, the Weir Declaration does not discuss how Mr. Weir identified his list

of potential attributes, other than to say, “[t]he attribute of interest is the Safety Warning. The

other attributes are distractor attributes, and will be selected to be believable and

understandable.”102 The Weir Declaration also does not discuss how Mr. Weir would decide

among these attributes (if he does not use all of them, as he testified that he would do). 103


56.         There are various ways through which survey designers could learn about features that

are salient to consumers.104 The Weir Declaration, however, does not propose to use or describe

having used any particular methods. Mr. Weir testified that he determined these features by “a

review of the products internal documents from Fisher-Price looking at the products on the


101
  Elie Ofek and Olivier Toubia, “Conjoint Analysis: A Do it Yourself Guide,” Harvard Business School, August 4,
2014, p. 2.
102
   Weir Declaration, Exhibit 3, ¶ 25. Mr. Weir states that “Brand will always be shown first, and price will always
be anchored last,” suggesting that brand and price will be attributes included in his proposed survey. Weir
Declaration, Exhibit 3, ¶ 29.
103
      Weir Deposition, 275:2-14 (“[b]arring further evidence, these are the attributes that will be used.”).
104
    Vithala R. Rao, Applied Conjoint Analysis, Springer, 2014; Paul E. Green, Abba M. Krieger, and Yoram (Jerry)
Wind, “Thirty Years of Conjoint Analysis: Reflections and Prospects,” Interfaces, Vol. 31, No. 3, 2001, pp. S56-S73
at S57. My published teaching materials explain that preliminary research is often necessary to determine which
attributes are important to consumers’ purchase decisions, especially if the researcher has little experience in the
category. Elie Ofek and Olivier Toubia, “Conjoint Analysis: Online Tutorial,” Harvard Business School Tutorial,
April 2014, p. 6.




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        Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 35 of 101
                                                                                                                   Confidential


websites, looking at real world marketplace data.” 105 However, the Weir Declaration and

Mr. Weir’s testimony do not specify which documents he looked at to make this determination,

nor does he provide any detail on the steps he took to conduct his research or how he arrived at

this list of attributes.106 Therefore, it is not possible to evaluate Mr. Weir’s basis for using these

attributes, and he has failed to demonstrate that his methodology is reliable.


57.        Internal documents from Fisher-Price indicate that Rock ‘n Play Sleepers had a variety of

attributes. The product was designed to be portable and machine-washable, and it attached toys

for a baby to play with.107 Some Rock ‘n Play Sleepers also included attributes such as: a

projection light show to entertain babies, an automatic rocking feature to soothe babies, and the

ability to control the product with a smart device. 108 These documents are consistent with

testimony from Defendants’ corporate designee, 109 who stated that the attributes of the product

included “the rocking features, folding, portability, washability, [and] a toy for play.” 110 Mr.

Weir does not provide any rationale for why his proposed survey does not include these

attributes.111




105
      Weir Deposition, 273:21-25.
106
   Mr. Weir’s Exhibit 2 (“Documents Reviewed”) lists 80 Bates-stamped documents as well as the following
websites: fisher-price.com, mattel.com, archive.org, buybuybaby.com, target.com, walmart.com, and amazon.com
(but not any specific web pages from these domain names). As a result, it is not possible to determine which
documents, webpages, or portions thereof Mr. Weir relied on to reach these conclusions.
107
  See, e.g. “Voice of the Consumer Baby Gear,” 2013, FSHR0059256-FSHR0059277 at 262, and “Baby Gear
Spring 2016,” FSHR0059366-FSHR0059439 at 413-415.
108
      FSHR0060073-FSHR0060084 at 082-084, and “Baby Gear Spring 2016,” FSHR0059366-FSHR0059439 at 417.
109
      Deposition of Sarah Ford, December 11, 2020 (“Ford Deposition”), 12:11-15:5.
110
      Ford Deposition, 99:8-12. See also Ford Deposition, 178:19-180:21.
111
   As I discussed above, researchers should either include the important attributes of a product as part of the choice
set or specify the level of those attributes. Elie Ofek and Olivier Toubia, “Conjoint Analysis: A Do it Yourself
Guide,” Harvard Business School, August 4, 2014, p. 2.



                                                          32
        Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 36 of 101
                                                                                                 Confidential


58.        Further, the Weir Declaration discusses “exploratory research” that Mr. Weir plans to do

prior to conducting his proposed survey to identify key purchase drivers:

                    Prior to completing the design and conducting the conjoint survey,
                    I would conduct in-depth cognitive interviews with purchasers of
                    the Rock ‘n Play Products. These cognitive interviews are a type of
                    qualitative research, similar to focus groups, but better suited for
                    the conjoint survey task.

                    These interviews will permit me to understand background
                    information helpful to developing the conjoint survey. I would
                    conduct approximately eight in-depth telephone interviews of
                    approximately 30 minutes in duration. I would seek background
                    information on what product features drive purchasing behavior for
                    purchasers of Rock ‘n Play Sleepers. The participants in the
                    interviews would be purchasers or users of one or more Rock ‘n
                    Play Products during the proposed class period.

                    From these cognitive interviews, I would gain a better
                    understanding of the drivers of consumer choices underlying
                    sleeper purchases that would aid my final design of the conjoint
                    survey.

                    In addition to the interviews, I would also review available
                    discovery documents produced over the course of this litigation.

                    In addition, I would also review publicly available sources, such as
                    the website of Defendant Fisher Price, other competing brand
                    websites, and retailer websites.112

59.        As I discuss above, the attributes in a conjoint survey should include key purchase

drivers. Therefore, it is inappropriate for Mr. Weir to have already chosen the attributes that he

plans to use in his conjoint survey prior to doing the research to determine which product

attributes are key purchase drivers. In addition, Mr. Weir does not provide any details about how

these eight interviews would be conducted, or why it is appropriate to conduct only eight




112
      Weir Declaration, Exhibit 3, ¶¶ 14-18.




                                                     33
        Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 37 of 101
                                                                                                        Confidential


interviews to understand “what product features drive purchasing behavior for purchasers of

Rock ‘n Play Sleepers.”113


60.        Although Mr. Weir says he plans to conduct exploratory research, he testified that he has

not yet done any such research.114 Despite this, Mr. Weir testified that his exploratory research is

unlikely to result in meaningful changes:

                     When I have experience of doing careful conjoint design whether
                     by myself or with other folk, it is often the case that a carefully
                     designed conjoint as I have set forth here will experience few or no
                     changes as a result of the exploratory research that confirms the
                     careful research that was done before.115

61.        As I discuss throughout this report, there are many crucial omissions in Mr. Weir’s

proposed survey, and he does not provide evidence in support of many of the aspects of his

proposed survey.


           B.        Conjoint Analysis Requires That the Levels of Attributes Be Clearly Defined,
                     but Mr. Weir Has Not Provided Details on the Levels of the Attributes in His
                     Proposed Survey, or How He Would Determine Those Levels

62.        For a conjoint analysis to be reliable, the attributes/features included and the levels of

those attributes/features need to be specific, with quantification whenever possible. This is

emphasized in the peer-reviewed and technical literatures. Mr. Weir’s declaration and testimony

do not provide sufficient detail to evaluate whether the potential attributes/features in his

proposed survey have been or will be chosen in a reliable way.




113
      Weir Declaration, Exhibit 3, ¶ 14.
114
      Weir Deposition, 275:15-19.
115
      Weir Deposition, 276:1-7.




                                                     34
        Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 38 of 101
                                                                                                              Confidential


63.        Academic literature has found that conjoint analysis surveys are more reliable when

product features and levels are realistic, clear, and complete. 116


64.        Technical papers by Sawtooth Software, the company whose software Mr. Weir proposes

to use,117 also make similar points. One Sawtooth Software technical paper states that “[d]efining

proper conjoint attributes and levels is arguably the most fundamental and critical aspect of

designing a good conjoint study.”118 Sawtooth Software warns against incomplete descriptions of

feature levels: “[Attribute levels] should be concise statements with concrete meaning. Avoid

using ranges to describe a single level of an attribute, such as ‘weighs 3 to 5 kilos.’ Rather than

leave the interpretation to the respondent, it would be better to specify ‘weighs 4 kilos.’” 119

Sawtooth Software recommends specific, quantitative language: “Levels such as ‘superior

performance’ also leave too much in question. What does ‘superior performance’ mean? Try to

use specific language to quantify (if possible) the exact meaning of the level.” 120


65.        Similarly, my published teaching materials explain that attributes should not be

subjective and the levels of the attributes should not be ambiguous:



116
   Greg M. Allenby, Jeff D. Brazell, John R. Howell, and Peter E. Rossi, “Economic Valuation of Product
Features,” Quantitative Marketing and Economics, Vol. 12, No. 4, 2014, pp. 421-456 at 433; Elie Ofek and Olivier
Toubia, “Conjoint Analysis: A Do it Yourself Guide,” Harvard Business School, August 4, 2014, p. 3.
Similarly, general survey research guides also recommend using “wording that is specific and concrete (as opposed
to general and abstract.” Jon A. Krosnick and Stanley Presser, “Question and Questionnaire Design,” Bingley, UK,
Emerald Group Publishing Limited, 2010” in Handbook of Survey Research, edited by Wright, James D., and Peter
V. Marsden. (2010): 263-313 at 264.
117
      Weir Declaration, Exhibit 3, ¶ 35.
118
   Bryan K. Orme, “Formulating Attributes and Levels in Conjoint Analysis,” Sawtooth Software Research Paper
Series, 2002, p. 1.
119
   Bryan K. Orme, “Formulating Attributes and Levels in Conjoint Analysis,” Sawtooth Software Research Paper
Series, 2002, p. 1.
120
   Bryan K. Orme, “Formulating Attributes and Levels in Conjoint Analysis,” Sawtooth Software Research Paper
Series, 2002, p. 1.




                                                       35
        Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 39 of 101
                                                                                                                    Confidential


                     Subjective attributes such as “style” or “aesthetic appeal” as well
                     as subjective levels such as “good,” “modern,” or levels that are
                     defined as ranges (e.g., “$6 to $8”), should be avoided… The more
                     room is left for interpretation by using subjective and ambiguous
                     attributes and/or levels, the more likely it is that the responses
                     expressed by consumers do not match the true preferences you are
                     trying to measure.121

66.        However, Mr. Weir has not provided details on the levels of most of the attributes that

will be included in his proposed survey. Mr. Weir also does not indicate how he would determine

the specific levels of the attributes, or how many levels to use for each attribute. 122 As Mr. Weir

has failed to establish the levels of attributes he would include, or the method that he would use

to determine those levels, he has failed to demonstrate the reliability of his proposed survey.


67.        For price, Mr. Weir states that he will “conduct research of actual retail sales and market

data and included [sic] these real world price points in the survey.” 123 However, Mr. Weir does

not describe how he will determine the number of price points used, or the range that the price

points used will span, or how these determinations will incorporate “real world price points.”


68.        There are two attributes for which Mr. Weir has provided information on the levels: the

Safety Warning and brand. As I discuss in Section V, Mr. Weir has proposed wording for his



121
  Elie Ofek and Olivier Toubia, “Conjoint Analysis: A Do it Yourself Guide,” Harvard Business School, August 4,
2014, p. 2.
122
   The Weir Declaration suggests that each attribute in Mr. Weir’s proposed survey would have at most six levels.
Weir Declaration, Exhibit 3, ¶ 33 (performing a calculation intended to determine the required sample size assuming
that the largest number of levels for any attribute will be six). It is not clear how Mr. Weir decided that the largest
number of levels for any one attribute will be six, or which attribute(s) this will apply to. Mr. Weir has provided no
further information on the number of levels he will use for most of his attributes.
It is recommend that all attributes have a similar number of levels (e.g., between two to four levels, or between three
to five levels) because if some attributes have many more levels than others, the estimated importance of the
attributes with more levels tends to be overestimated. Elie Ofek and Olivier Toubia, “Conjoint Analysis: A Do it
Yourself Guide,” Harvard Business School, August 4, 2014, p. 3.
123
      Weir Declaration, Exhibit 3, ¶ 53.




                                                          36
        Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 40 of 101
                                                                                                                   Confidential


Safety Warning attribute, though he has not provided sufficient information to evaluate his basis

for that wording.


69.        The Weir Declaration indicates that brand would be included in Mr. Weir’s proposed

survey as a text field, and lists the brands to be included. 124 However, Mr. Weir has not

explained how he determined to include these brands in a way that would allow evaluation of his

basis for this decision.125 Mr. Weir has testified that his attribute descriptions would be all text.126

In other deposition testimony, though, Mr. Weir stated that he “might consider using the logos of

the brand names rather than text for the brand names.” 127


           C.       Mr. Weir Does Not Provide Specifics About How He Will Pretest His
                    Proposed Survey

70.        The Weir Declaration states that Mr. Weir will “pretest” his proposed survey with

approximately 50 respondents:

                    Prior to putting the survey into the field, the conjoint questionnaire
                    will be pretested with approximately 50 respondents. Following
                    administration of the survey, respondents will be debriefed about
                    the survey experience and questionnaire. I will conduct the pretest
                    for quality control and quality assurance testing of the survey
                    design; to validate that the survey questionnaire was programmed
124
   The Weir Declaration lists the following brands to be included in Mr. Weir’s proposed survey: Fisher-Price,
Ingenuity, Disney, Graco, and Halo. Weir Declaration, Exhibit 3, ¶ 27.
125
   In his deposition, Mr. Weir testified that he determined these brands from “Fisher-Price’s own market research.”
Weir Deposition, 283:14-22. However, Mr. Weir has not explained what “market research” by Fisher-Price he is
referring to or how he determined these brands using that research.
As I explain in my published teaching materials, to ensure that a conjoint survey’s results be representative of the
target market, the products in the study must be “representative of the products potentially available or that would be
in the consideration set of the target market.” Elie Ofek and Olivier Toubia, “Conjoint Analysis: Online Tutorial,”
Harvard Business School Tutorial, April 2014, p. 22. Mr. Weir has not provided any evidence that the brands that he
proposes to include are representative of the products in the consideration set for Rock ‘n Play Sleeper purchasers.
126
      Weir Deposition, 284:18-285:3, 288:4-16.
127
   Weir Deposition, 282:2-24 (Mr. Weir does not provide any explanation of how he would make this decision,
other than that it “may be informed by the exploratory research”).




                                                          37
        Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 41 of 101
                                                                                                                  Confidential


                     correctly to my specifications; to identify any survey questions that
                     were unclear to respondents; and to analyze the data collection to
                     identify any problems, such as unexpected missing response data
                     or interview terminations.

                     Additionally, I would test for demand artifacts, asking respondents
                     about their beliefs about the sponsor and purpose of the survey. 128


71.        Mr. Weir does not provide any specifics about how he would conduct this pretest. As a

result, Mr. Weir has not provided sufficient information for me to evaluate how his “pretest”

would impact the reliability of his final survey.


72.        For example, Mr. Weir states that as part of his pretest of his proposed survey he will

“test for demand artifacts, asking respondents about their beliefs about the sponsor and purpose

of the survey.”129 However, Mr. Weir does not explain how he will identify individuals who have

been influenced by demand artifacts or how he would use his findings to alter the final survey. 130

The academic literature recognizes that it is not necessarily accurate to assume that demand

artifacts exist for (or only for) subjects who “appear to have guessed the experimental

hypothesis.”131 In addition, Mr. Weir does not explain how he would solicit feedback about

“questions that were unclear to respondents” 132 or how he would use this feedback to alter the

final survey.




128
      Weir Declaration, Exhibit 3, ¶¶ 31-32.
129
      Weir Declaration, Exhibit 3, ¶ 32.
130
   An early paper on demand artifacts, Sawyer (1975), defines demand artifacts as including “all aspects of the
experiment which cause the subject to perceive, interpret, and act upon what he believes is expected or desired of
him by the experimenter” and further states that they “pose important threats” to a study’s validity. Alan G. Sawyer,
“Demand Artifacts in Laboratory Experiments in Consumer Research,” Journal of Consumer Research, Vol. 1, No.
4, 1975, pp. 20-30 at 20.
131
  Terence A. Shimp, Eva M. Hyatt, and David J. Snyder, “A Critical Appraisal of Demand Artifacts in Consumer
Research,” Journal of Consumer Research, Vol. 18, No. 3, 1991, pp. 273-283 at 273.
132
      Weir Declaration, Exhibit 3, ¶ 31.



                                                         38
        Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 42 of 101
                                                                                                          Confidential


           D.        Mr. Weir Does Not Sufficiently Explain the Population That He Is Trying to
                     Target, or Why His Target Population Is Reasonable

            1. Mr. Weir’s Declaration Is Ambiguous About Whether He Will Survey Only
                Purchasers of the Rock ‘n Play Sleeper, or Owners As Well, and Does Not Provide
                the Basis for His Decision

73.        As explained in the Reference Guide on Survey Research,

                     One of the first steps in designing a survey or in deciding whether
                     an existing survey is relevant is to identify the target population (or
                     universe). The target population consists of all elements (i.e.,
                     individuals or other units) whose characteristics or perceptions the
                     survey is intended to represent. … Identification of the proper
                     target population or universe is recognized uniformly as a key
                     element in the development of a survey… The definition of the
                     relevant population is crucial because there may be systematic
                     differences in the responses of members of the population and
                     nonmembers. For example, consumers who are prospective
                     purchasers may know more about the product category than
                     consumers who are not considering making a purchase. 133

74.        The Weir Declaration has not clearly defined a target population for Mr. Weir’s proposed

survey. In particular, the Weir Declaration provides contradictory rules for who Mr. Weir plans

to include in his proposed survey: only purchasers or both purchasers and users (which would

include owners who used the product but did not purchase it).


75.        In one place, the Weir Declaration states that respondents will be required to have

purchased or used at least one Rock ‘n Play product: “The sample will be drawn from the general

population of the U.S. who had purchased or used at least one Rock ‘n Play Product.” 134

However, in another place, the Weir Declaration states that respondents will be required to have

purchased a Rock ‘n Play Sleeper product in the previous 36 months:


133
  Shari Seidman Diamond, “Reference Guide on Survey Research,” Reference Manual on Scientific Evidence,
2011, pp. 359-423 at 376-377 and FN 76.
134
      Weir Declaration, Exhibit 3, ¶ 34.



                                                       39
        Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 43 of 101
                                                                                                                       Confidential


                     Respondents will be asked if they have purchased one or more
                     baby products in the past 36 months.

                     o Those that have made such a purchase are then asked to select
                     the types of products that they have purchased.

                     o Those that indicate a purchase of a sleeper are then asked to
                     identify the brand(s) of sleeper that they purchased. Those that
                     indicate a Rock ‘n Play will continue through the survey. 135

76.        Because of these inconsistencies, it is not clear whether Mr. Weir is targeting purchasers

or both purchasers and users. 136


            2. Mr. Weir’s Proposed Survey Is Not Informative about the Purchase of a Used Rock ‘n
                Play Sleeper

77.        Mr. Weir’s declaration states that his proposed survey’s “instructions inform respondents

that they should imagine that they are going to purchase a new sleeper.” 137 Mr. Weir’s proposed

survey is therefore not directly applicable to the decision to purchase a used Rock ‘n Play

Sleeper. I describe in Section II.D that Plaintiffs seek to certify several putative statewide

classes, all of which include purchasers of Rock ‘n Play Sleepers, regardless of whether they

purchased new or used.


78.        As I discuss above, it is not clear if Mr. Weir intends to survey purchasers or both

purchasers and users. Regardless, Mr. Weir does not appear to limit his survey to respondents

who obtained new Rock ‘n Play Sleepers (as opposed to used). 138 Respondents who obtained

their Rock ‘n Play Sleepers while new might have different preferences than respondents who



135
      Weir Declaration, Exhibit 3, ¶ 21.
136
   In his deposition, Mr. Weir testified that both purchasers and recipients of the Rock ‘n Play Sleeper are part of
the putative class. Weir Deposition, 143:18-23.
137
      Weir Declaration, Exhibit 3, ¶ 23.
138
      Weir Declaration, Exhibit 3, ¶ 21.



                                                          40
      Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 44 of 101
                                                                                                                     Confidential


obtained their Rock ‘n Play Sleepers while used. Mr. Weir does not explain why it is reasonable

to survey purchasers (or purchasers and users) who obtained used Rock ‘n Play Sleepers about

the decision to purchase a new Rock ‘n Play Sleeper.


         3. Mr. Weir Does Not Plan to Evaluate Respondent Awareness of the Recall or this
            Litigation

79.      Mr. Weir does not plan to ask respondents if they are aware of either the recall of the

Rock ‘n Play Sleeper or this litigation.139 Respondents who are aware of the recall and/or this

litigation may have different preferences because of this knowledge that would lead them to

respond differently to Mr. Weir’s proposed survey. In particular, knowledge of the recall and/or

litigation might inflate the importance of and the valuations for Mr. Weir’s proposed safety

disclaimer.140


80.      At the time of the original retail purchase of new Rock ‘n Play Sleepers, neither the recall

nor this litigation had yet occurred. Therefore, to the extent that respondents who acquired the

Rock ‘n Play Sleeper by purchasing new at retail now have different preferences because of their

awareness of the recall/litigation than they would have had at the time of purchase, their

responses would be an unreliable measure of their original preferences.


81.      At a minimum, Mr. Weir should ask about respondents’ awareness of the recall and/or

this litigation and should run an analysis to see if the respondents who are aware have different



139
   Mr. Weir’s declaration indicates that he will test for demand artifacts by “asking respondents about their beliefs
about the sponsor and purpose of the survey.” Weir Declaration, Exhibit 3, ¶ 32. This inquiry is not equivalent to
asking respondents if they are aware of the recall and/or this litigation. I discuss the incompleteness and potential
inadequacy of Mr. Weir’s description of how he will test for “demand artifacts” in Section VII.C.
140
   As I discuss in Section VII.D, Mr. Weir is unclear about his target population, but it includes individuals who
purchased Rock ‘n Play Sleeper and possibly also individuals who owned a Rock ‘n Play Sleeper (but did not
purchase it).



                                                          41
        Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 45 of 101
                                                                                                               Confidential


willingness to pay than other respondents. If these individual who are aware have substantially

different willingness to pay than other respondents, they should be excluded from Mr. Weir’s

overall willingness to pay estimate. Mr. Weir does not provide any indication that he has

considered these issues or has a plan to address them.


           E.        Mr. Weir Does Not Adequately Address the Sample Size of His Proposed
                     Survey

82.        Mr. Weir provides what he describes as a “rule of thumb” for the conjoint survey sample

size: n×t×a ÷ c ≥ 500, where n is the sample size, t is the number of choice tasks for each

respondent, a is the number of options for each choice task (not including the option to purchase

nothing), and c is the maximum number of attributes.141 In support of this rule of thumb,

Mr. Weir cites to a Sawtooth Software technical paper authored by Bryan Orme, which attributes

this formula to Richard M. Johnson, who is the author of Sawtooth Software’s choice-based

conjoint system.142 However, the paper cited by Mr. Weir is actually critical of use of this rule of

thumb and suggests larger sample sizes, stating:

                     Over the years, we have become concerned that practitioners use
                     Johnson’s rule-of-thumb to justify sample sizes that are too small.
                     Some feel that they will have ample stability in estimates when
                     each main-effect level of interest is represented across the design
                     about 500 times. But 500 was intended to be a minimum threshold
                     when researchers cannot afford to do better. It would be better,
                     when possible, to have 1,000 or more representations per
                     main-effect level.143




141
      Weir Declaration, Exhibit 3, ¶ 33.
142
      Bryan K. Orme, Getting Started with Conjoint Analysis Third Ed., Research Publishers LLC, 2014, pp. 68–69.
143
      Bryan K. Orme, Getting Started with Conjoint Analysis Third Ed., Research Publishers LLC, 2014, p. 69.



                                                          42
        Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 46 of 101
                                                                                                        Confidential


83.        Mr. Weir’s rule of thumb leads to sample sizes that are too low. This error can be

demonstrated by means of Mr. Weir’s opinion that even a sample size of 300 is “well in excess

of the minimum recommended amount” from his rule of thumb. Specifically, Mr. Weir states:

                     For this survey, I would likely sample approximately n=300
                     respondents; respondents would answer t=12 randomized choice
                     tasks of a=3 alternatives per task; and the highest number of levels
                     is c=6 analysis cells. The formula in this instance evaluates to
                     1,800; well in excess of the minimum recommended amount. 144

84.        Given Mr. Weir’s description of his proposed survey, his chosen rule of thumb would

require a minimum sample size of 500 × c ÷ (t×a), rounded up = 84 respondents. Mr. Weir

provides no explanation of why such a low sample size would be adequate.


85.        In addition, Mr. Weir states that “[t]ypically conjoint surveys collect data from at least

300 respondents if the goal of the research is to conduct robust quantitative research.” 145 But

Mr. Weir then proposes to use approximately 300 respondents, at the lowest end of what he

states is typical for conducting “robust quantitative research,” without providing any explanation

(other than his incorrect “rule of thumb”) for why only 300 respondents would be appropriate.




Executed this 16th day of June, 2021.




                                                           Olivier Toubia, PhD




144
      Weir Declaration, Exhibit 3, ¶ 33.
145
      Weir Declaration, Exhibit 3, ¶ 33.



                                                      43
                  Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 47 of 101
                                                                                                                                Confidential


                                               Exhibit 1
                     Summary of Named Plaintiffs Whose Depositions I Have Received

                                        State of          Products Purchased               New              Used for            Used for
 Row              Name                 Residence             or Received                 or Used?          Non-Sleep?            Sleep?
Named Plaintiffs Who Purchased a Rock ‘n Play Sleeper for Self and/or Received as a Gift
   1       Cassandra Mulvey            New York              Received as gift               New                 Yes                Yes
   2       Daniel Pasternacki           Colorado          Purchased (2 RNPSs)               New                 Yes                Yes
   3        Elizabeth Alfaro           New York                 Purchased                   New                 No                 Yes
   4          Emily Barton              Arizona                 Purchased                   New                 Yes                Yes
                                                           1st received as gift
   5        Emily Simmonds             New York                                             Used                Yes                Yes
                                                             2nd purchased
                                                           1st received as gift
   6            Jena Huey                Florida             2nd purchased                  New                 Yes                Yes
                                                          3rd purchased as gift
   7           Jessie Poppe            New York             Received as gift                New                 Yes                Yes
                                                           1st received as gift
   8          Joshua Nadel            New Jersey                                            New                 Yes                Yes
                                                             2nd purchased
   9           Josie Willis            Tennessee                Purchased                   New                 Yes                Yes
  10        Katharine Shaffer         Washington                Purchased                   New                 Yes                Yes
  11         Kerry Mandley              Virginia             Received as gift               New                 No                 Yes
                                                                                  [A]
  12           Linda Black               Texas          Purchased (not RNPS)                New                 Yes                Yes
  13           Luke Cuddy            Massachusetts          Received as gift                New                 Yes                Yes
                                                            Received as gift
  14          Megan Fieker             Oklahoma                                             New                 Yes                Yes
                                                              (2 RNPSs)
                                                                                          One new
  15          Megan Kaden              California         Purchased (2 RNPSs)                                   Yes                Yes
                                                                                          one used
  16         Melanie Nowlin             Arkansas                Purchased                   New                 Yes                Yes
                                                                                          One new
  17         Nancy Hanson                 Iowa            Purchased (2 RNPSs)                                   Yes                Yes
                                                                                          one used
  18           Renee Wray               Colorado             Received as gift               Used                Yes                Yes
  19        Samantha Jacoby           New Jersey             Received as gift               New                 Yes                Yes
Other Named Plaintiffs Who Purchased a Rock ‘n Play Sleeper as a Gift
  20      Karen Flores        California        Purchased as gift                           New           Doesn’t know       Doesn’t know
  21     Rebecca Drover      Pennsylvania       Purchased as gift                           New               Yes            Doesn’t know

Note:
[A] Named Plaintiff Linda Black did not purchase a Rock ‘n Play Sleeper, but rather a pink Mickey Mouse inclined sleeper from another
brand. I include her in this table because her testimony provides useful information on how consumers use similar products to the Rock ‘n
Play Sleeper. Deposition of Linda Black, March 23, 2021, 74:1-75:23, 82:18-84:18, 194:16-196:17.

Sources for Corresponding Row Numbers:
[1] Deposition of Cassandra Mulvey, March 30, 2021, 24:2-5, 51:11-12, 51:16-21, 65:9-14, 66:2-6.
[2] Deposition of Daniel Pasternacki, April 6, 2021, 23:15-18, 48:22-24, 51:16-19, 52:14-19, 70:24-71:18, 75:18-76:2.
                 Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 48 of 101
                                                                                                                           Confidential


                                              Exhibit 1
                    Summary of Named Plaintiffs Whose Depositions I Have Received
[3] Deposition of Elizabeth Alfaro, April 6, 2021, 10:5-7, 81:2-15, 147:4-6, 148:2-5, 162:9-11, 167:7-22.
[4] Deposition of Emily Barton, April 13, 2021, 50:19-21, 213:14-16, 228:1-19, 235:21-236:25, 259:13-23.
[5] Deposition of Emily Simmonds, April 13, 2021, 16:8-10, 54:23-55:3, 85:4-17, 101:1-5.
[6] Deposition of Jena Huey, April 16, 2021, 8:10-12, 127:23-128:20, 147:3-11, 154:4-18, 156:15-157:1, 175:2-7, 176:11-177:18.
[7] Deposition of Jessie Poppe, March 23, 2021, 22:5-6, 62:17-20, 175:8-13, 202:19-20, 207:11-15.
[8] Deposition of Joshua Nadel, April 13, 2021, 9:5-7, 84:20-85:7, 146:25-147:16, 158:20-159:20, 169:11-173:15.
[9] Deposition of Josie Willis, March 18, 2021, 26:11-12, 106:8-10, 106:18-19, 118:9-14, 142:25-143:8.
[10] Deposition of Katharine Shaffer, March 25, 2021, 25:10-12, 48:20-49:8, 100:17-20, 103:2-10.
[11] Deposition of Kerry Mandley, March 30, 2021, 42:4-6, 79:18-19, 129:1-5, 145:7-9, 160:1-10, 177:21-23, 179:10-15.
[12] Deposition of Linda Black, March 23, 2021, 45:4-7, 70:21-71:2, 139:14-21.
[13] Deposition of Luke Cuddy, March 23, 2021, 9:11-13, 85:23-86:1, 141:4-7, 172:4-7, 183:4-6.
[14] Deposition of Megan Fieker, March 25, 2021, 43:16-19, 188:10-16, 195:18-196:1, 210:24-211:2, 237:13-17, 239:17-240:7, 248:22-25,
249:6-13.
[15] Deposition of Megan Kaden, April 14, 2021, 14:18-19, 65:14-19, 66:5-17, 92:1-6, 93:2-8; Deposition of Megan Kaden, April 15, 2021,
132:24-134:25, 155:1-156:8.
[16] Deposition of Melanie Nowlin, April 1, 2021, 22:10-13, 141:2-20, 158:4-12, 188:18-22.
[17] Deposition of Nancy Hanson, March 25, 2021, 34:25-35:1, 103:7-19, 137:10-13, 139:4-12.
[18] Deposition of Renee Wray, May 26, 2021, 41:14-17, 102:15-103:22, 104:17-19, 157:13-15, 160:2-5, 172:4-7.
[19] Deposition of Samantha Jacoby, April 8, 2021, 25:23-26:5, 57:10-58:13, 60:19-61:11, 72:1-11.
[20] Deposition of Karen Flores, April 2, 2021, 26:1-7, 37:9-23, 49:19-21.
[21] Deposition of Rebecca Drover, April 8, 2021, 11:7-9, 60:1-8, 61:2-5, 75:2-24, 76:2-11, 76:17-20, 77:8-18.
  Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 49 of 101
                                          Appendix A


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EMPLOYMENT
2012-present: Glaubinger Professor of Business, Columbia Business School, New York,
NY.

2011-2012: Professor of Marketing, Columbia Business School.

2010-2011: Associate Professor of Marketing (with Tenure), Columbia Business School.

2007-2010: David W. Zalaznick Associate Professor of Business (without Tenure), Co-
lumbia Business School.

2004-2007: Assistant professor of marketing, Columbia Business School, New York,
NY.

EDUCATION
Ph.D., Marketing, June 2004
Massachusetts Institute of Technology, Sloan School of Management, Cambridge, MA.

S.M., Operations Research, January 2001
Massachusetts Institute of Technology, Cambridge, MA.

Ingénieur, June 2000
Ecole Centrale Paris, Paris, France.

RESEARCH INTERESTS
Innovation, Idea Generation, Creativity, Preference Measurement, Computational Social
Science.

HONORS AND AWARDS
Finalist for the Exeter Prize for Research in Experimental Economics, Decision Theory
and Behavioral Economics, 2020.


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  Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 50 of 101
                                        Appendix A

Recipient of the John Little award for best marketing paper published in Marketing Sci-
ence or Management Science, 2003, 2006, 2017, 2018.

Recipient of the INFORMS Society for Marketing Science Long Term Impact Award,
2016.

Recipient of the Paul E. Green award for the Journal of Marketing Research paper hav-
ing the greatest potential for significant impact for marketing practice, 2015.

Recipient of the Don Lehmann award (best dissertation-based paper published in the
Journal of Marketing Research or the Journal of Marketing), 2012.

Recipient of the Frank M. Bass outstanding dissertation award, 2005.

Recipient of the John A. Howard AMA dissertation award, 2005.

Finalist for the John Little award for best marketing paper published in Marketing Sci-
ence or Management Science, 2013.

Finalist for the Paul Green Award, 2004, 2010.

Finalist for the INFORMS Society for Marketing Science Long Term Impact Award,
2011, 2012, 2013, 2014, 2015.

Finalist for the William F. O’Dell Award, 2015.

Haring Symposium Distinguished Scholar, 2013.

Management Science Meritorious Service Award, 2010.

MSI Young Scholar, 2007.

Presidential Fellow, Massachusetts Institute of Technology, 2001-2004.

Recipient of the Jean Walter Zellidja Fellowship (Académie Française), 1999.

Recipient of the Jean Gaillard Memorial Fellowship, 1999.

PROFESSIONAL ACTIVITY
2019-present: Chair of Marketing Division, Columbia Business School.

2019-present: Senior Editor, Marketing Science.

2019-present: member of the Tenure Review Advisory Committee (TRAC), Columbia
University.



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  Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 51 of 101
                                      Appendix A

2016-2019: Faculty Director, The Eugene Lang Center for Entrepreneurship, Columbia
Business School.

2016-2018: VP Education, INFORMS Society for Marketing Science.

2018: Co-Editor, Quantitative Marketing and Economics.

2013-2018: Senior Editor, Customer Needs and Solutions.

2013-2015: Associate Editor, International Journal of Research in Marketing.

2015-2017: Associate Editor, Journal of Consumer Research.

2014-2018: Associate Editor, Management Science.

2016-2018: Associate Editor, Marketing Science.

2010-2017: Associate Editor, Operations Research.

2008-2018: Member of the Editorial Board, International Journal of Research in Market-
ing.

2010-2018: Member of the Editorial Board, Journal of Marketing Research.

2006-present: Member of the Editorial Board, Marketing Science.

Ad-hoc reviewer: American Economic Review, Applied Stochastic Models in Business
and Industry, California Management Review, Decision Support Systems, European
Journal of Operations Research, European Research Council, Interfaces, International
Journal of Product Development, Israeli Science Foundation, Journal of Behavioral De-
cision Making, Journal of Business and Economic Statistics, Machine Learning, Market-
ing Letters, National Science Foundation, Physica A, Proceedings of the National Acad-
emy of Science, Product and Operation Management, Psychometrika, Review of Market-
ing Science.

2011-present: Member of the Scientific Committee, Recherche et Applications en Mar-
keting.

JOURNAL PUBLICATIONS
Toubia, Olivier, Duncan I. Simester, John R. Hauser, and Ely Dahan (2003), “Fast Poly-
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   Winner, 2003 John Little award for best marketing paper published in Marketing Sci-
   ence or Management Science.
   Winner, 2005 Frank M. Bass outstanding dissertation award.
   Finalist, 2011 INFORMS Society for Marketing Science Long Term Impact Award.
   Finalist, 2012 INFORMS Society for Marketing Science Long Term Impact Award.


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  Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 52 of 101
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   Finalist, 2013 INFORMS Society for Marketing Science Long Term Impact Award.

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for Adaptive Choice-Based Conjoint Analysis,” Journal of Marketing Research, 16, 116-
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    Finalist, Paul Green award (best paper published in the Journal of Marketing Re-
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neity in Conjoint Analysis,” Marketing Science, 24(3) (authors listed alphabetically).

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   ence or Management Science.
   Finalist, 2013 INFORMS Society for Marketing Science Long Term Impact Award.
   Finalist, 2014 INFORMS Society for Marketing Science Long Term Impact Award.
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ers,” Marketing Science, 26(3), 342-361.

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keting Science, 26(5) (lead article).
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mization Approach to Modeling Consumer Heterogeneity in Conjoint Estimation," Mar-
keting Science, 26(6) (authors listed alphabetically).

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  Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 53 of 101
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   Finalist, Paul Green award (best paper published in the Journal of Marketing Re-
   search).
   Winner, Don Lehmann award (best dissertation-based paper published in the Journal
   of Marketing Research of the Journal of Marketing).
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32(3), 368-392 (lead article).
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        Science or Management Science, 2013.

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Model of Information Search and Choice in Preference Measurement,” Journal of Mar-
keting Research, 52(2), 166-183.
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  Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 54 of 101
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ing).

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  Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 55 of 101
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Shape of Stories Predicts Their Success," Proceedings of the National Academy of Sci-
ences (forthcoming).

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and Machine-Learning Methods for Conjoint Analysis: Estimation and Question Design,”
in Conjoint Measurement: Methods and Applications, 4th edition, edited by A. Gus-
tafsson, A. Herrmann, and F. Huber.

Toubia, Olivier (2010), “New Product Development,” in Handbook of Technology Man-
agement (edited by Hossein Bidgoli).

Toubia, Olivier (2018), “Conjoint Analysis,” in Handbook of Marketing Analytics: Meth-
ods and Applications in Marketing Management, Public Policy, and Litigation Support
(edited by Natalie Mizik and Dominique M. Hanssens).

OUTSIDE ACTIVITIES
Columbia Business School requires faculty members to disclose any recent activities that
might present a real or apparent conflict of interest. Recently I have:

-Done litigation consulting work related to one consumer packaged good companies,
three technology companies, two automotive companies, two health supplement compa-
nies, one toy company.

-Developed a case/learning module with a colleague in a peer institution.




                                                                                        7
   Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 56 of 101
                                         Appendix B



Olivier Toubia, Ph.D.                                                               June 2021
Glaubinger Professor of Business
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                    Testimony in the Past Four Years
  Anthony Shamrell et al. v. Apple Inc., Superior Court of the State of California County of San
  Diego, Case No: 37-2013-00055830-CU-PL-CTL. Deposed, May 2019.

  Justin Lytle and Christine Musthaler et al. v. Nutramax Laboratories, Inc., Central District
  of California, Case No.: 5:19-cv-00835-JBG-SP. Deposed, May 2021.
    Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 57 of 101
                                                                                               Confidential


                                           Appendix C

                                    Materials Relied Upon

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     1:19-md-2903, February 8, 2021.
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Deposition of Daniel Pasternacki, April 6, 2021.
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Deposition of Jessie Poppe, March 23, 2021.
Deposition of Joshua Nadel, April 13, 2021.
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Deposition of Katharine Shaffer, March 25, 2021.
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Deposition of Linda Black, March 23, 2021.
Deposition of Luke Cuddy, March 23, 2021.
Deposition of Megan Fieker, March 25, 2021.


                                                  1
    Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 58 of 101
                                                                                             Confidential


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Deposition of Megan Kaden, April 15, 2021.
Deposition of Melanie Nowlin, April 1, 2021.
Deposition of Nancy Hanson, March 25, 2021.
Deposition of Rebecca Drover, April 8, 2021.
Deposition of Renee Wray, May 26, 2021.
Deposition of Samantha Jacoby, April 8, 2021.
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                                                2
    Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 59 of 101
                                                                                             Confidential


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                                               3
    Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 60 of 101
                                                                                          Confidential


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                                              4
                 Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 61 of 101
                                                                         Appendix D
Conjoint Analysis: Online Tutorial | Harvard Business School                                      https://forio.com/simulate/harvard/conjoint-tutorial/simulation/




                                         Conjoint Analysis Tutorial Overview
                                         Welcome to the conjoint analysis tutorial, which provides an interacƟve tool to teach you about conjoint analysis.
                                         Successful compleƟon of the material will prepare you for designing, collecƟng, and using conjoint analysis customer data
                                         in pracƟce. This tutorial is part of a comprehensive toolkit on conjoint analysis that includes two addiƟonal components:

                                          • A set of exercises to pracƟce using conjoint analysis data, with the aid of a market choice predictor to make business
                                              decisions ('MarkeƟng SimulaƟon: Using Conjoint Analysis for Business Decisions', HBP Courseware #515-713
                                              (hƩps://cb.hbsp.harvard.edu/cbmp/product/515713-HTM-ENG)).
                                          •   A Do-It-Yourself (DIY) guide that provides a step-by-step explanaƟon for how to construct, run and analyze a conjoint
                                              analysis study. The DIY guide also provides access to a customizable choice predictor, allowing you to use your own
                                              conjoint data for evaluaƟng business decisions ('Conjoint Analysis: A Do-it-Yourself Guide', HBP Courseware: #515024
                                              (hƩps://cb.hbsp.harvard.edu/cbmp/product/515024-PDF-ENG)).




                                         Using the Toolkit
                                         Read through the tutorial below and try the interacƟve tasks that are designed to help you solidify your understanding of
                                         the main concepts.




                                         What Who When and Why
                                         In this module you will learn the basics of conjoint analysis, speciﬁcally: what conjoint anlaysis is, who tends to use it, and
                                         when and why it is applied.




                                         What is Conjoint Analysis?
                                         Most decisions we make in the real world involve trade-oﬀs. For instance, consumers make trade-oﬀs when purchasing
                                         products: Should the premium car with all-wheel drive be purchased or should the economy car with beƩer gas mileage
                                         be purchased? Companies must consider these consumer trade-oﬀs when developing new products and services,
                                         allowing them to make beƩer strategic decisions. For example: what features should be included in the product and
                                         which features leŌ out in order to maximize proﬁts? How should a new service with more advanced capabiliƟes be priced
                                         to grow market share? To help managers understand how customers make trade-oﬀs among various product or service
                                         characterisƟcs, a method of market research called conjoint analysis has been developed.

                                         Conjoint analysis allows researchers to quanƟfy consumer preferences for various features and characterisƟcs of products




1 of 24                                                                                                                                                7/27/2015 4:22 PM
                 Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 62 of 101
                                                                        Appendix D
Conjoint Analysis: Online Tutorial | Harvard Business School                                     https://forio.com/simulate/harvard/conjoint-tutorial/simulation/




                                         or services. It essenƟally builds a mathemaƟcal model of consumer preferences, thus allowing managers to predict how
                                         consumers would choose between products and services that are or may become available on the market.

                                         Conjoint analysis is used in a range of industries and for a number of strategic decisions such as: product design, product
                                         line opƟmizaƟon, pricing, segmentaƟon, and market-share predicƟon.




                                        Automobiles                                                                                             Public t ransportation
                                        Cameras                                                                                                 Employee
                                        Cell phones                                                                                             associations
                                        Computers                                                                                               Military
                                        Food processors
                                        Snowmobiles




                                         Who Uses Conjoint and When?


                                                                                                                 •   Marketing and brand managers
                                                                                                                 •   Product and R&D managers
                                                                                                                 •   Entrepreneurs
                                                                                                                 •   Consultants




                                         QuesƟons for which conjoint analysis is relevant to address include:

                                          • Which features should we include in our products/services?
                                          • How many diﬀerent products/services should we oﬀer?
                                          • How much are consumers willing to pay for each feature of our product/service? How much would they be willing to
                                            pay extra for an improvement on an exisƟng characterisƟc?
                                          • How should we price our products/services?
                                          • What market share should we expect to obtain if we launch product/service X?
                                          • How do consumers diﬀer in their preferences? Which segment(s) of consumers should we focus on serving? What
                                            product(s) would appeal to this (these) segment(s) relaƟve to exisƟng alternaƟves in the marketplace?




                                         Why Use Conjoint?
                                         One approach for collecƟng informaƟon on consumer preferences is to conduct interviews, focus groups, or other
                                         qualitaƟve techniques. However, these approaches do not lend themselves to quanƟfying preferences and predicƟng
                                         how consumers would react to speciﬁc changes in product design and/or pricing; parƟcularly when there are mulƟple
                                         compeƟtors and alternaƟves to choose from in the marketplace.




2 of 24                                                                                                                                              7/27/2015 4:22 PM
                 Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 63 of 101
                                                                         Appendix D
Conjoint Analysis: Online Tutorial | Harvard Business School                                      https://forio.com/simulate/harvard/conjoint-tutorial/simulation/




                                         Another approach is to directly ask consumers to specify their preferences for various features and characterisƟcs of a
                                         product or service. However, consumers are usually unable to quanƟfy how they would trade oﬀ one feature for another,
                                         and when asked, many state that "everything is important." Consequently, these approaches are fraught with problems
                                         and diﬃcult to rely on for making business decisions.




                                         Conjoint analysis provides a soluƟon to these problems by having consumers evaluate products and services that are
                                         described as "bundles" of features and characterisƟcs. Market researchers commonly refer to these characterisƟcs as
                                         "aƩributes." This approach forces consumers parƟcipaƟng in the study to consider these aƩributes jointly and to make
                                         tradeoﬀs between them, thereby providing a more accurate window into how consumers make decisions about products
                                         and services in real life. Just how conjoint analysis works and how managers use the results to make decisions will
                                         become clearer in this tutorial.




                                         Key Terminology
                                         In conjoint analysis, we assume that each level of each aƩribute has a certain uƟlity for the consumer. The uƟlity of each
                                         level of each aƩribute is called a partworth, because it captures how much this PART of the product is WORTH to the
                                         consumer. Then we assume that the uƟlity of a hypotheƟcal product, also called a proﬁle, is the sum of the partworths of
                                         the aƩribute levels in the proﬁle. The higher the uƟlity of a proﬁle, the more likely it is that a consumer will want to buy it
                                         and the higher the price he or she is willing to pay for it.

                                         The following terms, which you can reference at any Ɵme, are commonly used in conjoint analysis and will become
                                         clearer as you advance through the tutorial:

                                         AƩributes
                                         are features and characterisƟcs that deﬁne various aspects of a product or service. For example, aƩributes for cars can
                                         include "brand origin," "body style," "engine type," "price," "number of seats," etc.

                                         Levels
                                         are the values that each aƩribute may take. For example, "brand origin" could be "American" "European" "Japanese";
                                         "body style" could be "sedan" "sports car" "SUV"; "price" could be "$20,000" "$30,000" or "$40,000" etc.

                                         Proﬁles
                                         are hypotheƟcal products or services described as bundles of aƩributes that are each set at a parƟcular level. One example
                                         may be an American car with a sedan body type and gasoline engine priced at $20,000.




3 of 24                                                                                                                                                7/27/2015 4:22 PM
                 Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 64 of 101
                                                                        Appendix D
Conjoint Analysis: Online Tutorial | Harvard Business School                                     https://forio.com/simulate/harvard/conjoint-tutorial/simulation/




                                           Try It 1      Try It 2

                                            Think about a credit card and drag each of the associated terms to its correct category.




                                                                                                    l~-
                                                      1 mile earned per $ spent                                       AƩribute

                                                Number of miles earned per $ spent                                drag term here

                                              (~~J
                                                 No yearly fee, no cash back, 1 mile
                                                   earned per $ spent, 12% APR
                                                                                                                        Level

                                              l~                                                     I
                                                                                                                  drag term here



                                                                                                                       Proﬁle

                                                                                                                  drag term here

                                                                                                     I

                                                                                                    1-   Check My Answers
                                                                                                                            1
                                         UƟlity
                                         is a measure of the value provided to a consumer. For example, the uƟlity of a speciﬁc proﬁle is the overall value that the
                                         bundle of aƩributes in the proﬁle provides the consumer.

                                         Partworths
                                         are the uƟlity of each aƩribute level. They are called partworths because they capture how much each PART of the product
                                         is WORTH to the consumer. Therefore, the uƟlity of a proﬁle is the sum of the partworths of the aƩribute levels in the
                                         proﬁle.

                                         UƟls
                                         are the unit that partworths are measured in. UƟls reﬂect a relaƟve preference for an aƩribute level compared to other
                                         aƩribute levels in the study. The total uƟlity of a proﬁle is obtained by adding the uƟls for each partworth together.

                                         Baseline levels
                                         are partworths arbitrarily set to a value of 0 uƟls. One level of each aƩribute is selected as a baseline. For example, in a
                                         raƟng-based conjoint study, such as the one used in this tutorial, we set the "Japanese," "Sedan," "$20,000," and
                                         "Gasoline" levels to 0 uƟls. Therefore, the partworths of the other levels are then relaƟve to the baseline level. So, a
                                         consumer's partworth for the "American" or "European" level indicates a relaƟve preference compared to the baseline. A
                                         posiƟve partworth for the "American" level, for instance, indicates a preference for American vehicles over Japanese
                                         vehicles. A negaƟve partworth for the "European" level, as another example, indicates a preference for Japanese vehicles
                                         over European vehicles.




4 of 24                                                                                                                                              7/27/2015 4:22 PM
                 Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 65 of 101
                                                                        Appendix D
Conjoint Analysis: Online Tutorial | Harvard Business School                                                  https://forio.com/simulate/harvard/conjoint-tutorial/simulation/




                                           Try It 3     Try It 4

                                                Given the partworths below, select one level from each aƩribute to conﬁgure the product proﬁle that delivers
                                                the highest possible uƟlity for the consumer.

                                                                                                         Partworths for a Consumer

                                                      Baseline           Engine Type                      Body Style                      Brand Origin             Price              Total U


                                                 (Baseline
                                                         5.24      J
                                                                       Electric
                                                                              0.70          )       ,,
                                                                                                        Sedan
                                                                                                                0.00            I   \_
                                                                                                                                        American
                                                                                                                                               0.09          )(
                                                                                                                                                              $20,000
                                                                                                                                                                    0.00          )
                                                                                                    (                               ( European                                    \
                                                                                                                                                             Jl
                                                                       Gas                              Sports Car                                            $30,000
                                                 l                 )          0.00              I   '           0.08        I       \          0.27                 -0.48


                                                 (                 J'  Hybrid
                                                                              1.91          )
                                                                                                \   (
                                                                                                        SUV
                                                                                                               -0.41        /       '
                                                                                                                                        Japanese
                                                                                                                                               0.00          )(
                                                                                                                                                              $40,000
                                                                                                                                                                    -1.05

                                                                        Please select one               Please select one                Please select one    Please select one
                                                      5.24                 level above                     level above                      level above          level above            5.24

                                                  Check My Answer




                                         In this secƟon you will learn how a conjoint analysis study is conducted. You will be following a US car manufacturer, Top
                                         Motors Company (TM), as it begins to deﬁne the ﬁrst in a new line of environmentally friendly cars. For example, TM
                                         management is wondering whether the new car should be a sedan, a sport uƟlity vehicle (SUV), or a sports car and
                                         whether it should be all-electric or hybrid. They are also wondering how to price the various new product opƟons their
                                         company might consider and what market share they would be able to capture with such a car.




                                         Overview
                                         TM wants to understand the preferences of potenƟal customers for environmentally friendly cars and to assess what kind
                                         of market opportunity each car conﬁguraƟon would present. In parƟcular, they seek to ﬁnd out what premium (if any)
                                         consumers are willing to pay for environmentally friendly cars (as opposed to gasoline-powered cars) made in the United
                                         States (vs. in other countries) and which type of car (e.g., sedan, SUV, sports) generates the greatest opportunity for the
                                         company.

                                         In this case, therefore, the company needs to uncover the uƟlity for consumers of various possible cars that TM and its
                                         compeƟtors may develop and launch. Let's take a look at the steps involved in creaƟng a conjoint analysis study that can
                                         help TM uncover these preferences.




5 of 24                                                                                                                                                                      7/27/2015 4:22 PM
                 Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 66 of 101
                                                                         Appendix D
Conjoint Analysis: Online Tutorial | Harvard Business School                                      https://forio.com/simulate/harvard/conjoint-tutorial/simulation/




                                         Step 1: Choose Attributes
                                         TM's ﬁrst step towards conducƟng an eﬀecƟve conjoint analysis is to specify the product aƩributes that are most relevant
                                         to be able to answer their quesƟons. They begin by idenƟfying the following four product aƩributes:

                                          • Brand origin
                                          • Body style
                                          • Engine type
                                          • Price (Manufacturer's Suggested Retail Price)
                                         The uƟlity of a car proﬁle to the consumer will be the sum of the values that these individual aƩributes provide:

                                                                 U( Car ) = u( Brand Origin ) + u( Body Style ) + u( Engine Type ) + u( Price )

                                         Note the important ability of conjoint to handle a mix of hard, tangible features like engine type and body style and
                                         intangibles such as brand origin.

                                                                   Using QualitaƟve Research Methods to Determine Product AƩributes

                                              TM is comfortable that the aƩributes they have selected to include in the study represent the most relevant
                                              factors in consumers' decisions in the context of evaluaƟng environmentally friendly cars. OŌen though, a
                                              preliminary research stage is necessary to elicit possible relevant aƩributes from consumers. This is especially true
                                              if the ﬁrm has liƩle experience in the category or if possible shiŌs in consumer tastes and needs may change the
                                              key aƩributes consumers care about. In pracƟce, there are many aƩributes that make up a product or service. But
                                              the more aƩributes that are included in the study, the more complex the proﬁle descripƟons become and the
                                              more diﬃcult it is for study parƟcipants to provide meaningful responses.

                                              It is therefore good pracƟce to limit the number of aƩributes to the 4-6 that are likely to be important to
                                              consumers and that will be most informaƟve to the company given the decisions it faces.




                                         Step 2: Choose Relevant Levels for Attributes
                                         Next, TM looks at each aƩribute and determines the relevant levels that the consumers should be asked to evaluate.

                                         In this example, they specify the same number of levels (3) for each of the aƩributes. Conjoint can accommodate any
                                         pracƟcal number of levels for an aƩribute, although it is recommended that all aƩributes have approximately the same
                                         number of levels and to limit the number of levels to 4 or 5 so as not to overload parƟcipants in the study.

                                              AƩribute            Brand Origin                      Body Style                      Engine Type              Price



                                                                                        ~
                                          Levels              American                                                         -Gasoline              $20,000
                                                              European                                                         -Hybrid                $30,000
                                                              Japanese                  Sedan
                                                                                                                               -Electric              $40,000


                                                                                        ~
                                                                                        -· .
                                                                                        SUV


                                                                                        Sports (coupe)



                                         Some aƩributes are categorical, meaning that they can take on only parƟcular discrete levels (as is the case here with
                                         brand origin, body style, and engine type), while other aƩributes are conƟnuous, meaning they can take on any




6 of 24                                                                                                                                              7/27/2015 4:22 PM
                 Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 67 of 101
                                                                        Appendix D
Conjoint Analysis: Online Tutorial | Harvard Business School                                     https://forio.com/simulate/harvard/conjoint-tutorial/simulation/




                                         numerical value (as is the case with price). For purposes of the study, the company needs to choose speciﬁc levels for all
                                         aƩributes. For the categorical aƩributes, TM includes the discrete levels that they want to compare. For price, they select
                                         parƟcular levels that cover the range of reasonable values (in $10,000 increments).

                                         As we will see later, once the partworths are esƟmated, we can calculate the uƟlity for any intermediate level of an
                                         aƩribute that is conƟnuous through interpolaƟon, so having to choose only a subset of levels does not limit making
                                         inferences about other levels in the range. It is possible to include visual informaƟon in the descripƟon if it can aid
                                         parƟcipants in understanding what each level means, such as the images of vehicles in the table above in the "Body
                                         Style" column. If aƩributes are new to the product category, detailed descripƟons may need to be given to the
                                         respondents in the study. In the mid 1990s, for instance, there were no mass-produced hybrid vehicles on the market and
                                         consumer awareness of hybrid and electric engine technology was low. If an automobile manufacturer was designing a
                                         conjoint study evaluaƟng the uƟlity of a hybrid or electric engine compared to a tradiƟonal gasoline engine in the mid
                                         1990s, then the survey would need to clearly illustrate or deﬁne the diﬀerences between the various engine
                                         technologies.




                                         Step 3: Create Product Profiles
                                         The next step is to construct product proﬁles that consumers will evaluate. It is important that these product proﬁles
                                         represent oﬀerings that may be available on the market or that don't seem infeasible or unrealisƟc to oﬀer.


                                                                                     Examples of Product Proﬁles

                                           Proﬁle #            Brand Origin                    Body Type                     Engine Type                Price

                                          1            Japanese                        Sedan                      Gasoline                       $20,000

                                          2            European                        SUV                        Gasoline                       $40,000

                                          3            American                        SUV                        Electric                       $30,000

                                          4            European                        Sports Car                 Hybrid                         $30,000

                                          5            Japanese                        Sports Car                 Electric                       $40,000




                                         The number of aƩributes and levels chosen determines how many possible proﬁles can be constructed. To conceptualize
                                         proﬁles, aƩributes, and levels one can think of a prix ﬁxe menu where you have a choice between 3 appeƟzers, 3 main
                                         courses, 3 deserts, and 3 drinks. AppeƟzers, main courses, deserts, and drinks are aƩributes. The 3 choices available for
                                         the appeƟzer, main course, desert, and drink are all levels. A speciﬁc order placed by a consumer, including 1 level from
                                         each aƩribute, is a proﬁle. The total number of possible order combinaƟons that a consumer can place is equal to:

                                                                                          34 = 81 possible proﬁles

                                         A more generic way to determine the number of potenƟal combinaƟons that can be produced from a ﬁxed number of
                                         aƩributes and levels can be deﬁned as:

                                         Maxium Number of Proﬁles = Number of LevelsAƩribute 1 * Number of LevelsAƩribute 2 * Number of LevelsAƩribute 3 * ... *
                                                                                  Number of LevelsAƩribute N

                                         Recall that TM has 4 aƩributes that each have 3 levels, so TM also has a maximum of 81 possible proﬁles. In many




7 of 24                                                                                                                                             7/27/2015 4:22 PM
                 Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 68 of 101
                                                                        Appendix D
Conjoint Analysis: Online Tutorial | Harvard Business School                                      https://forio.com/simulate/harvard/conjoint-tutorial/simulation/




                                         situaƟons, however, this number can be even higher than 81 (if more aƩributes or levels are included in the study).
                                         Because it is not pracƟcal to ask consumers to evaluate such high numbers of proﬁles, researchers will typically use a
                                         subset of all possible proﬁles. TM narrowed the possible proﬁles to be included in the study down to 15.

                                         As previously menƟoned, it is important to avoid situaƟons where combinaƟons of aƩribute levels result in unrealisƟc
                                         scenarios. For example, suppose "compact" was added as a level of the "body type" aƩribute and a new aƩribute,
                                         "number of seats," was added that included the level "seven seats." With these new aƩribute levels, many of the possible
                                         product proﬁles would be counterintuiƟve. Imagine that a car company built a vehicle with seven seats and then
                                         marketed the car as a "compact" vehicle. In this case, since a seven-seat compact vehicle is seemingly infeasible, the
                                         conjoint study should either drop the "compact" level or remove any level greater than "ﬁve seats."

                                                                                           SelecƟng the Best Proﬁles

                                              It is important to note that using any random set of proﬁles may lead to unusable data. The idea is to select
                                              proﬁles in which the aƩributes have enough variaƟons to be able to quanƟfy the link between aƩributes and
                                              preferences and capture important tradeoﬀs. The number of proﬁles should be large enough to allow for
                                              esƟmaƟng all the partworths with some reliability but not too large in order to limit the burden imposed on
                                              respondents. There exist libraries and soŌware that help select which proﬁles to show to consumers.


                                              For more informaƟon on this topic refer to:

                                               • Conjoint Analysis: A Do-it-Yourself Guide (514-097)
                                                 Elie Ofek and Olivier Toubia
                                                 Harvard Business School Publishing




                                         Step 4: Poll Consumers




                                         TM's next step is to obtain consumer data for its selected proﬁles. That is, have consumers evaluate these proﬁles in a
                                         way that would allow the market research team to infer each respondent's preferences for the various aƩributes.

                                         There are several methods of polling consumers in a conjoint study. One popular format, choice-based conjoint, asks
                                         consumers to make a series of choices between two or more proﬁles that are simultaneously shown to them. Another
                                         popular format is raƟngs-based conjoint analysis. TM goes with the raƟngs-based approach and asks consumers to rate
                                         their preference for each of the 15 proﬁles it has chosen to include in the study.

                                         For raƟngs-based conjoint analysis, researchers use a scale (oŌen referred to as a Likert scale) to collect data on the
                                         respondents' strength of preference for each proﬁle, as shown below:




8 of 24                                                                                                                                               7/27/2015 4:22 PM
                 Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 69 of 101
                                                                           Appendix D
Conjoint Analysis: Online Tutorial | Harvard Business School                                     https://forio.com/simulate/harvard/conjoint-tutorial/simulation/




                                                                              Example of a Consumer's Proﬁle RaƟngs

                                           Proﬁle #         Brand Origin      Body Type        Engine Type          Price       1        2   3   4     5     6    7

                                          1                Japanese          Sedan           Gasoline            $20,000                     X
                                                      +-                                                                            +-
                                          2                European          SUV             Gasoline            $40,000                 X

                                          3                American          SUV             Electric            $30,000                              X

                                          4                European          Sports Car      Hybrid              $30,000                         X

                                          5                Japanese          Sports Car      Electric            $40,000                                    X


                                         InstrucƟons for respondents could include the following:

                                         "Assuming you are in the market for a new car, please rate how likely you would be to purchase each of the following
                                         opƟons (1=not at all likely, 7=very likely)."

                                         Or

                                         "Please rate each of the following car opƟons by selecƟng the number on the 7-point preference scale (1 = lowest, 7 =
                                         highest) that best reﬂects the strength of your preference."

                                         One should also alert respondents that each car opƟon in this study is described on a separate row.




                                         Step 5: Generate Regression Report
                                         Once responses are collected, TM managers are ready to start analyzing and interpreƟng the data. They use a simple
                                         staƟsƟcal method called mulƟple linear regression1 to compute the partworths for each aƩribute level for each of the
                                         study's parƟcipants.

                                         They ﬁrst deﬁne a "baseline" proﬁle. For example:

                                                                                     Japanese, sedan, gasoline, $20,000

                                         The partworths of the levels present in the baseline proﬁle are set to zero in the regression. The partworths of the other
                                         levels are then captured by the regression coeﬃcients and are interpreted as deviaƟons from the baseline. A posiƟve
                                         partworth indicates a level that is preferred to the baseline level (e.g., someone who prefers an SUV over a sedan should
                                         have a posiƟve partworth for SUV), and vice versa. Consider the example of one consumer, whose regression output is
                                         reported below. This person would rate a sports car 2.21 uƟls higher than a sedan with the same brand origin, engine
                                         type, and price; however, he or she would rate the same car 2.50 uƟls lower if it were an SUV instead of a sedan.


                                         Sample Regression Report for a ParƟcular Respondent

                                                                                                    Coeﬃcients

                                          Intercept                                                       4.12

                                          Japanese                                                           0

                                          American                                                        0.60

                                          European                                                        1.16

                                          Sedan                                                              0




9 of 24                                                                                                                                              7/27/2015 4:22 PM
                 Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 70 of 101
                                                                         Appendix D
Conjoint Analysis: Online Tutorial | Harvard Business School                                       https://forio.com/simulate/harvard/conjoint-tutorial/simulation/




                                                                                                     Coeﬃcients




                                                                           t
                                          SUV                                                               -2.50

                                          Sports Car                                                        2.21

                                          Gasoline                                                              0

                                          Hybrid                                                            0.16




                                                                           r
                                          Electric                                                          0.91

                                          $20,000                                                               0

                                          $30,000                                                           -1.47

                                          $40,000                                                           -2.90


                                         The intercept from the regression report captures the uƟlity of the baseline proﬁle (i.e., the uƟlity raƟng that a consumer
                                         would give to the baseline proﬁle, according to our staƟsƟcal model). For example, if the intercept in the regression is
                                         equal to 4.12, the uƟlity of the baseline proﬁle for this individual would be:

                                                       U( Model ) = Baseline Intercept + u( Japanese ) + u( Sedan ) + u( Gasoline ) + u( $20,000 ) = 4.12

                                         Even though each parƟcipant only evaluated 15 proﬁles, since we know the partworths for each individual from the
                                         coeﬃcients in their regression reports, i.e., the value they place on each aƩribute level separately, we can assign a uƟlity
                                         to any of the 81 possible car proﬁles for each consumer!

                                         Consider, for example, the proﬁle of the following model: American, SUV, hybrid, $30.000. We can esƟmate the uƟlity of
                                         this proﬁle from the regression report:

                                                         U( Model ) = Baseline Intercept + u( American ) + u( SUV ) + u( Hybrid ) + u( $30,000 ) = 0.91

                                                                           U( Model ) = 4.12 + 0.60 + (-2.50) + 0.16 + ( -1.47 ) = 0.91

                                           Try It 5         Try It 6

                                                All else being equal, which engine type does this consumer prefer? Refer to the regression report above.

                                                By clicking and dragging the levels below, rank order the levels with the most preferred on top and the least
                                                preferred on the boƩom.


                                                 Gas

                                                 Electric

                                                 Hybrid


                                                     Check My Answer




                                         Step 6: Interpreting Partworths
                                         Using the regression output, TM is now ready to assess the importance of each aƩribute to the respondent.

                                         The importance of each aƩribute to the individual is deﬁned as the diﬀerence between the highest and the lowest




10 of 24                                                                                                                                              7/27/2015 4:22 PM
                 Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 71 of 101
                                                                          Appendix D
Conjoint Analysis: Online Tutorial | Harvard Business School                                    https://forio.com/simulate/harvard/conjoint-tutorial/simulation/




                                         partworths for that aƩribute. IntuiƟvely, the greater this diﬀerence is the more impact on overall uƟlity would occur
                                         when we change the level of the aƩribute; in other words, the more "important" the aƩribute is in terms of inﬂuencing
                                         preferences and choices as we move between its levels.

                                         In our example, the importances of the various aƩributes for the individual are:
                                         Brand origin: 1.16-0=1.16
                                         Body type: 2.21-(-2.50)=4.71
                                         Engine type: 0.91-0=0.91
                                         Price: 0-(-2.50)=2.50

                                         To get a beƩer sense of how an aƩribute's importance level compares to that of the other aƩributes, market researchers
                                         oŌen look at the relaƟve importance of an aƩribute, which is equal to its importance divided by the sum of importances
                                         of all aƩributes. Given this deﬁniƟon, relaƟve importances range between 0 and 1 and should sum up to 1. In our
                                         example:

                                         Sum of Importances: 1.16+4.71+0.91+2.50=9.28

                                         Brand origin: 1.16 / 9.28=0.12
                                         Body type: 4.71/ 9.28= 0.51
                                         Engine type: 0.91/ 9.28=0.10
                                         Price: 2.50 / 9.28=0.27

                                         For the parƟcular respondent above, both brand origin and engine type have low relaƟve importance, while body type is
                                         quite important by comparison followed by price.




                                         Plotting Partworths
                                         It is oŌen helpful to plot the partworths for each aƩribute to get a visual representaƟon of how each level aﬀects uƟlity.
                                         As can be seen from the plots below, for this individual, brand origin and engine type have rather ﬂat graphs (consistent
                                         with the low relaƟve importance of these aƩributes), while price and especially body type have nonﬂat curves (consistent
                                         with the high relaƟve importance of these aƩributes). In other words the graphs help to visualize how sensiƟve the
                                         respondent's preferences are to each aƩribute.

                                         For some aƩributes, like price, we expect plots to be monotonic (such that consumers always prefer a lower price). For
                                         other aƩributes that reﬂect variaƟons in taste (e.g, body type), partworth plots can have any shape.


                                                             Brand Origin
                                            5



                                                                                   .
                                            4
                                            3
                                            2
                                            1
                                            0
                                           -1        •               •
                                           -2
                                           -3
                                           -4
                                           -5                 r
                                                  American        Japanese      European



                                                              Body Type
                                            5
                                            4
                                            3
                                            2
                                            1
                                            0
                                           -1
                                           -2
                                           -3
                                           -4
                                           -5                 r
                                                   Sedan            SUV        Sports Car




11 of 24                                                                                                                                           7/27/2015 4:22 PM
                 Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 72 of 101
                                                                                          Appendix D
Conjoint Analysis: Online Tutorial | Harvard Business School                                                           https://forio.com/simulate/harvard/conjoint-tutorial/simulation/




                                                                             Engine Type
                                            5
                                            4
                                            3
                                            2
                                            1
                                            0
                                           -1
                                           -2
                                           -3
                                           -4
                                           -5
                                                              Gasoline               Hybrid        Electric



                                                                                     Price
                                            5
                                            4
                                            3
                                            2
                                            1
                                            0
                                           -1
                                           -2




                                                                                                          j I II
                                                                   11




                                           -3
                                           -4
                                           -5
                                                                                 1




                                                                  $20,000            $30,000       $40,000




                                           Try It 7

                                                  From looking at the graphs, what is this person's ideal car (i.e., the proﬁle that would provide him or her the
                                                  most uƟlity)?
                                                  (J) 6) (J) 6)




                                                                   European, sedan, hybrid, $30,000
                                                                   Japanese, sports car, gasoline, $20,000
                                                                   European, sports car, electric, $20,000
                                                                   American, SUV, gasoline, $40,000




                                         Step 7: Predict Choice
                                         TM has now built and esƟmated a model of one consumer's preferences for various car aƩributes. They can use this
                                         model to predict which automobile this individual would choose from a given set of alternaƟves by determining the total
                                         value (or uƟlity) the consumer would assign to each alternaƟve. For example, suppose the consumer had to choose one
                                         of three automobile opƟons, as follows:

                                                                        AƩribute                         Model A                        Model B                   Model C
                                                                                               t




                                          Brand Origin                                                   Japanese                       European                 American

                                          Body Style                                                    Sports Car                      Sports Car                 Sedan

                                          Engine Type                                                         Hybrid                    Gasoline                  Electric

                                          Price                                                           $20,000                        $40,000                  $30,000

                                                                         Value                                 6.49                       4.59                      4.16




12 of 24                                                                                                                                                           7/27/2015 4:22 PM
                 Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 73 of 101
                                                                            Appendix D
Conjoint Analysis: Online Tutorial | Harvard Business School                                          https://forio.com/simulate/harvard/conjoint-tutorial/simulation/




                                                                U( Model A ) = 4.12 + u( Japanese) + u( Sports Car) + u( Hybrid ) + u( $20,000 ) = 6.49

                                                               U( Model B ) = 4.12 + u( European) + u( Sports Car ) + u( Gasoline ) + u( $40,000) = 4.59

                                                                  U( Model C ) = 4.12 + u( American) + u( Sedan ) + u( Electric ) + u( $30,000 ) = 4.16


                                         Diﬀerent rules may be used to translate uƟlity esƟmates into choice predicƟons. The simplest is the maximum uƟlity rule,
                                         according to which the consumer simply selects the opƟon that provides them with the highest uƟlity. Using this rule, we
                                         would predict that this person would purchase Model A. Other more complicated rules, such as the logisƟc rule, use the
                                         uƟlity esƟmates to assess the probability that this person would choose each opƟon.

                                           Try It 8

                                                The esƟmated partworths of consumer 1 are listed below (the baseline levels "Sedan",
                                                "Japanese","Gasoline", and "$20,000" are assigned a uƟlity of 0 and are therefore not listed in the table):


                                                                                                            Consumer 1
                                                      Intercept        American        European         SUV         Sports Car       Hybrid     Electric    30000

                                                        4.56
                                                                   I     -0.64
                                                                                   I     0.51           -0.19          0.39           1.08        2.77       -0.28


                                                Using the maximum uƟlity rule, which opƟon would this consumer choose?

                                                      Model A: American, Sedan, Electric, $20,000
                                                      Model B: European, Sports Car, Hybrid, $30,000
                                                      Model C: European, SUV, Electric, $40,000

                                                  Check My Answer




                                         Calculating the Utility of Intermediate Attribute Levels
                                         In the case of conƟnuous aƩribute levels, we can esƟmate the uƟlity corresponding to levels that are diﬀerent from the
                                         ones included in the survey by using linear interpolaƟon. In TM's case, price is the only aƩribute with conƟnuous levels
                                         hence we can use interpolaƟon to ﬁgure out every uƟlity value to the individual for levels between $20,000 and $40,000.




13 of 24                                                                                                                                                   7/27/2015 4:22 PM
                 Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 74 of 101
                                                                       Appendix D
Conjoint Analysis: Online Tutorial | Harvard Business School                                     https://forio.com/simulate/harvard/conjoint-tutorial/simulation/




                                                                             Price Partworths
                                                      0


                                                   -0.5


                                                     -1


                                              ~    -1.5

                                              ~
                                              t:
                                                     -2
                                              ~

                                                   -2. 5

                                                                                                                                -2 .9
                                                     -3


                                                   -3. 5
                                                                                           Pr ice Levels




                                         In the Price Partworths graph above, the aƩribute levels are graphed on the x-axis and the corresponding partworths are
                                         graphed on the y-axis. As you can see, even though only discrete price levels were included in the survey, we can idenƟfy
                                         the partworth value of any intermediate price level on the x-axis, such as $25,000 or $35,000.

                                         Suppose, for example, that Model A was priced at $25,000 instead of $20,000. We can approximate the partworth for
                                         $25,000 for a parƟcular consumer by taking the average of the partworths for $20,000 and $30,000.


                                                                     Select Regression Output for a ParƟcular Respondent

                                                           $20,000                                 $30,000                                  $40,000

                                          0                                        -1.47                                     -2.90



                                                                        Averaging the $20,000 and $30,000 Partworths

                                                                                                    (0 - 1.47)
                                                                               U($2 5,000)     =         2       =   - 0.74


                                         If you want to esƟmate the partworth for $27,000, or any other value that is not exactly between two other known
                                         points, however, you will need to use the generic linear interpolaƟon formula to get the correct uƟlity value:




                                         Where in our context:

                                          • x = The intermediate conƟnuous aƩribute level whose value in uƟls you wish to esƟmate
                                          • x1 = The closest aƩribute level included in the conjoint study that is greater than x
                                          • x0 = The closet aƩribute level included in the conjoint study that is less than x
                                          • y0 = The partworth value associated with x0 (generated from the regression report)
                                          • y1 = The partworth value associated with x1 (generated from the regression report)
                                          • y = The partworth value you wish to esƟmate that corresponds to the aƩribute level x




14 of 24                                                                                                                                           7/27/2015 4:22 PM
                 Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 75 of 101
                                                                        Appendix D
Conjoint Analysis: Online Tutorial | Harvard Business School                                     https://forio.com/simulate/harvard/conjoint-tutorial/simulation/




                                         Plugging in the appropriate values into the formula to esƟmate the partworth in uƟls for a price of $27,000 yields:


                                                                                                              (27,000 - 20,000) = - 1.029
                                                               U($27,000)     = 0 + (- 1. 47 - O)         X   (30,000 - 20,000)




                                         Predict Your Own Choice




                                         Now it's your turn. Suppose you were in the market for a new vehicle and were given choices that vary on the following
                                         aƩributes with the following levels. Review each proﬁle below and choose the one you most prefer (we will revisit this
                                         choice later):

                                                Brand Origin                Body Style               Engine Type                Price              Your Choice

                                          American                    Sedan                    Gasoline                   $20,000

                                          European                    SUV                      Hybrid                     $30,000

                                          Japanese                    Sports car               Electric                   $40,000




                                         You Take the Survey
                                         There is probably no beƩer way to get a feel for what a conjoint study is all about than by actually taking one of these
                                         surveys!

                                         We will now ask you to put yourself in the shoes of a consumer responding to a conjoint quesƟonnaire. Once you have
                                         completed the study we will report your results on the next page.




15 of 24                                                                                                                                             7/27/2015 4:22 PM
                 Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 76 of 101
                                                                        Appendix D
Conjoint Analysis: Online Tutorial | Harvard Business School                                      https://forio.com/simulate/harvard/conjoint-tutorial/simulation/




                                         Please rate each of the following car opƟons by selecƟng the number on the 7-point preference scale (1 = lowest, 7 =
                                         highest) that best reﬂects your willingness to purchase that opƟon. Each car opƟon is described on a separate row.

                                               #         Brand Origin       Body Type        Engine Type         Price        1     2      3     4      5     6       7

                                          1            Japanese            Sedan            Gasoline           $20,000      ®      @      ®®®®®

                                          2            European            SUV              Gasoline           $40,000      (E)    @      ®     (E)    ®     ®      (E)

                                          3            American            SUV              Electric           $30,000      (E)    ®      @     (E)    ®     ®      (E)

                                          4            European            Sports Car       Hybrid             $30,000      (E)    ®      ®     @      ®     ®      (E)

                                          5            Japanese            Sports Car       Electric           $40,000      (E)    ®      ®     (E)    @     ®      (E)



                                               #         Brand Origin       Body Type        Engine Type         Price        1     2      3     4      5     6       7

                                          6            American            Sedan            Gasoline           $30,000      @      ®      ®     (E)    ®     ®      (E)

                                          7            European            Sedan            Hybrid             $40,000      (E)    @      ®     (E)    ®     ®      (E)

                                          8            Japanese            SUV              Hybrid             $20,000      (E)    ®      @     (E)    ®     ®      (E)

                                          9            American            Sports Car       Hybrid             $30,000      (E)    ®      ®     @      ®     ®      (E)

                                          10           European            Sedan            Electric           $20,000      (E)    ®      ®     (E)    @     ®      (E)



                                               #         Brand Origin       Body Type        Engine Type         Price        1     2      3     4      5     6   r   7

                                          11           Japanese            Sports Car       Gasoline           $30,000      (E)    ®      ®     (E)    ®     @      (E)

                                          12           American            Sports Car       Gasoline           $40,000      (E)    ®      ®     (E)    @     ®      (E)

                                          13           European            SUV              Electric           $30,000      (E)    ®      ®     @      ®     ®      (E)

                                          14           Japanese            Sedan            Electric           $20,000      (E)    ®      @     (E)    ®     ®      (E)

                                          15           American            SUV              Hybrid             $30,000      (E)    @      ®     (E)    ®     ®      (E)




                                         ~ Reset      -Submit »




                                         Your Preferred Car
                                         Based on your input from the previous secƟon, we ran the regression analysis for you using American, sedan, gasoline,
                                         $20,000 as a baseline. As you discovered earlier, this proﬁle's uƟlity is equal to the intercept, and the other levels you see
                                         in the report are deviaƟons from that baseline.




16 of 24                                                                                                                                               7/27/2015 4:22 PM
                 Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 77 of 101
                                                                             Appendix D
Conjoint Analysis: Online Tutorial | Harvard Business School                                   https://forio.com/simulate/harvard/conjoint-tutorial/simulation/




                                                                 Your Regression report

                                                                                                Coeﬃcients

                                          Intercept                                                    2.59

                                          European                                                     0.71

                                          Japanese                                                    -0.03

                                          SUV                                                          0.77

                                          Sports Car                                                   3.38

                                          Hybrid                                                      -0.55

                                          Electric                                                     0.90

                                          $30,000                                                     -1.16

                                          $40,000                                                     -1.41



                                         Your Partworth Plots

                                                                Brand Origin
                                            5
                                            4
                                            3
                                            2
                                            1
                                            0
                                           -1
                                           -2
                                           -3
                                           -4
                                           -5                    r
                                                     American        Japanese      European



                                                                 Body Type
                                            5
                                            4
                                            3
                                            2
                                            1
                                            0
                                           -1           •
                                           -2
                                           -3
                                           -4
                                           -5                    T
                                                      Sedan            SUV        Sports Car




                                                                Engine Type
                                            5
                                            4
                                            3
                                            2
                                            1                                   ______.
                                            0
                                           -1
                                           -2
                                                        •              ..----
                                           -3
                                           -4
                                           -5                    r
                                                     Gasoline         Hybrid       Electric




17 of 24                                                                                                                                   7/27/2015 4:22 PM
                 Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 78 of 101
                                                                          Appendix D
Conjoint Analysis: Online Tutorial | Harvard Business School                                         https://forio.com/simulate/harvard/conjoint-tutorial/simulation/




                                                                     Price
                                            5
                                            4
                                            3
                                            2
                                            1
                                            0
                                           -1
                                           -2
                                           -3
                                           -4
                                           -5                  T
                                                  $20,000            $30,000       $40,000




                                                                               Relative Importance of Attributes
                                                                             Brand origin
                                                                                            •   Engine type
                                                                                                              • •
                                                                                                               Price     Body style




                                           Try It 9

                                                According to the above partworth esƟmates, which aƩribute is most important to you?

                                                      Brand origin
                                                      Body style
                                                      Engine type
                                                      Price
                                                      All aƩributes are equally important


                                                  Check My Answer




                                                                                     Did conjoint analysis predict your choice?

                                          Earlier, when you were presented with three car proﬁles, you selected American, Sedan, Gasoline, $20,000 as your
                                          preferred model. According to your conjoint analysis, the predicƟon is that you would choose Japanese, Sports Car,
                                          Electric, $40,000. InteresƟngly, over 80% of respondents' surveys will match their ﬁrst predicƟon.




18 of 24                                                                                                                                         7/27/2015 4:22 PM
                 Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 79 of 101
                                                                          Appendix D
Conjoint Analysis: Online Tutorial | Harvard Business School                                     https://forio.com/simulate/harvard/conjoint-tutorial/simulation/




                                         So far we have reviewed the preferences of one individual at a Ɵme. We have seen how the conjoint study output can be
                                         analyzed to characterize a number of interesƟng aspects of each individual's preferences and make predicƟons about
                                         their choices.

                                         In real life, conjoint analysis studies are typically run with samples of consumers, oŌen with hundreds of parƟcipants.
                                         Assuming that the sample of parƟcipants is representaƟve of the populaƟon that is of interest to the company, by
                                         combining the preferences of all individuals it is possible to move from an individual-level to a market-level assessment.
                                         In this secƟon, you will learn how a conjoint analysis can be used to predict choices at the market level.




                                         Heterogeneity in Preferences
                                         Conjoint analysis enables detecƟng and quanƟfying the existence of diﬀerent segments in the populaƟon; that is, groups
                                         of individuals that are relaƟvely similar in their preferences for products in the category (i.e. which aƩribute levels are
                                         more important to them).

                                         Consider the following 40 consumer responses and their partworths as measured in a second study conducted by the car
                                         company TM:

                                           ID    Intercept      American       European       SUV      Sports Car      Hybrid      Electric    $30,000      $40,000

                                           1        5.11           0.1            0.28        0.45         0.16         1.33        0.94        -0.49        -0.98

                                           2        4.71          -0.65           0.57       -0.21         0.15         1.26        2.26        -0.26        -0.71

                                           3        4.52          -0.54           0.49       -0.17         0.23         0.88        2.27        -0.19        -0.69

                                           4        4.65          -0.55           0.64       -0.19         0.31         1.06        2.27        -0.24        -0.84

                                           5        5.02           0.28           0.21        0.31         0.19         1.48        0.92        -0.58        -1.06

                                           6        3.53           0.5            0.62        0.29         0.43         -0.72       -1.01       -0.57        -0.61

                                           7        3.68           0.62           0.6         0.28         0.55         -0.27       -1.11       -0.52        -0.68

                                           8        5.09          -0.02           0.23        0.35         0.18         1.64        0.81        -0.56        -1.07

                                           9        5.07            0             0.29        0.45        -0.01         1.79        1.32        -0.48        -0.97

                                          10         3.5           0.5            0.6         0.25         0.5          -0.5         -1          -0.5         -0.6

                                          11        5.17           0.32           0.25        0.37         0.12         1.02        0.82        -0.57        -1.07

                                          12        4.72          -0.67           0.5        -0.17         0.22         0.79        2.18        -0.32        -0.79

                                          13        0.74           0.69           0.71        0.17         0.56         -0.29       -1.68       -0.54        -0.61

                                          14        5.08           0.19           0.21        0.36         0.13         1.31        0.54        -0.55        -1.07

                                          15        3.68           0.5            0.63        0.27         0.47         -0.98       -2.39       -0.54        -0.61




19 of 24                                                                                                                                             7/27/2015 4:22 PM
                 Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 80 of 101
                                                                          Appendix D
Conjoint Analysis: Online Tutorial | Harvard Business School                                    https://forio.com/simulate/harvard/conjoint-tutorial/simulation/




                                          16        4.61          -0.67          0.52        -0.17       0.32          0.67       2.35         -0.32       -0.77

                                          17        4.63          -0.54           0.6        -0.21       0.15          0.54       2.81         -0.26       -0.78

                                          18        3.71          0.41           0.59        0.15        0.52         -0.13       -1.37        -0.4        -0.69

                                          19        3.68          0.49           0.75        0.23        0.57         -0.22       -2.81        -0.54       -0.67

                                          20        4.55          -0.62          0.66        -0.2        0.37          1.31       2.18         -0.25        -0.7

                                          21        4.53          -0.79          0.62        -0.25       0.32          0.58       2.41         -0.31       -0.74

                                          22        3.65          0.66           0.65        0.32        0.49          -0.1       -2.12        -0.57       -0.65

                                          23        3.64          0.62           0.66        0.32        0.49         -0.88       -1.74        -0.43       -0.61

                                          24         5             0.1            0.2         0.4        0.05          1.5         0.5         -0.5          -1

                                          25        4.63          -0.76          0.61        -0.27       0.38          0.89       2.78         -0.19       -0.69

                                          26        3.71          0.37           0.68        0.21        0.51         -0.61       -2.67        -0.56       -0.61

                                          27        3.65          0.67           0.59        0.22        0.42         -0.29       -2.03        -0.58       -0.54

                                          28        3.53          0.76           0.64        0.22        0.62          -0.6       -1.22        -0.44       -0.57

                                          29        3.55          0.64            0.7        0.16        0.64         -0.64       -2.02        -0.52       -0.59

                                          30        5.11          0.31           0.21        0.43        0.14          1.15       0.55         -0.53       -0.96

                                          31        5.13          0.33           0.24        0.47        0.05          1.85       0.76         -0.48       -1.05

                                          32        3.54          0.59           0.63        0.28        0.62         -0.36       -1.83        -0.54       -0.66

                                          33        5.16          0.39           0.23        0.47        0.19          1.82       0.65         -0.53       -0.97

                                          34        5.11          0.12           0.26        0.45        0.11          1.79       1.03         -0.42       -1.08

                                          35        5.06          -0.08          0.26         0.4         0.2          1.57       0.67         -0.54       -1.04

                                          36        4.73          -0.34          0.63        -0.26       0.19          1.28       2.23         -0.16       -0.73

                                          37        3.69           0.5           0.73        0.15        0.59         -1.55       -2.24        -0.57       -0.56

                                          38        5.1           -0.07          0.35        0.35        -0.01         1.61        1.1         -0.5        -0.95

                                          39         5            -0.01          0.24        0.32        -0.04         1.71        1.1         -0.54       -1.02

                                          40        5.18          -0.06          0.29         0.4        0.19          1.35        0.8         -0.52       -1.05



                                         To get a beƩer sense of how the preferences of the 40 consumers relate to one another we can plot their partworths for
                                         various pairs of aƩribute levels, such as sedan vs. Japanese.

                                         See, for example, the scaƩer plot of the partworths for hybrid vs. electric engines. Each blue diamond represents the
                                         partworths of an individual from the table. Now that we can visualize how much value these features provide all the
                                         individuals in the sample, we see the emergence of three segments : some consumers prefer electric cars, some prefer
                                         hybrid cars, and some prefer gasoline engines. Also, you will noƟce a broader trend: some consumers prefer "green"
                                         engines in general, those in the top right quadrant, and other consumers prefer tradiƟonal gasoline engines, those in the




20 of 24                                                                                                                                           7/27/2015 4:22 PM
                 Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 81 of 101
                                                                        Appendix D
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                                         boƩom leŌ quadrant.



                                                                                   Hybrid vs. Electric                                     "E lectric" Segment




                                                                                                                          "Gasoline Segment




                                                                                               Hybrid Partworth



                                         In addiƟon to ploƫng various partworths, it can also be informaƟve to plot the relaƟve importance of various pairs of
                                         aƩributes.




                                         Use of Segmentation
                                         The idenƟﬁcaƟon of segments among consumers can help inform several managerial decisions, including the number of
                                         products that TM might oﬀer and how each product should be designed and priced.

                                         To illustrate the importance of accounƟng for segments, consider again our 40 representaƟve consumers. If we ignore the
                                         existence of segments and simply average the partworths for each aƩribute across all consumers, the car that would
                                         provide the maximum uƟlity on average to these consumers would be: European, Sports Car, Hybrid, for $20,000 (Model
                                         A), oﬀering an average uƟlity of 5.82. However, based on the three idenƟﬁed segments, consider the following three
                                         automobile proﬁles (Models B, C, and D):

                                          • Model B is targeted to the electric segment and is: Japanese, Sports Car, Electric, for $20,000.
                                          • Model C is targeted to the hybrid segment and is: European, SUV, Hybrid, for $20,000.
                                          • Model D is targeted to the gasoline engine segment and is: European, Sports Car, Gasoline, for $20,000.
                                         In the table below, we calculate the average uƟlity of each model vehicle for all 40 consumers and for each of the three
                                         segments:

                                                Model            All Consumers -         "Electric"            "Hybrid"             "Gasoline"
                                                                 Overall Average         Segment -            Segment -             Segment -
                                                                      UƟlity           Average UƟlity       Average UƟlity        Average UƟlity

                                          Model A                      5.82                 6.40                  6.98                  4.27

                                          Model B                      4.97                 7.27                  6.04                  2.35

                                          Model C                      5.70                 5.93                  7.27                  3.98

                                          Model D                      5.22                 5.48                  5.45                 4.816


                                         We see that although Models B, C, and D all have a lower overall average uƟlity compared to Model A, they each oﬀer




21 of 24                                                                                                                                             7/27/2015 4:22 PM
                 Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 82 of 101
                                                                        Appendix D
Conjoint Analysis: Online Tutorial | Harvard Business School                                     https://forio.com/simulate/harvard/conjoint-tutorial/simulation/




                                         higher uƟlity to their respecƟve segments. For instance, Model A's overall average uƟlity of 5.82 is 0.85 uƟls higher than
                                         the overall average uƟlity of Model B, at 4.97. However, when we consider only the consumers in the electric segment,
                                         we ﬁnd out that their average uƟlity for Model A is 6.40, which is lower when compared to the average uƟlity for Model B
                                         at 7.27.

                                         If Models A, B, C, and D were oﬀered to TM's 40 representaƟve consumers, how many consumers would prefer each
                                         model? To answer this quesƟon, we calculated the uƟlity of each model for each consumer and then tallied the number
                                         of consumers who preferred each model (i.e., the car model that resulted in the maximum uƟlity). As you can see from
                                         the graph below, 15 consumers preferred Model D, 15 consumers preferred Model C, and 10 consumers preferred model
                                         B. InteresƟngly, even though Model A is preferred based on the overall average, it is not preferred by a single consumer
                                         when compared with the other three models!

                                                                        Predicted Units Sold
                                                         20




                                                         15
                                            Units Sold




                                                         10




                                                         5




                                                         0
                                                                                   ·n
                                                                        '




                                                              Model A        Model B            Model C            Model D



                                         Finally, we can uƟlize the predicted number of units chosen for each car model to esƟmate potenƟal market shares
                                         assuming that:

                                          1. Your sample is representaƟve of the target market you are addressing.
                                          2. The products in the study are representaƟve of the products potenƟally available or that would be in the consideraƟon
                                             set of the target market.

                                         To obtain the unit market share2 for any car model, one simply divides the number of individuals that would choose that
                                         model by the total number of individuals in the sample. So in this case, Model A would have 0% market share, Model B
                                         would have 25% market share, and Models C and D would each have 37.5% market share. Of course, the more
                                         parƟcipants one includes in the conjoint study the more reliable these market share predicƟons are.




                                         Inferring Willingness to Pay
                                         How can TM further translate these partworths into tangible informaƟon that can be used to make business decisions?

                                         When price is one of the aƩributes, which is oŌen the case, it is possible to translate each partworth from uƟls to
                                         willingness to pay (in $), for each consumer. Suppose that a consumer's partworth for $30,000 is -1.47 uƟls. This would
                                         mean that compared to a baseline of $20,000, this consumer would assign a uƟlity of -1.47 uƟls to a $10,000 price
                                         increase (from $20,000 to $30,000). We can conclude that for this consumer, $10,000 is "worth" 1.47 uƟls.

                                         This suggests an exchange rate between $ and uƟls, such that 1 uƟl = 10,000/1.47 = $6,803. We can now apply this
                                         exchange rate to the other partworths to translate them into willingness to pay units. For example, if the partworth for
                                         "European" is 1.16, we can esƟmate that the consumer would be willing to pay 1.16 * 6,803 = $7,892 more for a
                                         European car vs. a Japanese car, all else equal. If instead of country of origin, we had used speciﬁc brand names as levels
                                         of the brand aƩribute, then our esƟmates of willingness to pay would be interpreted as measures of brand equity for
                                         each of these brands.




22 of 24                                                                                                                                             7/27/2015 4:22 PM
                 Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 83 of 101
                                                                       Appendix D
Conjoint Analysis: Online Tutorial | Harvard Business School                                    https://forio.com/simulate/harvard/conjoint-tutorial/simulation/




                                         Note that the exchange rate that we obtain is slightly diﬀerent based on whether it is computed by comparing the
                                         partworths for $20,000 and $30,000 vs. $30,000 and $40,000 vs. $20,000 and $40,000. As a rule of thumb, the exchange
                                         rate should be computed based on the price partworths that are closest to the targeted price point for the product or as
                                         an average of the diﬀerent possible exchange rates for each pair of adjacent price partworths.

                                           Try It 10

                                                Given the following partworths, how much more is this consumer willing to pay for a hybrid engine vs. a
                                                gasoline engine?

                                                 AƩribute Level    Partworth

                                                 Gasoline                0.00

                                                 Hybrid                  0.25

                                                 $20,000                 0.00

                                                 $30,000                 -0.97


                                                   $10,309.28
                                                   $4,725.05
                                                   $2,577.32
                                                   This consumer does not prefer hybrid




                                         Leveraging Willingness to Pay
                                         TranslaƟng partworths into willingness to pay unlocks several opportuniƟes for TM. For example, a group of consumers'
                                         willingness to pay for a product characterisƟc may be compared to the marginal cost of including that characterisƟc,
                                         thereby informing the decision of which features should be included or improved upon to maximize proﬁts and return on
                                         investment if there are R&D costs involved.

                                         EsƟmates of willingness to pay may also inform pricing decisions. For example, they may help determine the premium
                                         that may be charged for including any feature or set of features in a product or service.

                                         In intellectual property liƟgaƟon cases, esƟmates of willingness to pay are oŌen used to quanƟfy the addiƟonal proﬁt a
                                         company was able to achieve by using a speciﬁc design (e.g., the recent smartphone patent infringement suit ﬁled
                                         against Samsung).




23 of 24                                                                                                                                          7/27/2015 4:22 PM
                 Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 84 of 101
                                                                                   Appendix D
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                                         In this tutorial you have learned about the following fundamental concepts of conjoint analysis:

                                          • What it is and how it is used
                                          • The deﬁniƟon of aƩributes and their levels for a product or service
                                          • How to create product proﬁles and poll consumers
                                          • The role of a regression analysis as part of a conjoint study
                                          • How to interpret partworths and aƩribute importances at the individual level
                                          • How to predict choice using conjoint output
                                          • The experience of compleƟng a conjoint analysis study
                                          • Moving from individual preferences to market segmentaƟon
                                          • Inferring and leveraging willingness to pay

                                         Harvard Business School Professor Elie Ofek and Columbia University Professor Olivier Toubia prepared this tutorial in conjuncƟon with HBS IT. HBS cases are developed
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24 of 24                                                                                                                                                                                     7/27/2015 4:22 PM
Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 85 of 101
                             Appendix D
                                    Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 86 of 101
                                                                  Appendix D

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                                                                     Published by
                                                                     Edward Elgar Publishing Limited
                                                                    The Lypiaus
                                                                    15 Lansdown Road
                                                                     Cheltenham
                                                                     Glos G L50 2JA
                                                                     UK

Edited by                                                            Edward Elgar Publishing. Inc.
                                                                     William Pratt House
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Natalie Mizik                                                        Nonhampton
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Professor of Marketi11g and J. Gary Slwnsby £11do1red Chair          USA
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of Waslti11g10n, USA
                                                                     A catalogue record for this book
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Dominique M. Ha nssens
Distinguished Research Professor of Marketing, Anderson              Library of Congress Contro l Number: 2017950469
School of Manage111en1, University of California, Los Angeles,      Thi, book is available electronically in the   Elgaronline]
USA                                                                  Business :subject collection
                                                                     DOI I 0.4337/978 I 784716752




                                                                     ISBN978 l 784716745 (cased )
~ Edward Elgar                                                       ISBN 978 I 784716752 (cBook)
~           PUBLISHING
                                                                    Typeset by Servis Filmsctting Ltd , Stockport. Cheshire
Cheltenham, UK • Northampton. MA. USA
                                           Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 87 of 101
                                                                        Appendix D
                                                                          vi   l/011dbook of111orkc1i11g mwlyrics

                                                                           9    tructural models in marketing                                 200
Contents                                                                       Pradeep K. Chi11tagu11ta

                                                                          PART IV      LATENTSTRUCTUREA ALYSlS

                                                                          IO   Multivariate statistical analyses: cluster analysis , factor
List of co111rib11tors                                            ix
                                                                               analysis, and multidimensional scaling                         227
O,1en riew of the chapters                                      xviii
                                                                               Dmm facobucci
Introduction
                                                                          PARTY       MAC HI     E LEARN I 1G AND BIG DATA
Nwalie Mi=ik and Da111iniq11e M. Hcmssms
                                                                          11   Machine learning and markcling                                 255
METHODS CHAPTERS                                                               Daria D:yabura and Hema Yogmwrasi111/w11
                                                                          12   Big data analytics                                             280
PART I      EXPERIM ENTAL D ESIG NS
                                                                               Asim Ansari and Yang Li
     Laboratory experimentation in marketing                      II
                                                                          PART Vl      GENERALIZATIONS AND OPTlMIZATl01 S
     Angela I'. Lee and Alice M. Tylmll/
 2   Field experiments                                            32      13   Meta analysis in marketing                                     305
     Anja la111breci,/ and Cmheri11e E. Tucker                                 Donald R. Leh111a1111
 3   Conjoint Analysis                                            52      14   Marketing optimization methods                                 324
     O/i,,ier Toubia                                                           Murali K. Mmura/a and Va111si K. Ka1111ri

PART II      CLASS ICAL ECONOMETRI CS
                                                                          CASE ST DIES AND APP LI CA TlONS
 4   Time-series models of short-n111 a nd long-run marketing
                                                                          PART V II     CASE STUDIES AND APPLICATIONS IN
     impact                                                       79
                                                                                        MARK T ING MANAGEMENT
     Mamik G. Deki1111,e and Dominique M . Hanssem
 5   Panel data methods in marketing research                    l07      15   Industry applications of conjoint analysis                     375
     Natafie Mi:ik mu/ Eugene Parluv                                           Vitlw/a R. Rao
 6   Causal infe rence in marketing applications                 135      16   How time series econometrics helped Inofcc q uantify onlinc
     Perer E. Rossi                                                            and ornine funnel progression and reallocate marketing
                                                                               budgets for higher profits                                     390
PART Ill      DISCR ETE C l JOI CE MODELING                                    Koen Pa11ll'els
                                                                          17   Panel data models for eva luating the effectiveness of
 7   Modeling choice processes in marketing                      155
                                                                               d irect-to-physician pharmaceutical marketing activities       402
     John Roberts and De11zil G. Fiebig
                                                                               Naralie Mi:ik and Robert Jacobson
 8   Bayesian econometrics                                       ]81
     Greg M. Allenby and Perer E. Rossi
                                             Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 88 of 101
                                                                                 Appendix D
                                                              Content.f    vii    viii   llmulbook ofmarketing rmalyticj'

18   A nested logit model for product and transaction-type                        29     Experiments in litigation                                         561
     choice planning automakers· pricing and promotions                   415            Joel H. Steckel
     Jorge Silva-Risso, Deirdre Borrego and Irina lo11ova
                                                                                  30 Conjoint analysis in litigation                                       572
l9   Visualizing asymmetric competitive market structure in large                    Sean Iyer
     mu~~                                                                 ~l
                                                                                  3 1 Conjoint analysis: applications in antitrust li tigation             590
     Daniel M. Ri11ge/ and Bernd Skiera
                                                                                      Michael P. Akema1111, Rebbecca Reed-Anlturs and J. Douglas
20   User profiling in display advertising                                448            Zona
     Michael Truso ,, and Liye 1"1a
                                                                                  32     Feature valuation using equilibrium conjoint analysis             609
21   Dynamic optimization for marketing budget allocation a t                            Jol,11 R. Howell, Greg M. Allenby and Peter £. Rus.l'i
     Bayer                                                                458
                                                                                  33     Regression analysis to evaluate harm in a breach of contract
     Marr Fischer and Siinke Albers
                                                                                         case: the Citri-Lite Company, Inc.. Plaintiffv. Cott Beverages,
                                                                                         [nc., Defendant                                                   633
PART V III    CASE STU D IES AND APPLICATlONS IN PUBLIC
                                                                                         Ra/111/ Gu/w, Darius Onul and Sally Woodhouse
              PO LICY
                                                                                  34     Consumer surveys in trademark illfringement litigation :
22   Co11sumcr (mis)behavior and public policy intervention               473            FIJ I vs. VITI case study                                         640
     K!tws Werre11hroc/1                                                                 T. Christopher Borek and Anjali O:a
23   Nudging healthy choices with the 4Ps framework for                           35 Survey evidence to evaluate a marketing claim: Skye Astiana,
     behavior change                                                      486        Plaintiff v. Ben & Jerry's Homemade, Inc., Defendant                  652
     Zoe Chance, llm•i Dhar, Michelle Hacis, Michie/ Bakker,                         Alan G. While and Rene B~furt
     Kim Hu.,key and Lydia Ash
                                                                                  36     Machine learning in litigation                                    661
24   Field experimentation: promoting environmentally friendly                           Jlilda11 A lrug/11 and RainPr Sr/11rnhe
     consumer behavior                                                    502
     Noah J. Golt!stein a11d Ashley N. A11xulo                                                                                                             67 1
25   Regulation a11d oolinc advcrtisi11g markets                          511
     Avi Goldfarh
26   Measuring the long-term effects of public policy: the case of
     narcotics use and properly crime                                     519
     Keiko I. Poll'ers
27   Applying st ructural models in a public policy context               539
     Paulo Albuquerque aud BMt J. Bro111re11berg

PART IX      CASE ST U DI ES AND A PPLI CATIONS I N
             LITl GATION SUPPORT

28   Avoiding bias: ensuring validity and admissibility of survey
     evidence in litigations                                              549
     Rebecca Kirk Fair and l,111ra O · Laugltlifl
                                                         Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 89 of 101
                                                                                                         Appendix D
                                                                       Field expel'i111e111s      51

Shu , L. L.. N. Mazar. F. Gino, 0 , Aricly. and M. 1-1. Bazcnn:rn (20!2). Signin g al the begin~
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Sun. M.. X. M. Zhang., and F. Zhu {20 12l. To belong or to be differen t'? eviclcnce from o
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  do people oon1ribute content to Twitter? MarkNing Srie.ur" J2 (3) . 368- 392.
Tucker. C. (2014a). Social /\d,1crtising. Mimco. MIT.                                                      ings of onjoin1 Ana lysis. Fo r readers interested in a more comprehensive
Tucker, C. (2014bl. Social netwo rks. persona lized advertising. and pri,•acy co ntrols. Jour,u,/          coverage of the topic. I recommend the exhaustive review · of academic
  of M11rke1ing R,·seord, J / I5), 546-562.                                                                research in Conjoi nt Analysis in Agarwal et a l. (2015); Brad low (2005);
Yao. S.. C. F. Mela. J. Chi.ing. and Y. Chen ,2012). Determining consumers· discounl ra tes
  wi th tidd !ltudics. Jo11nwl u/ Mc,rketi,rg Rese,ff£•1, 49 (61. 822- 841 .                               Green . Krieger a nd Wind (200 1); or Netzer ct al. (2008). Conversely.
                                                                                                           reader who wo uld like an introduction to the basic· of conjoint meas-
                                                                                                           urement may want to consult Sawtooth Software·s website (see http://
                                                                                                           www.sawtootbsofLware.com/supporl/teclmical-papers#genera l-conjoint-
                                                                                                           analysis a nd http://www .saw1001hsoftwarc.com/academics/tcaching-aids),
                                                                                                           or Ofek and Toubia (201 4a), Rao (20 10). or Green. Krieger and Wind
                                                                                                           (2001).


                                                                                                           CO JOINT A ALYSIS: OVERVIEW

                                                                                                           Conjoin t Ana lysis is probably one of the most used quantitati ve market-
                                                                                                           ing resea rch methods. Its history started in the early I 970s (G reen a nd
                                                                                                           Rao 197 1), and it has fo undations in Mathema tical Psychology (Luce
                                                                                                           and Tukey 1964). Ma ny mam,gerial applic.1tioas of Conjoint Analysi ·
                                                                                                           have been documented over the years (e.g .. Green. Krieger a nd Wind
                                                                                                           2001). "Classic"' applications include the design of a rriott's Courtyard
                                                                                                           Hotels (Wind et al. 1989) and the design and evaluation of the ew Jersey
                                                                                                           and , ew York EZ-Pass system (Green. Krieger and Vavra 1999). More
                                                                                                           recent l1igh-profile applicatio11s include the Apple v. Samsung patent trial
                                                                                                           (sec Netzer and a mbandam 2014 for a description). onjoinl Analysis
                                                                                                           has also been adapted in crea ti ve ways that have extended the scope o f
                                                                                                           its applications. For example, Yahoo! used a mod ified fom1 of Conjoint
                                                                                                           Analysis Lo understand users preferences for va rious types of news articles
                                                                                                           (Chu ct al. 2009). llased on this understanding. Yahoo! was a ble to better
                                                                                                           customize the news art icles shown 011 ils la11ding page and increase the
                                                                                                           click-through rate on these a rticles.
                                                                                                              Conjoint Analysis is a method fo r quantifyi ng consumer preferences.
                                                                                                           i.e. , fo r estimating utility function s. The premise of Conjoin t Ana lysis is Lo
                                                                                                           decompose a product or service into t1/lril111tes (e.g .. •·n um ber of minutes
                                                                                                           incl uded."" '"number or GB of da ta." "cha rge l"or addi tiona l minutes:·

                                                                                                                                                  52
                                                Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 90 of 101
                                                                                      Appendix D
                                                        Conjoint A.twlysis      53     54    1/andbook of11wrkcti11g mwlyric.'i

"base price.'· etc.) that each has difTercnt Je,•els (e.g.. "500 minutes,''" 1,000     Where:
minutes." ··unlimited'"). The output ofa Conjoint Analysis study is an esti-
mation of how much each consumer in a sample values each level of each                   • a, is an intercept that captures the baseline utility for consumer          i.
a ttribute. S uch preferences are called par/ll'orths, because they capture                   Note that this intercept is no t included when using Choice- Based
how much each part of the prod uct is worth to the consumer.                                  Conjo int Analysis (sec below).
   Conjoint Analysis takes somewhat of a n indirect approach to estimat-                 •    /J., is a vector that captures the pa rt worths ofconsumer i fo r attribute
ing partworths. Instead of asking consumers directly how much they                            k. Because of t he reduction in degrees of freedom mentioned earlier,
value each level of each attribute. Conjoint Analysis asks consumers ro                       1f there are L levels in anribute k. tl1is vector has one row and L - I
evaluate profiles. defined by a set of attribute levels. A profile might be                   columns.
a "$100 plan with unlim ited calls and 10 GB of data per month.'' Then,                  • x" is a vc-ctor that captures the level of profile j       on a ttribute k.
Conjoint Analysis relies on statistical aualysis lo disentaugle tbe value of                  lf there are L levels in attribute k. this vector also has oue row and
each attribute level based on cousumcrs' evaluations of profiles. By doing                    L - I columns.
that, Conjoint Analysis builds a model of consumer behavior, which can                   • e,1 caprnres random variations.
predict each consumer"s preferences for any profiles, even if they were
not included in lhe s urvey. For example, suppose we have five a11ributes                 Note tha t lhis basic model assumes that all levels of all aitribu tes enter
with three levels each. There arc 3·' = 243 possible profiles. We m ight ask           linearly and independently into the utility function. However, tl1is model
consumers 10 evalua te 15 of these profiles. estimate their pariworlhs for             may be easily extended to include interactions between a.11ributcs. Fo r
each attribu te level based on these data. and then be able to predict m arket         example. if it is believed that consumers value voice minu1es more in a
share for any set of promes that contains any number of these 243 possible             cellular plan when mo re data are available, a n addilional inreractinn term
profiles.                                                                              may be included in the utility function, which would capture the joint
   The number of part wort hs estima ted for each a tt ribute is eq ual to             presence o f a la rge number of minutes and a large a mo unt of data. In
the number of levels in thal attribute minus I. The loss of one degree                 practice, these interactio ns are seldom used. One of the issues related to
o f freedom emerges from stat ist ical considerations. which w ill become              the use of interactions is that the numbe r of possible interactions is very
clear t o the statistically minded reader later in the chapter. I ntuitively,          large. Therefore t hey should only be included if the researcher has a strong
each anribute in each profile must be at one level. If there are L levels              and valid reason to believe that specific interactions are relevant.
in a given attr ibute, it is possible 10 describe the level of each profile               N ote also that the additivity of the utility l'uoction implies that the basic
on that attribute using only L - I variables. (For example, if L = 2 and               model is compensatory. i.e.. it is possible to ·'make up" for a lower va lue
we know whether the attribute is at the first level. we can deduce with                on one attribute by increasing the value on another attribute. However.
certainty whether it is at the second level.) There a re different ways                in some cases. consumers may evaluate profiles using non-compensatory
LO reduc.e the degrees of freedom. lntere~ted readers are referred to                  rules. Examples of non.compensatory rules include conjunctive rules
Kuhfeld (2005). One simple way is to set one level of each attribute as                (where a profile " passes· the rule if it meets a list of criteria, e.g., a car
the "baseline" and define each other partworth in that attribute wit h                 has to be of a certain body type and be below a certain price), disjunct ive
respect 10 this baseline. For example, if the partworth for "500 min"                  rules !where a profile ··passes" the rule if it meets a ny c riterio n from
is set as t he baseline, t he part worth for ·· I ,000 minutes" captures the           a list. e.g., a car has to be of a certain body type o r be below a certain
additional utility provided to the consumer by an increase from 500                    price), disjunctions of conjunctions (where a profile ··passes" the rule if
minutes to 1,000 minutes.                                                              satisfies at least one conjunctive rule from a set of conjunctive rules see
    Mathematically, if consumers a re indexed by i, profiles by ), and                 Hauser et a l. 2010), lexicographic (where profiles arc ranked based
attributes by k. Conjoint Analysis assumes that the utility of profile} for            on criteria t hat are considered sequentia lly. e.g.. cars are first ranked
consumer i is given as follows:                                                        according to body type, then according to price), and elimination by
                                                                                       aspect (where profiles are e liminated from the choice set by considering
                                                                             (3. 1)    various criteria seq uentially - see T versky 1972) . It has been no ted that
                                                                                       non-compensatory decision rules might actually be approximated using
                                                Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 91 of 101
                                                                                    Appendix D
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additive utility functions. such as the one assumed typically in conjoint            SURVEY IMPLEMENTATION
analysis, by allowing ext reme weights on certain subsets of auributes
(see, for example, Broder 2000). Nevertheless, a literature has developed            In t his section I discuss some issues related to choosing a Conjoint
for dealing specifically with non-compensatory ru les (see. for example.             Analysis format, constructing an experimental design, hosting the survey
Gilbr ide and A llcnby 2004; Jcdidi and Kohli 2005; Kohli and J edidi 2007;          and collecting the data.
Hauser 2014: Yee cl al. 2007). T his literature often considers t he use of
non-compensatory rules by consumers when they form their considera -                 Form01t
tion sets (i.e., the relatively small set of alternatives to consider seriously),
and assumes that choices among t he alternatives in the consideration set            Several formats of Conjoint Analysis have been proposed over the years.
follow a compensatory process.                                                       The most traditional format is usually referred to as ''ratings-based
   There ex.isl a wide range of options for running a Conjoint Analysis              Conjoint Analysis." Ratings-based Conjoint Analysis consists of showing
study. Surveys may be run literally within a day with very limited budget.           respondents several profiles (usually between 12 and 20) and asking them
Ot her surveys, in particular in litigation comexts. can take months and             lo rate each of them on some response scale. That is, each profile receives
cost hundreds or thousands of dollars. While Conjoint Analysis surveys               a preference score that may be translated into a numerical value. Profiles
vary in many ways. they all involve the following steps:                             are assumed lo be rated independently from each other by the consumer.
                                                                                     i.e., there arc no comparison between profiles.
I.   Select a11ributes and levels.                                                      This older format of Conjoint Analysis offers several benefits. but it
2.   Survey Implementa tion and Data Collection.                                     suffers from some limitations. O ne of the main benefits is the ease with
3.   Partworths Estimation and Inference.                                            which it may be im plemented and the ease with which the results may
                                                                                     be analyzed. It is not an exaggera tion to claim that wit h today's tools. a
Readers are referred 10 Orme (2002) or Ofek and Toubia (2014b) ror                   ratings-based Conjoint Analysis survey may be conducted from start to
guidelines regarding the first step. The second and third steps will be dis-         finish within a day and with vi rtually no budget. In particular. libraries
cussed below.                                                                        exist that will provide the researcher with an efficient experimental design
   I close t his section by noting that there also exist market research             (see next subsection). Online platforms like Qualtries or SurveyMonkey
met hods that measure partworths directly i11S1ead or taking the indirect            may be used to construct the online survey, i.e .• obtain a link to the survey
ap proach followed by Conjoint Analysis. These methods are referred                  that may be shared with respondents. This link may be senL 10 lists main-
to as ·'self-explicated" (Leigh, MacKay and Summers 1984; Netzer and                 tained by the researcher. or panels like Amazon Mechanical Turk may be
Srinivasan 201 I ). A lthough the self-explicated approach leads to ques-            used to obtain several hundred respondents within a few hours, for a cost
tions that a re probably easier for consumers 10 answer a nd produces                in the order of $1 per respondent. Finally, the analysis of ratings-ha~ed
dala that are easier lo analyze. it sufTers from one major limitation. In            Conjoint Analysis data may be conducted using standard software such
particular, when asked directly how much they care about each attribute              as Microsoft Excel. These benefits make ratings-based Conjoint Analysis
or level. consumers have a tendency to claim that ·'everything is impor-             a good choice for researchers working on a very tight deadline and with a
tau1.·· This leads to part worth estimates that do not discriminate as much          very tight budget.
between attributes. By forcing consumers to make t radeoffs (e.g....,his                However, ratings-based Conjoint Analysis a lso suffers from lim itat ions.
plan has more data but it is more expensive, is the difference really justi-         In par:icular, it does not t ruly force respondents to make tradeoffs or to
fied'/"). Conjoint Analysis is believed to provide a more nuanced pict ure           make choices that resemble rea l life situations. Indeed, nothing prevents
of consumer preferences. Note, however. that empirical comparisons of                the respondents from giving the same rating 10 all proliles. In addition,
Conjoint Analysis versus lhe self-explicated approach have prod uced                 rating is not an activity in which consumers engage on a regu lar basis
mixed results (e.g.. Leigh, MacKay and Summers 1984: Netzer and                      in their everyday lives (with a few notable exceptions such as product
Srinivasan 2011; Sattler and Hensel-Borner 2001J, and the self-explicated            reviews). T herefore, it is questionable whether ratings-based Conjoint
approach remains a viable alternative 10 Conjoint Analysis.                          Analysis provides data that renect the real-world decisions made by
                                                                                     consumers.
                                              Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 92 of 101
                                                                                     Appendix D
                                                        Co11joi111 Analysis 57         58 l landbook ofmarke1i11g a11a/y1ics

   Another popular formal of Conjoin! Analysis, whicl1 has become                      Ex perimental Design
the state or t he art. is called Choice-Based Conjoint Analysis (C BC).
(See Louviere and W oodworth 1983 for an early reference o n C BC and                  The experimental design behind ,l Conjoint A nalysis survey specifies
Louviere, Hensher and Swait 2000 for a more recent and exhaustive t reat-              the set of profiles lo be included. In the case of ratings-based Conjoint
ment of C BC). This for mat asks consumers to dwose between profiles.                  A nalysis. it specifics the set of proliks to be rated by respondents, i.e .. it
That is, the respondent is presented with a series of choice questions (often          specifies the level or each attribute for each profile . In the case of Choice-
about 12 to 20) one after t he ot her, where each question asks to select              Based Conjoint A nalysis, it specifies t he sets of profiles to be included in
which profile from a small set (usually two 10 four) the respondent would              each choice question.
be most likely to choose or purchase. Each choice quest ion may also offer                 Experimental designs should not be c hosen randomly. First. a poorly
a "no choice·· alternative. i.e.. the respondent is able to ind icate that they        designed set or profi les may lead to data that cannot be estimated using
would not purchase any option in t he set.                                             regr~ssion analysis. For example. if two attribute levels are perfect ly cor-
   Tl,e main benefit of this format is that it is closer to t he type of decisions     related (e.g., all profiles with unlimited voice also have unlimited data).
that consumers make in real life. Indeed, most consumption decisions                   it "~II not be possible statistica lly to estimate t he partworths of these two
involve choosing one alternative over o thers. Accordingly, this format                attribute levels separately. Second, even if the set of profi les is compat-
is considered more realistic. I n addition. when a "no choice"' option is              ible with a regressio n, the confidence intervals around the estimates may
included, this format docs not only a llow the researcher to predict relative          be larger than optimal. T hat is, the experimental design may not be as
preferences for various profiles, it also a llows predicting the proportion of         s1atis1iml/_1• ,fficie111 as it could be. T he statistical efficiency of' a conjoint
consumers who would actually p urchase each profile. In othe r words, this             experimental desi&'11 is a. measure of the accuracy with which it a llows
format allows estimating prima ry demand.                                              estimating the parlworths. See Kuhfeld . Tobias and Garratl ( 1994) for
   The main disadvantage of t his format is t hat it requires more resources           formal definitions of statistical efficiency, and Toubia and H auser (2007)
to implement. In particular. the theory behind optimal experimenta l                   for measures of statistical el1iciency that take into account t he managerial
designs and lhc practical identification o f optimal experimenta l designs are         goal~ of t he study.
more cha llenging wit!, CBC t han with rat ings-based Conjoin t Analysis.                 A large academic literature bas studied ways to find optimal ex perimen-
The implementation of the survey and the data collection are not sig-                  tal designs. i.e .. experimental designs wit h maximum statistical efficiency.
nificantly more challenging. The statistical analysis o f C BC data req uires          This literat ure is no t unique to marketing. Indeed. t he issue of' opt imally
more advanced stat istical software, a11d it may not be done usi11g buiJt-i□           designing experiments is relevant in many fields. includin g agriculture,
functions in Microsoft Excel. Some studies have compared ratings-based                 physics, biology, psychology, etc. Interested readers arc referred to
Conjoint Analysis to C BC in terms of thei r ability 10 predict choices, with          K uhfcld , Tobias and Garratt ( 1994) and K uhfcld (2005).
mixed results (e.g., Elrod, Louviere and Davey 1992: Moore 2004).                          In the case of ratings-based Conjoint A nalysis. well-developed libraries
   Several other fom1ats of Conjoint A nalysis are also worth mentio ning.             of optima l experimental designs are readily accessible. Examples include
These include paired-comparisons (Johnson 1987: and Toubia et al. 2003)                the '/oM ktEx routine in SAS (Kuhfeld 2005) a nd the Excel-based library
and ra nkings (G reen and Rao 1971; Srinivasan and Shocker 1973). T hese               provided by Ofck and T o ubia (2014b). Optimal designs tend to have
formats a rc not used as frequently in today's enviro nment.                           certain properties. For example, they tend to be "orthogonal.'. mean ing
   In practjce. researchers on a tight budget who would like to run a                  that, for any two attributes. each pair of levels occurs in the same num ber
Conjoint Analysis study without the need for specialized software o r                  of profiles (e.g .. three profiles have attribute I at level I and attribute 2 at
advanced stat ist ical knowledge would be best advised to sett le ror a                level I, three proliles have attribute I at level I and attribute 2 at level 2,
ratings-based format. Researchers with more resources should favor                     CIC.).
a Choice-Based Conjoint format, with the real ization that it tends 10                    In t he case of Choice-Based Conjoint Analysis, optimizing experi-
sign ificantly increase the total cost of the survey.                                  memal designs is more challenging. because the statistical efficiency of
                                                                                       a C BC design depends on the true value o f the partworths (H uber and
                                                                                       Z werina 1996: Arora a nd Huber 2001). It is advisable to use specialized
                                                                                       software to create the designs in such cases. Examples include Sawtooth
                                           Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 93 of 101
                                                                                Appendix D
                                                     Conjoint A,w~rsis 59         60 1/andbook ofmarketing a11a/y1ics

Software's C BC offering (sec http://www.saw1oothsoftware.com/produc1s/           competit ive panel services. Another alternative is Amazon Mechanical
conjoint-choice-a nalysis/cbc).                                                   T urks (AMT ). AMT is a panel maintained by Amazon. Unlike with tradi-
   Note 1ha1 adaptil•e designs have been proposed in an effon 10 red uce the      tional panels that tend to give ·'reward points" to their members, members
length of conjoint questionnaires and furt her increase the efficiency of the     of the AMT panel (referred to as "workers") receive well-defined fmaucial
designs. These methods leverage the ability 10 do computations on the 0y          compensation for each survey (or " HIT'') that they complete. Moreover,
in order to customize each quest ion based on that particular rcspo1ldcnt's       AMT allows researchers ("requesters'') to "reject" data corning from
answers up to that point. Examples include Sawtooth Software ACA                  any respondent due to poor qua lity. This gives panel members a strong
(Johnson 1987) and ACBC (Sawtooth Software 2014). and FastPace                    incentive to provide thoughtful answers, Accordingly. evidence suggests
(Toubia el al. 2003, 2004. 2007). Other researchers have proposed inter -         that the quality of the data provided by AMT is at least as good, if not
mediate solutions, in which differen t experimenta l designs are used across      superior, compared to t raditional online panels (Buhrmcster, Kwang
respondents (e.g., Sandor aud Wedel 2005). Although these methods have            and Gosling 201 l; Paolacci. Chandler and lpeirotis 2010). AMT is also
been shown to work well, their implementation often requires custom-              very convcn.icut, as it only takes a few hours to collect data from severa l
ized programming, which may require additional time and program ing               hundred respondents. However. AMT does not allow researchers to lim it
resources.                                                                        their respondents 10 specific demographic groups. In particular, tradi-
   In practice, researchers using ratings-based Conjoilll Analysis should         tional online panels maintain basic demographic data on their members,
take advantage of ex.isling libraries of optimal experimental designs.            and allow researchers to specify quotas based on these characteristics (e.g.,
Researchers using C BC arc advised to use specialized software to con-            limit the sample to specific age gr0l1ps or geographical locations, or ensure
struct their experiment-al designs. such as Sawtooth. Researchers with            that t he sample of respondents matches specific distributions). AMT
sufficient resources may also use adaptive experimental des igns, which           mainly allows researchers 10 limit the sample of respondents to specific
may require customized programming.                                               countries and to recruit '·master workers'' with very high approval rates
                                                                                  (i.e .. their data have almost never been rejected). However, if a researcl1er
Sun ey Hosting                                                                    wanted 10 screen respondents based on other criteria. they would need 10
                                                                                  eilher announce in the survey descripUon that this survey should only be
Many options are easily accessible today to host a Conjoint Analysis              completed by certain groups of people. or they should incl ude screening
survey. Some specialized software exists, such as Sawtooth Software·s             questions within the survey. T he former option suffers from the issue that
SSJ Web suite. Alternatively. these surveys may be p rogrammed using              it is very hard LO enforce and verify that only the '•right'' consumers Look
general onlinc survey software such as Qua ltrics (www.qualtrics.com)             t he survey. The laller option suffers from the limitation that aU respond-
and SurvcyMonkey (www.survcymonkcy.com). Ofck and Tou bia (2014b)                 ents should be compensated. even those tbat end up not qualifying. This
provide examples of online Conjoint Analysis surveys developed in these           oversampling greatly increases the cost per respondent. AMT has become
platforms. Note that because Conjoinl A nalysis surveys tend to contain           a very common source of respondenLs in academia, but its adoption in
several quest ions. they are usually not suitable for ·'pre-scroll" surveys       industry (and in particular in litigation contexts) has been quite limiled.
such as Google Consumer Surveys.                                                  Note t hat even researchers who arc reluctant 10 using AMT for t heir main
                                                                                  survey may sti ll find it a very convenient and inexpensive way to collect
Data Collection                                                                   pretest responses.
                                                                                     In practice: traditional ouline panels offer the "safes!" source or
Most Conjoint Analysis studies are now performed on line. Many options            respondents for Conjoint Analysis surveys. Amazon Mecha nical Turk can
arc available today for data collection. Some researchers have access 10          be faster and cheaper and provide data of higher quali ty. but it does 1101
proprietary mailing lists of respondents, which may include their per -           offer as much in terms of imposing quotas based on demographics. AMT
sonal contacts, existing customers, etc. Other researchers use tradi1iona l       tends to be preferred by academics. while consultants and practit ioners
online panels such as Research Now. T hose hosting their surveys on               often rely on traditional online panels.
Qualtrics may use that same platfonn a s a source of respondents. In par-
ticular. Quallrics partners with several Online panel companies and offers
                                             Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 94 of 101
                                                                                Appendix D
                                                     Co11joi11r Analysis 61      62    lla11dbook of111arkcti11g r111a/y1ics

PARTWORTHS ESTIMATION AND INFERENCE                                                 Ln practice: researchers performing a ra tings-based Conjoint A.nalysis
                                                                                 study with limited resources may use Ex~-el for analysis. perhaps analyzing
Partworths F.stimatlon                                                           data at the aggregate or segmen t le,,el. Researchers perfom1ing a CBC
                                                                                 study ancVor researchers with access to enough re.sources are advised
Theda ta collected in a Conjoint Analysis survey consist ofsome evalua tions     to estimate partworths Losing hierarchical Bayes, perhaps using existing
(usually rati ngs or choices) by a group of consumers on a set of promes.        statistical software.
Regression analysis is used to estimate the impact of each attribute level on
each respondent"s evaluations. The dependent variable captures the con-          Inference Based on Partworths
sumers' evaluations, and the independent variables capture the description
of the proliles. In the case of ratings-based Conjoint Analysis. the depend-     Estimating partworths opens many opportunities to address various
ent variable is usually treated as a conti11uous variable. and Ordinary Least    managerial questions. Some of the most common types of inference based
Square (OLS) regression may be used. ln tbe case of C BC, the dependent          on Conjoint Analysis include:
variable is a discrete choice, and logistic regression is typically used.
   One key aspect related to parrworth estimation in Conjoint Analysis             •    Optimizing the design of a single product/service.
is how heterogeneity is addressed. Simple approaches include ignoring              •    Optimizing the design of a line or products/services,
heterogeneity altogether by running a single aggregate regression to esti-         •    Lnfcrring willingness to pay for particular features of products/
mate average preferences in Lile market. Consumers may also be grouped                  services,
based on demographic or other variables. and separate regressio ns may             •    Predicting market share,
be run for each group. In the case of ra tings-based Conjoi nt Analysis, one       •    Segmenting the markel based on preferences.
separate regression may be nm for each respondent, providing partwonh
estimates at the individua l level. Ofck and Toubia (2014b) provide an             All 1hese analyses rely on the same model of consumer behavior, which
Excel spreadsheet that contains a n example of such a regressio n.               specifies a utility function based on partworths, and on a link between
   However. the state of the art consists in providing individual-level          utility and choice. In the case of CBC, the link between utility and choice is
estimates of partworths that are informed by the entire sample. This is          given simply by logistic probabilities. In the case of rati ngs-based conjoint,
typically achieved using hierarchical Bayes ( Lenk ct al. 1996; Rossi and        one may. for example, assume that when given a choice between various
AJleoby 2003). .Readers interested in a simple introduction to hierarcb.ical     alternatives, a consumer would choose tbe one with tbe bigbes1 util.ity.
Bayes arc referred to Sawtooth Software's technical papers on this topic            Anncd with such a model of consumer choice, researchers can simu late
(see www.sawtoothsoftwarc.com/support/tcchnical-papers#l1ierarchical-            how the market would respond to any sci of profiles. ln particular,
bayes-estimation). In a nutshell. hierarchical Bayes simuhaneously esti-         demand simulators may be built that take as input the partwon hs of a
mates each respondent"s partworths, together with the distribution of            representative sample of consumers, and that estimate the 111arke1 shares
partworths among respondents. A set or partworths is estimated for each          of any proliles given these panworths. See Ofek and Toubia (2014b) for
respondent. which is shrunk toward the population average. This shrink-          an example of an Excel-based market share simulator. Such sim ulators
age reduces the risk of overfilling, by imposing a penalty o n parameter         allow users to specify any number of profiles based on the list of attributes
estimates that deviate too much from the mean. Other approaches include          included in the survey. These profiles may capture existing offerings,
latelll class analysis (Kamakura and Russell 1989; Andrews, Ansari and           competitors. as well as potential new ofTerings. Once a market share simu-
Currim 2002: Moore 2004). as well as approaches based on Machine                 lator has been built, it is possible to "play·· with the set or profiles and see
Leaming (Evgeniou, Ponti! and To ubia 2007). Despite lhe promise held            the resulting market shares immediately. In addition, several algorithms
by these alternative methods. hierarchical Bayes has become the method of        have been proposed to find the optimal product or product line. i.e.. the
choice. Its implementation, which used to require extensive programming,         set of profile specificatio ns tha1 will maximize profit (or other objective
is now much more accessible. Open-source software includes Stan (www.            functions). See Kohli and Sukumar (1990) or Belloni et a l. (2008) for a
mc-stan.org) and OpenB UGS {www.openbugs.net). Sawtoolh Software                 review. The implementation of these algorithms often requires customized
offers commercial software tailored to Conjoiat Analysis.                        programming.
                                                 Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 95 of 101
                                                                                        Appendix D
                                                           Conjoint. A nalys;s   63       64   f-landbook ofmarkc,;ng ,malyr;c.'?

   Beyond prcdic1ing markcl shares and optimi2.ing prodt1c1 lines, Conjoi111              Hat1scr and Garcia (2007) used a similar mc1bod to determine the discount
Analysis is often used 10 infer willingness to pay for features of a producl              that should be offered to convince wine customers LO switch from cork t.o
or service. This is feasible as long as price is one of the attributes in 1he             scre'" caps. A similar approach was used in a n expert report on the famous
survey. Suppose !hat the partwonh for a price level p 1 is fJ, 1, and thal 1he            Apple v. Samsung case, to determine how much consumers value certain
par1wor1h for a price level /Jo < p 1 is /3,o· Because consumers should prefer            features of smart phones such as .. pinch-to-zoom.•· Readers arc referred
lower prices. holding every other altribute constan1. we shot1ld expccl                   to Netzer and Sambandam (2014) for a short and simplified discussion.
the following inequa lity 10 hold: {J,,. > {3,,1• In other words. a reduction             This approach is not withot1t it.s critics, however. Notably, Allen by et al.
in price from p, to /Jo provides a utility of(JJ,.1 - /3,1) to that consumer. If          (2014) warn against ignoring competitive response to changes in product
we assume !hat utility for money is linear in the range [/!0, p,J. then we                attributes and stress the need to consider equilibri um profits when using
can infer that a reduction ol'price of$! provides a utili1y orP;:=!"- Jrwe                Conjoint Analysis to value product fca1ures.
further assume that utility for money is symmetric in gains versus losses                    Fioally, once partworths bave been estimated. researchers somet imes
(i.e.. we assume no loss aversion), this quantity captures the •·utility equiv-           find it useful to explore the existence of distinct segments in the population.
alen1" of$1 for 1ha1 consumer. Conversely, we can argue that each --unit''                This may provide valuable insigh1s to marketers and constitutes one viable
of utility is worth ;-::-:, in dollars for that consumer. This quanti ty may              way 10 segment markets (other ways include demographic segmentation,
be referred 10 as an ~-exchange rate'' be1wee11 u1ility and money. Consider               psychograpbic segmenta tion, etc.). For this. any segmentation approach
another auributc where the partworth for level I, is {311 • and the partwortb             such as k-mcans clt1stcring may be t1sed.
for level /" is /3,0 . A change from level /0 to 11 provides a utility of (fJn - fJ~)        In practice, calcu lations of willingness to pay may be completed very
to that consume r. If each "unit'' of utili1y is worth       f'=~,   in dollars fo r      easily using any data handling software. Market share simulators may be
that respondenl, then ifwe again assume that utility isline'ar. we can infeT              implemented within Microsoft Excel or 11"1ore complex technical program•
that the respondent should be willing 10 pay i p, ~p~~, - ,J in dollars for a             ming software. Market share simulators may a lso be used to approximate
change from level /0 to /1. This gives us an estimaic of the Willingness 10               the market value of an atlribu1c, by detern1ining the loss in prolit (i.e.,
Pay (\l\'TP) for level /1 relative to level I, for that consumer. Once WTP is             price reduction) for a company thal would reduce !heir offering o n this
computed for each consumer in the panel, it may relevant to compu te the                  attribute. Segmentation may be conducted using any available statistical
mean. median and standard deviation of the WTP. It is also possi ble to                   software.
build a demand curve for that attribute, i.e., the proportion of cons11mers
in the sample who would be willing 10 pay a l least price p for that attribute,
where p varies.                                                                           ECOLOGICAL VALIDITY AND THE I SSUE OF
   Another approach for making monetary inferences based on the o utput                   ATTENTION
of a Conjoint Analysis survey is to rely again on a market sh are simula -
tor. In panicular. instead of estimating a WTP for each consumer in the                   The first q uestion on many people"s minds is whether Conjoint Analysis
panel for a specific feature, we can deter mine by how much price would                   does a good job predicting real-life choices. i.e.. whether ii has good eco-
have to be decreased in order to make up for a rcdt1clion in one feature                  logical va lidi ty. Ideally. testing ecological validity requires comparing
(or a combination of features). In order to achieve this. we can specify                  prcdic1ions from a Conjoint A nalysis survey to choices made by consum-
a se1 of competing alternatives, e.g., five existing plans offered by our                 ers in the real world. Creating such a situation is challenging, as real- life
competitors. and a focal alternative. e.g., a plan offered by our company.                environments rarely mimic the ste rilized and simplified fonnat of Conjoint
We can estimate the market share of our plan assuming certain levels for                  Analysis. 1l owever. several studies have been able 10 test the ecological
each attribute. e.g., unlimited voice and unlimited data. Then. we can                    validi1y of Conjoin t Analysis, and their results have been quite positive.
reduce one of the features of our plan, e.g., only LO GB of data instead                  See Lot1viere (1988) or Green and Srin ivasan (1990) for a review. In addi-
of unlimited darn. Naturally, we would expect 1he predicted share of our                  tion. many studies have tested the ex 1emal validity of Conjoint Analysis,
plan to drop. We can then use the simulator 10 determine by how mt1ch                     i.e., its ability to predict choices in o ther contexts, which are not necessar-
we would need to decrease the price of our plan with IO GB in order to                    ily re-&1-world decisions.
raise the share back to the or iginal level (with unlimited data). Toubia .                  In addition to comparing predictions from Conjoin t Analysis 10 actual
                                              Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 96 of 101
                                                                                   Appendix D
                                                       Conjoin! A ,wlysi.s   65     66   1/a,ulhook ofmarketing analytic.~·

behavior. researchers have sllldicd more genera Uy the issue of how mucb            compensation. Consequently, Ding (2007) extended this method by allow-
atten1ion consumers spend in Conjoin! Analysis surveys. and whether                 ing researchers lo reward respondents from a limited set of products. Ding
their level of atten1ion in tl1e survey is similar to how they would approach       (2007)'s mechanism invo lves inferring 1he respondent's willingness 10 pay
choices in real life. Such evidence w ill be reviewed later in this section.        for one or a few reward profiles. Dong, Ding and H uber (2010) further
First, we review recent a ttempts lo motivate participants to pay more              improved the practicality of incentive alignment by proposing an alterna-
a11ention to surveys and take the task more seriously.                              tive approach, based on an inferred rank order or the poten tial reward
                                                                                    profiles. which does not require the estimation of willingness to pay. One
lnccntire Alignment                                                                 potential concern with incentive alignment would be that consumers
                                                                                    sys1emat ically select more expensive alternatives. in order to increase the
Traditional surveys do not link 1he respondents· compensation 10 1heir              mark:t (and therefore resale) valt1e or the prize they will reL-eive if" they
answers. That is. from the perspective of the respondent. t bere are often          a re selected as winners. This is addressed by giving each winner a fixed
very few consequences to their answers. While most respondents prob-                monetary prize. using that money to purchase their preferred a lternative
ably have a good nawre and good intentions. there are so many demands               from one of their choice questions. and giving them the change in cash.
on consumers' time and attention today that it is hard to assume that all           For example, Toubia et al. (2003) gave each winner $100, with which they
consumers will spontaneously answer all survey questions in a way that              purchased a laptop bag priced between $70 and $100 which was selected
is cxac1ly consistent with how they would behave in real life. Why wou ld           based 011 respondents' answers. and gave 1hc difference between $ l00 and
a rational person care to think hard about tl1e questions in a survey. if           t he price of t he laptop bag as cash to respondents.
there is no1hing to gain from it? In addition to anent ion. social desirability        Incentive a lignmenl has become the gold standard in Conjoin I Analysis.
is another obvious concern. Consumers may be embarrassed Lo revea l                 Indeed, it has been shown to lead to significant improvements in Lhe real-
certain preferences and to admit to the researcher (and to themselves)              ism of Conjoint Analysis surveys, although some cye-lracking evidence
tha t they care more o r less about certain altributcs. Examples include            reviewed later in this section suggests it may not be enough to induce
price sensitivity (consumers may not want to admil their true level of price        consumers to trea1 Conjoint Analysis choices exactly like they would treat
sensitivity), and any otl1er preference that is related to some social norms        real-hfe choices. One key limitation of incentive alignment is logistical.
(e.g .. how much consumers care about the environment. fair trade. etc.).           The costs and logistics of distributing products to consumers may become
   One way to start tackling 1hesc issues is incentive a lignment 1 i.e., link-     prohibitive, in particular as the sample grows (although usually only a
ing the consumer·s cornpensa1ion for taking a survey to 1heir answers               frac1ion of consumers are randomly 8Clec1ed to get a prize). and for more
in the survey. Incentive alignment has a long tradition in economics.               expensive product categories. One creative solution was provided by Ding
Some of the first docwucnted uses in the marketing context of Conjoint              ct al. (2011 ). These authors studied preference for automobiles. where
Analysis include Toubia et al. (2003) and Ding. Grewa l and Liechty                 incentive alignment required putting a positive probability on the event
(2005). In particular. Ding, Grewal and Liech1y (2005) proposed an                  that one respondenl would receive $40.000 toward t he purchase of an
incentive-aligned conjoint mechanism. whereby each choice made by                   actual automobile. In order 10 offer s uch incentives. the authors purchased
each respondent during Lhc Conjoi111 Analysis s urvey has some positive             prize indemnity insurance on the open market, for a fixed fee. That is,
probability of being realized (i.e., the respondent may actually recei ve his       the authors paid lhc insurance company a fixed fee, and the insurance
o r her chosen alternative). That is, each respondent has some probability          company was responsible for paying lhe $40,000 prize if a respondent
of being selected as a "winner." When that happens. one of their choices            aclllally won ii.
is randomly selected, and they receive their favorite alternative from that
choice. Ding, Grewal and Liechty (2005) showed 1hat this mechanism                  Gamification
increases external validity in choice-based conjoint (CBC) experiments,
compared to a benchmark with no incentive alignment. While it paved                 Incentive al ignment provides an extrinsic motivation to respondents to
the way for incentive a lignment research in Conjoint Analysis. the initial         be truthful in their answers and to take surveys seriously. Anot her way
mechanism proposed by Ding, Grewal and Liech ty (2005) is 1101 very                 to incre.c:L'\e auention is to increase intrinsic motivalion, by gamifying the
practical, as ii requires being able to offer any possible profile as a possible    expe,ience. Lu particular. the first use of online surveys was to perform
                                             Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 97 of 101
                                                                                Appendix D
                                                     Co11joi111 Analyslr 67      68 /Iandbook ofmarketing analytics

the same type of surveys that used to be conducted offiine, in an onlinc         may be automatically discarded. There is no universal cutoIT for response
environment. However. with online studies. it is possible to perfom, com -       time. Some researchers like to drop respondents with a log of response
putations on the 0y during the survey, and to connect respondentS with           time that is less than I or 1.5 standard deviations from the mean. T he
one another as they go through the task. Researchers are now starting to         commercial survey-hosting platform Qualtrics drops respondents with
leverage the web more fully to invent new tasks that take advantage of its       response 1imc less than one-th ird of the average from the initial ·'soft
capabilities. For example, Ding, Park and Bradlow (2009) proposed an             launch" of the survey (i.e., the first 60 or so respondents).
onli.ne incentive-aligned method inspired by barter markets. Park. Ding
and Rao (2008) introdt1ced a preference measurement mechanism that               Eye Tracking E1•idence
relies on upgrading decisions: respondents state their willingness to pay for
an upgrade. and the transaction is realized if'a randomly generated price is     Eye-tracking research has a long tradition in advertising and branding
smaller than stated willingness to pay. Toubia et al.(2012) developed and        (e.g.. Pieters and Warlop 1999: Wedel and Pieters 2000: Pieters and Wedel
tested an incentive-aligned conjoint poker game to measure preferences.          2004; Van dcr Lans. Pieters, and Wedel 2008). More recently. researchers
This game collects dara that are similar 10 C BC, but in a gamified context.     have started using eye tracking in Conjoint Analysis in order to directly
Traditional poker uses regular playing cards. From a Conjoi nt Analysis          measure how respondents allocate their attention during surveys.
perspective, playing cards are profiles with two attributes (Color with             Eye-tracking data are composed of fixations and saccades (Wedel and
four levels. and Number with 13 lcvels). These authors develop a version         Pieters 2000). Fixations represent the time periods in which participants
of poker where cards may have any number of attributes and levels (e.g..         fix their eyesight on a specific location; saceadcs represent eye movements
Design. Colo r and Price). Similar to poker. players create hands based on       between two fixations. As mentioned above. Toubiaet al. (20 12) used eye
similarities and differences be1ween cards. In the process of creating these     tracking to measure attention in regular CBC versus their Conjoint Poker
hands, players arc required to pay attention to the profiles captured on         game. Profile information is usually presented in a matrix format (e.g..
these cards. which increases their motivation to process all the available       one column per choice alternative and one row per attribute). Toubia et al.
information.                                                                     (2012) found that participants in their Conjoint Poker had on average at
                                                                                 least one fixation on approximately 90 percent of the cells in the matrix
Screening for Attention                                                          conta ining the choice-relevant infom1ation. 1lowever, this proportion
                                                                                 dropped to 60- 70 percent for participants in an incentive-aligned CBC
l n addition to providing incentives to respondents and making the survey-       condition. Yang. Toubia and De Jong. (2015) found similar results.
taking experience more enjoyable, several routjne measures exist to check        That is, even when incentives are aligned, participallls in CBC tend to
for attention and screen out inattentive respondents. First, it is common to     ignore 30-40 percent of the choice-relevant information provided to
start an online survey with a "CAPTCHA.'' While the primary purpose of           them. Mei!3ner. Musalem and Huber (2016) present eye-tracking evidence
this type of questions is to ensure tha t the survey is completed by l1umans     that suggests that respondents tend to adjust their decision processes to
instead of by internet bots. it also provides a very basic attention check.      increase speed while maintaining reliabiLity. Shi. Wedel and Pieters (2013)
Second, it is advisable to insert at least one ·•attention check" question       show that the information acquired by respondents is in0uenccd by the
(also called ·'Instructional Manipulation Check") at tbc end of the survey.      fom1at in which 1hc information i.s presen ted (i.e.. whether attributes arc
These questions are often multiple-choice questions with an open-ended           in rows and alternatives in columns, or the other way around). St.iiltgen.
option. The instructions to these questions are often a few lines. that          Boatwright and Monroe (2012) provide eye tracking evidence that sup-
may include a statement like: ·' If you have read this question carefully.       ports a satisficing model or choice, according to which respondents stop
please .. :· These questions are designed such that only respondents             evaluating choice alternatives once they have found one that is satisrac-
who have carefully read the instructions are able to provide a "correct"         tol)'. In such a model. the final choice is in0uenced by the o rder in which
response, and those who fail to do that may be dropped from the sample.          alternatives are considered.
Oppenheimer, Mcyvis and Davidenko (2009) show that the inclusion of                 The eye-tracking evidence provided in these studies suggests that
such questions can increase the statistical power and reliability ofa survey     respondents in Conjoint Analysis surveys do not process all the relevant
dataset. Third. respondents who completed the survey suspiciously fast           information presented to them even ia 1lie presence of' incentive align-
                                             Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 98 of 101
                                                                                 Appendix D
                                                      Conjoint Analysi.!· 69       70   !/mu/book ofnUlrketing tmalytics

mcnt, and that their information processing may be easily int1ucnccd by            develop models of information search and choice such as the ones of
incidental factors. This raises the question of whether consumers ignore           Stuttgen et al. (2012) o r Yang, T oubia and De Jong (2015). These models
some relevant infom1a1ion in real,life c hoices as well. In other words, do        capture both how consumers acquire info m,ation and how they choose
consumers also ignore 30--40 percent of the relevant information when              based on this information. Such models may be extended 10 allow for
making rcal,lifc choices?                                                          counterfactual simulation, or extrapolation. where real-life search and
    All incentive-aligned preference measurement methods follow an                 choices would be predicted based on data coming from probabilistically
approach known in economics as the random lottery mechanism (RLM).                 aligned incentive-aligned choices.
In an R LM. each choice has some probability of being reali7..cd and at most          Mowevcr, this approach may not be enough 10 close the gap between
one choice is realized per subject. In other words, incentive alignment uses       probabilistic and deterministic incentives. Indeed, Yang, T oubia and
tasks that are '·probabilistically" incentive aligned, i.e., each choice only      De .long (2017) show tha t the probability that the choice will be realized
has some (usually small) probability of being realized. In contrast, most          does not only impact what and how much information consumers pay
real-life decisions involve what may be labeled as "deterministic'' incen-         aucntion to, it also impacts /,ml' tbey choose. In particular. tbesc authors
tives, i.e., the transaction will happen with probability I. Yang, T oubia         find that respondents for whom choices are more likely to be realized also
and De Jong (2017) argue that if it iakes effort for consumers 10 process          tend 10 choose more familiar products and lend to be more price sensiLive.
information during a Conjoint Analysis task. we should expect attention            These fmdings are consistent with previous lindings by Ding, G rewal
levels in probabilistically incentive-aligned tasks lo be lower tban they arc      and Liechty (2005) who report that consumers show a greater willingness
in deterministically incentive-aligned tasks. Indeed. the cognitive costs          10 try new things. exhibit less price sensitivity, and exhibit more socially
involved in processing info rmation are the same irrespective of the incen-        desirable behaviors when choices are purely hypothetical as opposed 10
tives. On the other hand. the benefits from these efforts are larger when          probabilistically incentive-aligned. These effects may be explained using
choices are more likely lo be realized. Therefore, a boundedly rational            the concept of Psychological Distance (Trope and Liberman, 2010). It
consumer should invest less effort in processing information when choices          has been shown lhat improbable events iend 10 be more psychologically
arc less likely to be realized. In order to test this hypothesis, Yang. Toubia     dista11t than probable ones, i.e .. the lower the probabil ity of the event,
and De Jong (2017) ran an eye-tracking study in which each respondent              the greater its psychological dislance (Todorov. Goren and Trope 2007:
makes a single choice that may be realized with probability 0. 0.01. 0.50,         Wakslak et al. 2006). In turn. it has been shown that when choices are
O. 99. or I. They !ind that, indeed. the amount of information processed           more psychologically distant, consumers a re more likely to choose based
and 1he lime taken 10 make a decision are positively correlated wit h this         on abstract. high-level. positive considerations (referred lo as desirabi.lity
probability, and that the probabilistic inccutivcs thal arc lypically used in      concerns), versus more concrete, practical. negative ones (referred Lo
Conjoin! Analysis (where tbc probability that each choice will be realized         as feasibility concerns in the literature). This theory explains the results
in usually in the order of 0.01) are not enough to motivate consumers              reported by Yang, Toubia and De J ong (20 17) and by Ding. Grewal and
10 treat these choices as they would treat real-lire choices. Neve rtheless,       Liechty (2005). Indeed. price is a pragmatic, negative, feasibility-oriented
incentive alignment remains the state of the art in choice experiments.            attribute, and therefore we should expect consumers lo be more price
   One may wonder whether a solution to this problem would be 10 make              sCDsilivc when choices arc less psychologically distant (i.e., more likely to
all Conjoint Analysis choices dc1cm1inistically incentive-aligned. That is .       be realized). Similarly, trying new things and behaving in a socially desir-
each choice question would be realized wit.h certainty. In addition lo being       able manner tend lo be desirability-oriented features. which should receive
prohibitively costly. this approach would also be incorrect methodologi-           more weight when choices are more psychologically distant (i.e .. less likely
cally. Indeed, when multiple questions are asked in a Conjoint Analysis            to be realized). These findings imply that ii may not be enough lo predict
survey, a basic assumption is that these choices arc independent. However.         the level or allcnlion that consumers would pay in real-l ife choices in order
if each choice is realized. this assumption would be violated. For example,        to predict these choices. It may also be necessary to model how preferences
a consumer wbo chose an SLR camera in the first question may choose                are impacted by probabilistic versus deterministic incentives.
a compact camera in the next question. since their utility for a new SLR              T o close on a positive note, eye tracking also provides valuable infonna-
camera diminishes once they a lready have one.                                     tion that may bf leveraged LO improve our ability to measure consumers'
    A more promising solution to the at1en1ion problem would be 10                 preferences emciently. For example. Yang. Toubia and De Jong's (2015)
                                              Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 99 of 101
                                                                                  Appendix D
                                                      Conjoint Analysis     71     72     /fa,u/book ofmarketing mwlytics

model links partworths and eye movements. which enables the researcher                The Apple v. Smnsu11g case provided another demonstration of the value
to learn about the respondenl°s preferences from their eye movements.              of Conjoint Analysis, wh ich greatly increased interest in this method, in
Ya ng, Toubia and De Jong (2015) find that this additional infonn ation            particular among the legal commun ity. Hopefully this cha pter will help
allows reducing the length of Conjoint Analysis questionnaires. I n their          prospective users decide whether Conjoint Analysis is the right a pproach
study, they lind that leveraging eye tracking data allows extracting as            for them. Such decision requ ires being aware of other available options.
much infonnation in 12 cho ice questions as would be extracted in 16               In particular. it is important to keep in mind that Conjoint Analysis
c hoice questions withm1t eye tracking data. Such a model is becoming              is particula rly suited for situations in which customers routinely make
increasingly feasible in pract.ice. as eye-tracking technology becomes more        tradcolTs between various attributes of a product or service. and when these
easily accessible. In particular. it is now possible to conduct eye-tracking       attributes may be described in objective terms (e.g .. number of minutes,
studies using the ,am~ra o n the respondent's computer or smartphone               number of pixels, miles per gallon). In some situations, tradeofTs are less
(e.g., www.eyetrackshop.com, www.youeye.com).                                      relevant. perhaps because there is only one 111ai11 attribute io the product/
   Ln practice: whenever feasible, it is recommended to use incentive              service. or the focal attribute is 1101 really comparable to other attributes.
alignment in Conjoim Ana lysis, despite the implied costs. It is also              In such cases. simpler methods may be considered, such as the Contingent
recommended to design su rveys that are attractive and engaging in order           Valuation Method (Arrow el al. 1993; M itchell and Carson 1989). In other
to motivate respondents to pay more allention to the task. Researchers             cases. attributes are harder to define objectively. perhaps because they
should also implement measures and tests of attention and drop respond-            involve aesthetics and/or sensory considerations. In such cases. more quali-
ents who appear to have been inattentive. Despite these best practices, it         tative approaches may be considered as a lternatives to Conjoint Analysis.
is important to keep in mind that Conjoint Analysis remains a marketing
research tool. whicl1 can at best approximate real-life decisions. T he first -
best option would be to manipulate choice options in real-life and observe         R EFERENCES
the resulting consumer choices. Short of this, incentive-aligned Conjoint
Ana lysis may be viewed as a second-best solution.                                 Agarwal, James. et al. ..An Interdisciplinary Review of Research in Conjoint Analysis:
                                                                                     Rca.'Tll Dl'\'dopmcnL<; and Din~lions for Fu1urc Research.·· Ct,sr,mrrr Needs am/ Solutions
                                                                                     2. 1 (1015): 19-40.
                                                                                   Allcnb!'. Greg M., et al. ·'Valuation of Parented Product Fc::iturcs." Jmmwl <>} Lair and
CO NCLUSIONS                                                                          Eco,romi(·s 57.3 (2014): 629-663.
                                                                                   Andrev,s. Rick L.. Asi.m Ans..iri. and tmran S. Curnn\. "Micrarchical Bayes versus 11nitc
                                                                                      mixture Conjoint Analysis models: A comparison of lit, prediction, and partworth rccov•
After 45 years. Conjoint Analysis remains a major quantitative market-                cry..., Jr.mnwl of Mt,rkning Re.,eun·h 39.l (2002): 87-98.
ing research method and a major area of academic research in market-               Arora. Necraj and Joel lluber. "Improving p3rameter estimates and model prediction by
ing. , cw. exciting research is expected, enabled by new technological                aggrtgate customiza1ion in choice experimeots. ·· Joiimul oj'Gm.mmcr Rt:st'urdi 28.2 (2001):
                                                                                      273-lSJ .
developments that make the collection of physiological data feasible on            Arrow. Kenneth. et al. ··Report of National Oceanic and Atmospheric Administration panel
a large scale (e.g., eye tracking, skin conductance. brain responses). This           on the reliabilily of nutural resource damage estimates derived from contingent va lua-
chapter has reviewed a selected set of issues related to implementing a               tion.·• f"ederol liegis,er 58 ( 1993): 4601-4614,
                                                                                    Uelloni. Alexa11dre. et al. "Optimizing product line designi;: E.flkien1 methods .trld compari-
Conjoinl Analysis survey and making quantitative, managerially rc-lcvant              sons." ,A,,fm,agemem Science 54.9 (2008): 1544- 1552.
inferences based on the data. Particular emphasis was placed on issues of           Urncllow. Eric T. -currcni is.sues and a 'y.'lsh li:sf for Conjoin1 Analys is... Applie,I Sl()rha.Hic
ecological validity and attention. Recent tools for motivating respondents            Modi'/s i11 81ui11ess mid !,ul11s1r.r 21.4 S (2005): 319 323.
                                                                                    Broder. Arndt. "As;$Cssing the empirical validity of the ·Tak:e-the-~t' heuristic ns a model of
to behave in Conjoint Analysis surveys like they would behave in real life            human probabilistic inference:· Jour,w/ of Expt!rime111al Psyclwlogy: Leaming. M,•mor_J.·.
were reviewed, including incentive alignment and gamitication. Despite                and C'og11i1irm 26.5 (2000): 1332.
these advances, it is important to keep in mind that a Conjoint Analysis           .Duhrmester, Michael. Tracy Kwang. ~lnd Samuel D. Gosling. "Amazon's Mechanical Turk:
                                                                                      a new source of inc-'pcmivc. yr:t high•quality. data?" Perspec1frrso11 PsJc-hological Scic•11ce
survey will a lways remain a survey tool, which al best approximates real-          6, 1 (1011): 3 5,
life choices. Conjoint Analysis may not be perfect, but it may also be one         Chu. Wei. ct al. "A case study or behavior-driven Conjoint Analysis on Yahoo!; Front
of the mosi efficient and reliable methods available today for quantifying          Page Today Module." Prr,cttetlings ofrhe ljtlr ACM SIGKl)I) imer1w1io11at m,ifi,renN• m1
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consumer preferences.
                                                               Case 1:19-md-02903-GWC Document 166-3 Filed 06/16/21 Page 100 of 101
                                                                                                     Appendix D
                                                                       C011joi111 Analysis 73         74 llmulbook ofmarketing analytics

Ding, Min ...An iotcntivc-aligncd mcchanir.---01 for Conjoint Analysis:· Jo11mal of Mark<:ting          methods. rtccnt dt\'Clopmcnts and external validity:· Jormral ofTrafl.tporl Economics and
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